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                              EXHIBIT 1
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                          THE URGENT NEED TO ADDRESS
                           THE GUN VIOLENCE EPIDEMIC

                                     HEARING
                                          BEFORE THE


                          COMMITTEE ON
                      OVERSIGHT AND REFORM
                    HOUSE OF REPRESENTATIVES
                    ONE HUNDRED SEVENTEENTH CONGRESS
                                      SECOND SESSION


                                         JUNE 8, 2022



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                                        RUSS ANELLO, Staff Director
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                             ELISA LANIER, Director of Operations and Chief Clerk
                                      CONTACT NUMBER: 202-225-5051
                                     MARK MARIN, Minority Staff Director




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            * New York Times article regarding mass shootings; submitted by Rep.
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            * Christian Science Monitor Weekly article; submitted by Rep. Sessions.
            * FiveThirtyEight article; submitted by Rep. Sessions.
            * Fox News article, ‘‘West Virginia Woman With Pistol Shoots, Kills Man
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            * Wall Street Journal article, ‘‘Why ‘Do Something’ Won’t Work,’’ submitted
            by Rep. Foxx.
            * Testimony of Stephen Willeford from a May 25, 2022, Senate Judiciary
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            * John Lott of Crime Research Prevention Center Report; submitted by
            Rep. Biggs.
            * Washington Examiner article regarding the Buffalo shooter; submitted
            by Rep. Biggs.
            * New York Times article, ‘‘The Mass Shootings Where Stricter Gun Laws
            Might Have Made A Difference,’’ submitted by Rep. Tlaib.
            * Article regarding Uvalde shooter; submitted by Rep. Speier.
            * A 2015 Study, ‘‘Preventing School Violence, Assessing Armed Guardians,
            School Policy and Context;’’ submitted by Rep. Pressley.
            * A 2019 report, ‘‘Cops and No Counselors,’’ submitted by Rep. Pressley.
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                   THE URGENT NEED TO ADDRESS
                    THE GUN VIOLENCE EPIDEMIC

                               Wednesday, June 8, 2022

                                   HOUSE OF REPRESENTATIVES,
                           COMMITTEE ON OVERSIGHT AND REFORM,
                                                            Washington, D.C.
             The committee met, pursuant to notice, at 10:05 a.m., in room
          2154, Rayburn House Office Building, and via Zoom; the Hon.
          Carolyn Maloney [chairwoman of the committee] presiding.
             Present: Representatives Maloney, Norton, Lynch, Connolly,
          Krishnamoorthi, Raskin, Khanna, Mfume, Ocasio-Cortez, Tlaib,
          Porter, Bush, Brown, Davis, Wasserman Schultz, Welch, Johnson,
          Sarbanes, Speier, Kelly, Lawrence, DeSaulnier, Pressley, Comer,
          Jordan, Foxx, Hice, Grothman, Cloud, Gibbs, Higgins, Norman,
          Sessions, Keller, Biggs, Clyde, Franklin, LaTurner, Fallon, Herrell,
          and Donalds.
             Also present: Higgins of New York and Jackson Lee of Texas.
             Chairwoman MALONEY. The committee will come to order.
             Without objection, the chair is authorized to declare a recess of
          the committee at any time.
             I now recognize myself for an opening statement.
             Today we will examine the destruction and heartbreak that gun
          violence is causing across our country. I want to express my deep
          gratitude to each of our witnesses for being here today. I am par-
          ticularly grateful to our witnesses who will be discussing the loss
          of their loved ones and their personal experiences from recent mass
          shootings in Uvalde, Texas, and Buffalo, New York.
             Despite their pain, these witnesses expressed their strong desire
          to share their stories with this committee and the public. I know
          that I speak for every member of this committee when I say that
          we are inspired by your bravery. For a parent, there is no greater
          pain than the loss of a child. But across the country, this gun vio-
          lence is claiming the lives of our children and loved ones in places
          where they should be safe: our schools, our supermarkets, even our
          churches and our synagogues.
             Gun violence is the leading cause of death for children in our
          country. As a society, we are failing our children and we are failing
          each other. This out-of-control gun violence is a uniquely American
          tragedy.
             [Chart]
             Chairwoman MALONEY. As you can see in this chart, in 2019, the
          United States suffered 17 times more gun deaths than the next
          highest G7 country. We stand alone in mass shootings. Other coun-
          tries pass sensible gun safety laws and protect their children, and
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          no other country comes close to the number of school shootings we
          have.
             Between 2009 and 2018, the U.S. had 288—288—school shoot-
          ings. All other G7 countries combined had just five. Some of my col-
          leagues across the aisle have blamed the violence on mental illness.
          They have blamed violent video games. They have blamed family
          values. They have even blamed open doors. They have blamed ev-
          erything, but guns, but we know the United States does not have
          a monopoly on mental illness, video games or any other excuse.
          What America does have is widespread access to guns. That in-
          cludes assault weapons, which were designed to kill as many
          enemy soldiers on the battlefield as possible, as quickly as possible.
          Yet in many states, these weapons of war can be purchased by an
          18-year-old just by walking into a store.
             Assault weapons were used in the recent massacres, in Buffalo,
          Texas, and Tulsa, just as they were in Parkland, Newtown, San
          Bernardino, Orlando, Las Vegas, and so many other mass shoot-
          ings. These weapons have no place in our communities. No civilian
          needs an assault rifle, and the Second Amendment does not protect
          the right to own a weapon of war. It is time that we banned as-
          sault rifles from our streets, from our communities, from our
          homes. But if we are going to truly address the gun crisis, we need
          to be honest about why our country has failed to act sooner.
             The truth is the gun industry is making billions of dollars selling
          the weapons that are killing our children, and they are fighting
          tooth and nail to keep doing it. That is why I have launched an
          investigation into five leading gun manufacturers that sell assault
          weapons used in mass shootings. We need to know why these com-
          munities are marketing military weapons to civilians and how
          much they are profiting from the death of our children.
             Of course, mass shootings are just one part of this crisis. We
          can’t forget that gun violence is a steady drumbeat in so many of
          our towns and cities, especially in marginalized communities. Black
          men make up more than half of all gun victims in the United
          States, despite making up less than six percent of the population.
          Latinos are twice as likely to be killed by a gun and four times as
          likely to be wounded by a gun as white Americans. We need trans-
          parency into how guns are reaching the hands of criminals, which
          is why this committee has been working to identify the gun dealers
          that are selling the most guns used in crimes, including across
          state lines.
             Today, the House is voting to pass commonsense gun safety legis-
          lation, which is a crucial first step in addressing this crisis. I am
          particularly grateful this bill will include key provisions similar to
          a bipartisan bill I first introduced more than 10 years ago, with the
          strong support of former chairman, Elijah Cummings. My bill will
          make gun trafficking a Federal felony and strengthen penalties for
          straw purchasers, which will help stop the flow of guns into the
          hands of criminals.
             My goal for today’s hearing is simple. I am asking every member
          of this committee to listen with an open heart to the brave wit-
          nesses who have come forward to tell their stories about how gun
          violence has impacted their lives. Our witnesses today have en-
          dured pain and loss, yet they are displaying incredible courage by
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          coming here to ask us to do our jobs. Let us hear their voices. Let
          us honor their courage. Let us find the same courage to pass com-
          monsense laws to protect our children.
             I now recognize the distinguished ranking member, Mr. Comer,
          for an opening statement.
             Mr. COMER. Thank you, Chairwoman Maloney. All of our hearts
          go out to the victims and the families in Uvalde, Texas, and Buf-
          falo, New York. To those who are testifying before us today, there
          are no words to describe the horror you have faced and the deep
          anguish you feel. The American people grieve with you.
             As elected representatives in Congress, it is our obligation to
          work to ensure that these violent crimes and tragedies never hap-
          pen again. Americans of all backgrounds should be empowered to
          defend themselves against rising violence. The increased violence
          we have witnessed since the summer of 2020 is unacceptable. Mur-
          ders and aggravated assaults are all up. This is a trend we must
          reverse. We have recently witnessed several high-profile senseless
          acts of murder and mayhem that have impacted all Americans, in-
          cluding, tragically, our defenseless and innocent schoolchildren. We
          must respond to those heinous acts and provide justice for the fam-
          ilies.
             At the same time, we recognize that violence occurs in many of
          our communities on a daily basis, impacting Americans across the
          United States from every background. Too often tragedies are po-
          liticized for partisan gain. And we have seen many seek to leverage
          these crimes and their victims to push for radical left-wing policies
          or to buttress their campaigns to get elected. Instead of rushing to
          score political points at the expense of our justice system working
          properly, we must learn from these senseless acts of violence and
          take concrete action to reduce violence in the future. We owe it to
          the families of the victims. They deserve justice, and we owe it to
          the American people. We must and can prevent similar tragedies.
             We all want to live in a country where we can achieve our Amer-
          ican Dream without the threat of violence in our communities. We
          must work together to deliver sensible solutions to secure our
          schools, protect our most vulnerable among us, and bring to justice
          those responsible for these heinous crimes. Our local officials can-
          not defund our police, and our prosecutors cannot be soft on crime.
          I believe that we must carefully consider the security posture of
          vulnerable targets sought out by evil people. We must ensure that
          every American has a safe environment in which to live their lives
          in peace. And that requires thinking creatively about solutions to
          harden our infrastructure, enforce our existing laws, and work to
          foster a culture that values conflict resolution and dialog over vio-
          lence.
             I strongly believe that there is an important place for law-abid-
          ing gun owners to serve in protecting themselves, their families,
          and their communities from violence. Our Second Amendment is an
          important tool in securing our individual rights to self-defense.
          Knee-jerk reactions to impose gun control policies that seek to cur-
          tail our constitutional right to bear arms are not the answer. Gun
          ownership is on the rise in America. People want to protect them-
          selves and their families. We should commend all law-abiding gun
          owners who safely use, store, and carry those firearms, not vilify
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          them for blatantly political purposes. I also believe we must con-
          tinue to empower our law enforcement professionals to serve and
          protect our communities honorably. As I said before, defund the po-
          lice and soft on crime prosecution policies have been a failure
          across the board.
             Efforts to divert violent criminals out of the criminal justice sys-
          tem have failed, leading to the victimization of the very commu-
          nities those policies were promised to help. Violent criminals
          should be in jail, not back on the streets to reoffend and terrorize.
          We must recommit ourselves to pursuing justice and keeping vio-
          lent criminals off our street.
             Thank you, Chairwoman Maloney, and I yield back.
             Chairwoman MALONEY. The gentleman yields back. I want to
          clarify that I support the Second Amendment. I support law-abid-
          ing gun owners. I don’t support lax gun laws that allow guns to get
          into the hands of criminals and unstable people.
             I now recognize the gentlelady from California, Ms. Porter, for an
          opening statement.
             Ms. PORTER. I represent a community in mourning. Less than
          one month ago in Laguna Woods, a gunman locked the doors to the
          Geneva Presbyterian Church and opened fire on my community’s
          tight-knit Taiwanese congregation. This shooting was an undeni-
          able tragedy, but under different circumstances, it could have been
          an unimaginable massacre. Unlike the shooters involved in Buffalo,
          the shooter in Laguna Woods did not carry an assault rifle
          equipped with high-capacity magazines. He was armed with nine-
          millimeter handguns that forced him to reload. That difference
          gave a hero, Dr. John Chang, a chance to stop the carnage. He sac-
          rificed his life to stop the shooter, and his bravery was remarkable,
          but we cannot depend on a hero’s bravery to save lives. Law en-
          forcement has determined that the gunman was ready to kill every
          person in the church. Had he been armed with a military-style as-
          sault rifle, he may have done so. There is no telling how many
          more lives would have been lost.
             Shootings involving assault weapons are six times as deadly as
          shootings involving handguns, and when assault weapons are
          equipped with high-capacity magazines or bump stocks, the death
          toll rises even further. California has banned these weapons for
          years. Our laws have saved lives, including members of Geneva
          Presbyterian Church. Congress must follow California’s lead.
             I yield back.
             Chairwoman MALONEY. The lady yields back. I now recognize the
          gentleman from Louisiana, Mr. Higgins, for an opening statement.
             Mr. Higgins of Louisiana. Thank you, Madam Chair. It is a sober
          day in Congress as we reflect upon the challenges our Nation faces.
          In 2005, as a young cop, I was dispatched to reports of a man down
          in the street in a part of the city that was crime ridden and dan-
          gerous. I found a victim, a teenager, and I held the mortal wound
          in the back of his head, whispered prayer into his ear as his life
          flowed from his body. He died there in my arms on the street. He
          was killed by an axe handle.
             I am prayerful for America, I am prayerful for healing, and I am
          prayerful for discernment amongst this body and my colleagues. As
          a law enforcement officer, I know what it means to swear an oath
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           to protect and serve my community and my Nation and the impor-
           tance of bringing justice to the families of those who suffer at the
           hands of evil. And it is essential that the fundamental freedoms—
           First Amendment, Second Amendment, Fourth Amendment—are
           always protected and preserved by this body.
              I was sworn as a man, I swore an oath to uphold the Constitu-
           tion of the United States, and I will never back down from defend-
           ing that Constitution, including the rights of law-abiding Ameri-
           cans to keep and bear arms.
              Madam Chair, I thank you for this hearing today, and I yield.
              Chairwoman MALONEY. The gentleman yields. Now we will intro-
           duce our witnesses. I would like to turn it over to the gentleman
           from New York, Mr. Higgins, to introduce our first witness.
              Without objection, Mr. Higgins is authorized to participate in to-
           day’s hearing. He represents Buffalo. And you are now recognized,
           Mr. Higgins.
              Mr. Higgins of New York. Thank you, Madam Chair, and Rank-
           ing Member, the honorable members of the Oversight and Reform
           Committee.
              The Greek tragic poet, Aeschylus, says that we suffer our way to
           wisdom. He says we suffer our way to wisdom. To live is to suffer.
           To endure the suffering is to give meaning to the suffering. We
           have a problem in this country, and unless we learn from the tragic
           events of the last three weeks, who are we as a people? In this
           brave group of panelists from two cities that were devastated, the
           destruction beyond human comprehension, we have to find a way
           to deal with this.
              In Buffalo, the shooting started at 2:30 in the afternoon and was
           concluded in two minutes and three seconds. One shooter, a semi-
           automatic weapon, 13 people shot, 10 dead, one shooter. If you look
           for a common denominator in all of these, it is typically someone
           that should never have had a gun with a high-capacity weapon to
           kill as many as people—as many people—as quickly as possible.
              Zeneta Everhart is here. She is a friend and a proud citizen of
           the city of Buffalo. Zeneta is with us today as the mother of the
           Buffalo mass shooting survivor, Zaire Goodman. Zaire was working
           at the Tops Friendly Market that was targeted by a white su-
           premacist racist, deranged gunman. Zaire is also a colleague in
           government. She is the director of diversity and inclusion for my
           friend and colleague, New York State Senator, Tim Kennedy.
           Zeneta’s story is both tragic and magic, and with that it gives me
           great honor to present to the committee, Zeneta Everhart.
              Chairwoman MALONEY. Thank you. And after Ms. Everhart, we
           will hear from Dr. Roy Guerrero, who is a pediatrician in Uvalde,
           Texas. Then we will hear from Miah Cerrillo, who is a 4th grader
           at Robb Elementary School in Texas. Miah will be sharing her ex-
           perience in a pre-recorded video. Her father, Miguel, is with us in
           the room today and will be making brief remarks after his daugh-
           ter’s video, then he will excuse himself. Next we will hear from
           Felix and Kimberly Rubio, who are the parents of Lexi Rubio, who
           tragically lost her life in the Texas shooting.
              I now recognize the gentleman from Georgia, Mr. Hice, to intro-
           duce our last witness on this panel.
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              Mr. HICE. Thank you, Madam Chair. It is my honor to recognize
           Lucretia Hughes. She is part of my constituency, an incredibly
           bright light in our 10th District, and she has an extremely compel-
           ling story. I just wanted to publicly recognize Lucretia. I want to
           thank you for being here today. I know it is hard to share the story
           that you come to us with, but we are grateful that you are here.
           Madam Chair, I want to say thank you for just these few seconds
           to recognize Lucretia Hughes and welcome her here.
              I yield back.
              Chairwoman MALONEY. Thank you. The witnesses will be
           unmuted, so we can swear them in. Please raise your right hand.
              Do you swear or affirm that the testimony you are about to give
           is the truth, the whole truth, and nothing but the truth, so help
           you God?
              [A chorus of ayes.]
              Chairwoman MALONEY. Let the record show that the witnesses
           answered in the affirmative. Thank you.
              And without objection, your written statements will be made part
           of the record.
              With that, Ms. Everhart, you are now recognized for your testi-
           mony. Please testify, Ms. Everhart.
              STATEMENT OF ZENETA EVERHART, MOTHER OF ZAIRE
                      GOODMAN, BUFFALO, NEW YORK
              Ms. EVERHART. Thank you, Chairwoman. Zaire Mysaun Good-
           man, my son, or, as I like to call him, ‘‘The Kid,’’ was shot and in-
           jured by a domestic terrorist on Saturday, May 14, 2022, at the
           Tops grocery store where he was an employee in a historically
           Black community on Jefferson Avenue in Buffalo, New York. Zaire,
           ‘‘The Kid,’’ is now a 21-year-old man. He is pure joy. He is every-
           thing that is good in this world. And as I sit here before you today,
           I can hear my son telling me to stop being extra and get to the
           point. I was going to tell you all a bunch of fluffy funny stories
           about Zaire, but I have a message, so I will get to the point.
              As director of diversity and inclusion with New York State Sen-
           ator Tim Kennedy’s office, stories of gun violence and racism are
           all too familiar, but now these stories are Zaire’s stories. These
           problems literally knocked on my front door. These are issues that
           as a country we do not like to openly discuss. Domestic terrorism
           exists in this country for three reasons. America is inherently vio-
           lent. This is who we are as a Nation. The very existence of this
           country was founded on violence, hate, and racism with the near
           annihilation of my native brothers and sisters. My ancestors
           brought to America through the slave trade were the first currency
           of America. Let me say that again for the people in the back. My
           ancestors, the first currency of America, were stripped off their her-
           itage and culture, separated from their families, bargained for on
           auction blocks, sold, beaten, raped, and lynched. Yet I continuously
           hear after every mass shooting that this is not who we are as
           Americans and as a Nation. Hear me clearly. This is exactly who
           we are.
              Education. The majority of what I have learned about African-
           American history, I did not learn until I went to college and I had
           to choose those classes. Why is that? Why is African-American his-
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           tory not a part of American history? African-Americans built this
           country from the ground up. My ancestors’ blood is embedded in
           the soil. We have to change the curriculum in schools across the
           country so that we may adequately educate our children. Reading
           about history is crucial to the future of this country. Learning
           about other cultures, ethnicities, and religions in school should not
           be something that is up for debate. We cannot continue to white-
           wash education, creating generations of children to believe that one
           race of people are better than the other. Our differences should
           make us curious, not angry. At the end of the day, I bleed, you
           bleed. We are all human. That awful day that will now be a part
           of the history books, hopefully. Let us not forget to add that horrific
           day to the curriculum that we teach our children.
              Guns. The 18-year-old terrorist who stormed into my community
           armed with an AR–15, killing 10 people and injuring three others,
           received the shotgun from his parents for his 16th birthday. For
           Zaire’s 16th birthday I bought him a few video games, some head-
           phones, a pizza, and a cake. We are not the same.
              How and why and what in the world is wrong with this country?
           Children should not be armed with weapons. Parents who provide
           their children with guns should be held accountable. Lawmakers
           who continuously allow these mass shootings to continue by not
           passing stricter gun laws should be voted out. To the lawmakers
           who feel that we do not need stricter gun laws, let me paint a pic-
           ture for you. My son, Zaire, has a hole in the right side of his neck,
           two on his back, and another on his left leg caused by an exploding
           bullet from an AR–15. As I cleaned his wounds, I can feel pieces
           of that bullet in his back. Shrapnel will be left inside of his body
           for the rest of his life.
              Now I want you to picture that exact scenario for one of your
           children. This should not be your story or mine’s. As an elected offi-
           cial, it is your duty to draft legislation that protects Zaire and all
           of the children and citizens in this country. Commonsense gun laws
           are not about your personal feelings or beliefs. You are elected be-
           cause you have been chosen and are trusted to protect us, but let
           me say to you here today, I do not feel protected.
              No citizen needs an AR–15. These weapons are designed to do
           the most harm in the least amount of time. And on Saturday, May
           14, it took a domestic terrorist just two minutes to shoot and kill
           10 people and injure three others. If after hearing from me and the
           other people testifying here today does not move you to act on gun
           laws, I invite you to my home to help me clean Zaire’s wounds so
           that you may see up close the damage that has been caused to my
           son and to my community.
              To the families of Ruth Whitfield, Pearl Young, Katherine
           Massey, Heyward Patterson, Celestine Chaney, Geraldine Talley,
           Aaron Salter, Andre Mackneil, Margus Morrison, and Roberta
           Drury, I promise that their deaths will not be in vain. Zaire and
           I promise to use our voice to lift their names, and we will carry
           their spirit with us as we embark on this journey to create change.
           I know that their collective souls watched out for Zaire that day,
           and I am eternally grateful to them for that.
              To the east side of Buffalo, I love you. I am speaking directly to
           my people, to my hood. From Bailey, to Broadway, to Kensington,
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           to Fillmore, to Delavan, to Jefferson, and every street in between,
           just like the potholes that we want filled in—yes, I keep it real—
           together we will continue to fill those streets with love. No matter
           what people say about the East Side of Buffalo, we will not be bro-
           ken. I was born there, raised there. I raised my son there. I still
           live there, and I do the majority of my professional work on the
           East Side of Buffalo. I vow to you today that everywhere I go, I will
           make sure that the people hear the real stories of our people. For
           too long, our community has been neglected and starved of the re-
           sources that we so greatly need. I promise that I will not stop
           pushing for more resources to be funneled into the East Side of
           Buffalo. Each and every person that lives within that community,
           we are family, not a perfect community, but I know that we are
           love.
              To the greater Buffalo area, to everyone from around the country
           and the world who have reached out and loved on us, on behalf of
           Zaire, Zaire’s father, Damien Goodman, my mother, my father, my
           sisters, my brothers, and myself, we thank you. We thank you for
           all of your thoughts and your prayers. Thank you for all of the love
           and support you have shown us during this difficult time. But I
           also say to you today with a heart full from the outpouring of love
           that you also freely gave us, your thoughts and prayers are not
           enough. We need you to stand with us in the days, weeks, months,
           and years to come and be ready to go to work and help us to create
           the change that this country so desperately needs.
              And I will end with a quote from Charles Blow in his book The
           Devil You Know: ‘‘Race, as we have come to understand it, is a fic-
           tion, but racism, as we have come to live it, is a fact.’’ The point
           here is not to impose a new racial hierarchy, but to remove an ex-
           isting one. After centuries of waiting for white majorities to over-
           turn white supremacy, it is clear to me that it has fallen to Black
           people to do it themselves, and I stand at the ready.
              Zaire, this is for you, Kid. Happy birthday.
              Chairwoman MALONEY. Thank you. Dr. Guerrero, you are now
           recognized for your testimony.
             STATEMENT OF ROY GUERRERO, PEDIATRICIAN, UVALDE,
                                 TEXAS
              Dr. GUERRERO. Thank you. Thank you, Chairwoman. My name
           is Dr. Roy Guerrero. I am a Board-certified pediatrician and was
           present at Uvalde Memorial Hospital, the day of the massacre on
           May 24, 2022, at Robb Elementary School. I was called here today
           as a witness, but I showed up because I am a doctor because many
           years ago I swore an oath, an oath to do no harm. After witnessing
           firsthand the carnage in my hometown of Uvalde, to stay silent
           would have betrayed that oath. Inaction is harm. Passivity is
           harm. Delay is harm. So, here I am, not to plead, not to beg or con-
           vince you of anything, but to do my job and hope that by doing so,
           it inspires the members of this House to do theirs.
              I have lived in Uvalde my whole life. In fact, I attended Robb El-
           ementary School myself as a kid. As often is the case with us
           grownups, we remember a lot of the good and not so much of the
           bad, so I don’t recall homework or detention. I remember how
           much I loved going to school. What a joyful time it was. Back then
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           were able to run between classrooms with ease to visit our friends,
           and I remember the way the cafeteria smelled at lunchtime on
           hamburger Thursdays.
              It was right around lunchtime on a Tuesday that a gunman en-
           tered the school through a main door without restriction, mas-
           sacred 19 students and two teachers, and changed the way that
           every student at Robb and their families will remember that school
           forever. I doubt they will remember the smell of the cafeteria or
           the laughter ringing in the hallways. Instead, they will be haunted
           by the memory of screams and bloodshed, panic and chaos, police
           shouting, parents wailing. I know I will never forget what I saw
           that day.
              For me that day started like any typical Tuesday in our pediatric
           clinic: moms calling for coughs, boogers, sports physicals right be-
           fore the summer rush. School was out in two days, then summer
           camps would guarantee some grazes and ankle sprains. Injuries
           that could be patched up and fixed with a Mickey Mouse sticker
           as a reward. Then at 12:30, business as usual stopped, and with
           it, my heart. A colleague from the San Antonio Trauma Center
           texted me and said, ‘‘Why are pediatric surgeons and anesthesiol-
           ogists on call for a mass shooting in Uvalde?’’ I raced to the hos-
           pital to find parents outside yelling children’s names in desperation
           and sobbing as they begged for any news related to their child.
           Those mothers’ cries I will never get out of my head.
              As I entered the chaos of the ER, the first casualty I came across
           was Miah Cerrillo. She was sitting in the hallway, her face was
           still clearly in shock, but her whole body was shaking from the
           adrenaline coursing through it. The white Lilo and Stitch shirt that
           she wore was covered in blood and her shoulder was bleeding from
           the shrapnel injury. Sweet Miah, I have known her my whole life.
           As a baby, she survived major liver surgeries against all odds, and
           once again, she is here as a survivor, inspiring us with her story
           today and her bravery. When I saw Miah sitting there, I remember
           having seen her parents outside. So, after quickly examining two
           other patients of mine in the hallway with minor injuries, I raced
           outside to let them know that Miah was alive. I wasn’t ready for
           their next urgent and desperate question: ‘‘where is Elena?’’
              Elena is Miah’s eight-year-old sister who was also at Robb at the
           time of the shooting. I had heard from some of the nurses that
           there were two dead children who had been moved to the surgical
           area of the hospital. As I made my way there, I prayed that I
           wouldn’t find her. I didn’t find Elena, but what I did find was
           something no prayer will ever relieve: two children whose bodies
           had been pulverized by bullets fired at them, decapitated, whose
           flesh had been ripped apart, that the only clue as to their identities
           was blood-spattered cartoon cloths still clinging to them, clinging
           for life and finding none.
              I could only hope these two bodies were a tragic exception to the
           list of survivors, but as I waited there with my fellow Uvalde doc-
           tors, nurses, first responders, and hospital staff for other casualties
           we hoped to save, they never arrived. All that remained was the
           bodies of 17 more children and the two teachers who cared for
           them, who dedicated their careers to nurturing and respecting the
           awesome potential every single one, just as we doctors do.
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              I will tell you why I became a pediatrician, because I knew that
           children were the best patients. They accept the situation as it is
           explained to them. You don’t have to coax them into changing their
           lifestyles in order to get better or plead them to modify their be-
           havior as you do with adults. No matter how hard you try to help
           an adult, their path to healing is always determined by how willing
           they are to take action. Adults are stubborn. We are resistant to
           change even when the change will make things better for our-
           selves, but especially when we think we are immune to the fallout.
           Why else would there have been such little progress made in Con-
           gress to stop gun violence?
              Innocent children all over the country today are dead because
           laws and policy allows people to buy weapons before they are le-
           gally old enough to even buy a pack of beer. They are dead because
           restrictions have been allowed to lapse. They are dead because
           there are no rules about where guns are kept, because no one is
           paying attention to who is buying them. The thing I can’t figure
           out is whether our politicians are failing us out of stubbornness,
           passivity, or both.
              I said before that as grownups, we have a convenient habit of re-
           membering the good and forgetting the bad, never more so that
           when it comes to our guns. Once the blood is rinsed away from the
           bodies of our loved ones and scrubbed off the floors of the schools,
           and supermarkets, and churches, the carnage from each scene is
           erased from our collective conscience, and we return again to nos-
           talgia, to the rose-tinted view of our Second Amendment as a per-
           fect instrument of American life, no matter how many lives are
           lost.
              I chose to be a pediatrician. I chose to take care of children.
           Keeping them safe from preventable diseases, I can do. Keeping
           them safe from bacterial and brittle bones, I can do. But making
           sure our children are safe from guns, that is the job of our politi-
           cians and leaders. In this case, you are the doctors and our country
           is the patient. We are lying on the operating table riddled with bul-
           lets, like the children of Robb Elementary and so many other
           schools. We are bleeding out, and you are not there.
              My oath as a doctor means that I signed up to save lives. I do
           my job, and I guess it turns out that I am here to plead, to beg,
           to please, please do yours.
              Chairwoman MALONEY. Thank you. We will now play the video
           from Miah.
              [Video shown.]
              Chairwoman MALONEY. Mr. Cerrillo, you are now recognized.

               STATEMENT OF MIGUEL CERRILLO, FATHER OF MIAH
                                CERRILLO
              Mr. CERRILLO. Hello. Today I come because that girl was my
           baby girl, but she is not the same little girl that I used to play
           with, and run with, and do everything because she was daddy’s lit-
           tle girl. I have five kids, and she is middle child. I don’t know what
           to do because I think I would have lost my baby girl. My baby girl
           is the world because not only once, but twice she came back to us.
           She is everything, not only for me, but her siblings and her mother.
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             I thank you all for letting me be here and speak out, but I wish
           something will change not only for our kids, but every single kid
           in the world because schools are not safe anymore. Something
           needs to really change. Thank you.
             Chairwoman MALONEY. Thank you for your testimony, and I un-
           derstand you are now leaving. We thank you for sharing your
           story. Thank you.
             And Mr. and Mrs. Rubio, you are now recognized for your testi-
           mony.
                STATEMENT OF FELIX RUBIO AND KIMBERLY RUBIO,
                    PARENTS OF LEXI RUBIO, UVALDE, TEXAS
              Ms. RUBIO. I am Kimberly Rubio. This is Felix Rubio. We are the
           parents of Alexandria Aniyah, best known as Lexi Rubio, and five
           other children who all attended Uvalde Public Schools during the
           2021–2022 school year: Kalisa, who completed high school this
           year; Isaiah, who attends Uvalde High School; David, Morales Jun-
           ior High; Jahleela, Flores Elementary; and our two youngest chil-
           dren, Julian, 8 and Lexi, 10, who were at Robb Elementary.
              On the morning of May 24, 2022, I dropped Lexi and Julian off
           at school a little after 7 a.m. My husband and I returned to campus
           at 8 a.m. for Julian’s award ceremony and again at 10:30 a.m. for
           Lexi’s award ceremony. Lexi received the good citizen award and
           was also recognized for receiving all A’s. At the conclusion of the
           ceremony, we took photos with her before asking her to pose for a
           picture with her teacher, Mr. Reyes. That photo, her last photo
           ever, was taken at approximately 10:54 a.m. To celebrate, we prom-
           ised to get her ice cream that evening. We told her we loved her
           and we would pick her up after school. I can still see her walking
           with us toward the exit. In the reel that keeps scrolling across my
           memories, she turns her head and smiles back at us to acknowl-
           edge my promise, and then we left. I left my daughter at that
           school, and that decision will haunt me for the rest of my life.
              Afterward, Felix dropped me off at my office, the Uvalde Leader-
           News and returned home because it was a rare day off for him be-
           tween normal shifts and security gigs he takes to help make ends
           meet. I got situated at my desk and began writing about a new
           business in town when the news office started hearing commotion
           on the police scanner, a shooting on Diaz Street near Robb Elemen-
           tary. It wasn’t long before we received word from my son’s teacher
           that they were safe, secure in the classroom. Once evacuated from
           campus, the children reunited with parents and guardians at the
           Civic Center. My dad picked up Julian from the Civic Center and
           took him to my grandmother’s house. One of our Robb kids was
           safe.
              We focused on finding Lexi. Bus after bus arrived, but she wasn’t
           on board. We heard there were children at the local hospital, so we
           drove over to provide her description. She wasn’t there. My dad
           drove an hour and a half to San Antonio to check with the Univer-
           sity Hospital. At this point, some part of me must have realized
           that she was gone in the midst of chaos. I had the urge to return
           to Robb. We didn’t have our car at this point, and traffic was every-
           where. So I ran. I ran barefoot with my flimsy sandals in my hand.
           I ran a mile to the school, my husband with me. We sat outside
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           for a while before it became clear we wouldn’t receive an answer
           from law enforcement on scene. A San Antonio firefighter eventu-
           ally gave us a ride back to the Civic Center where the district was
           asking all families who had not been reunited with their children
           to gather. Soon after we received the news that our daughter was
           among the 19 students and two teachers that died as a result of
           gun violence.
             We don’t want you to think of Lexi as just a number. She was
           intelligent, compassionate, and athletic. She was quiet, shy unless
           she had a point to make. When she knew she was right, as she so
           often was, she stood her ground. She was firm, direct, voice unwav-
           ering. So today, we stand for Lexi, and as her voice, we demand
           action. We seek a ban on assault rifles and high-capacity maga-
           zines. We understand that for some reason, to some people, to peo-
           ple with money, to people who fund political campaigns, that guns
           are more important than children. So, at this moment we ask for
           progress. We seek to raise the age to purchase these weapons from
           18 to 21 years of age. We seek red flag laws, stronger background
           checks. We also want to repeal gun manufacturers’ liability immu-
           nity.
             You have all seen glimpses of who Lexi was, but I also want to
           tell you a little bit about who she would have been. If given the
           opportunity, Lexi would have made a positive change in this world.
           She wanted to attend St. Mary’s University in San Antonio, Texas
           on a softball scholarship. She wanted to major in math and go on
           to attend law school. That opportunity was taken from her. She
           was taken from us.
             I am a reporter, a student, a mom, a runner. I have read to my
           children since they were in the womb. My husband is a law en-
           forcement officer, an Iraq War veteran. He loves fishing and our
           babies. Somewhere out there, there is a mom listening to our testi-
           mony, thinking, ‘‘I can’t even imagine their pain,’’ not knowing that
           our reality will one day be hers unless we act now.
             Thank you for your time.
             Chairwoman MALONEY. Thank you for your testimony.
             Ms. Hughes, you are now recognized for your testimony.

            STATEMENT OF LUCRETIA HUGHES KLUCKEN, DC PROJECT,
                          WOMEN FOR GUN RIGHTS
              Ms. HUGHES KLUCKEN. Honorable Chairwoman Maloney, Rank-
           ing Member Comer, distinguished members of the committee,
           thank you for allowing me to be here today to address the violence
           in our country. My name is Lucretia Hughes Klucken. I have four
           children and nine grandchildren. On the night of April 2, 2016, my
           family got a phone call that would change our lives forever. My ex-
           husband answered the phone and let a blood curdling scream, a
           scream of pain from the depths of his soul. He screamed, he cried,
           ‘‘He is gone. He is gone.’’
              Our 19-year-old son Emmanuel went to a party early that night.
           After we got the call, we were frantic. We called his phone. No one
           answered. We called even the police. I went to Facebook and I had
           to ask, ‘‘Is my son dead?’’ I found out that he was shot point-blank
           in the head and killed while playing dominos. No one spoke up for
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           weeks, and the killer was on the run. No one was going to snitch,
           but that is the street life.
              Words can’t describe how hard it is to bury a child, I ache for
           anyone and all who have done the same. My son’s death was a re-
           sult of a criminal with an evil heart and a justice system failing
           to hold him accountable for the laws he had already broken. You
           see, a convicted felon killed my son with an illegally obtained gun.
           Our gun control lobbyists and politicians claim that their policies
           will save lives and reduce violence. Well, those policies did not save
           my son. The laws being discussed are already implemented in cities
           across this country. We have decades of evidence proving they do
           not work. St. Louis, New York, Chicago, Washington, Atlanta are
           gun control utopias, and they are plagued with the most violence.
           Ten more laws, 20 more laws, 1,000 more won’t make what is al-
           ready illegal more wrong or stop criminals from committing these
           crimes.
              And you all are delusional if you think it is going to keep us safe.
           I am a walking testimony of how the criminal justice system and
           the gun control laws, which is steeped in racism, by the way, have
           failed the Black community. By the age of 25, I had already went
           to 18 young Black men’s funeral at the age of 25. I have one Black
           man in jail, one Black man in the grave, and my young grandson
           going to be raised without a father. And it is a curse on the Black
           community and everyone else’s.
              Something has to change. Thoughts and prayers and calls for
           more gun control isn’t enough. How about letting me defend myself
           from evil? You don’t think that I am capable and trustworthy to
           handle a firearm. You don’t think that the Second Amendment
           doesn’t apply to people that look like me? Who and you who would
           call for more gun controls are the same ones that are calling to
           defund the police? Who is supposed to protect us? We must prepare
           to be our own first responders to protect ourselves and our loved
           ones. I am a legal, law-abiding citizen, and I don’t need the govern-
           ment to save me.
              I teach people how to use a firearm. I empower others to look at
           me to understand that Second Amendment is their right. I am a
           proud member of the D.C. Project, Women for Gun Rights. We be-
           lieve that education is the safety, not ineffective legislation. We
           support meaningful solutions that will actually save lives. We sup-
           port the Safe Student Act, H.R. 7415, which would immediately
           make school safer in hindsight of Parkland. We saw failure of the
           government at every level, failing the students. Students saw some-
           thing and they said something, and the school did not act. Police
           were called to his residence over 30 times, and they did not act,
           and finally the police did not go into the school that fateful day and
           failed to protect those kids. We need to secure our schools, and we
           got to secure this building like you all do. What is the difference?
              We call on Congress to ban gun-free zones, fund nonpartisan fire-
           arm education programs, like KidSafe Foundation, and non-govern-
           mental mental health organizations like Hold My Guns. And in
           closing, I claim that nothing in these bills do anything to make us
           safer or address the mental health crisis in this country. Despite
           living with the heartache of losing my son on a daily basis, I be-
           lieve it is our God-given right to defend ourselves from any act of
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           violence. Making it more difficult or even more expensive for me,
           and people that look like me, and other law-abiding citizens will
           not make us safer. It will embolden the criminals. Gun owners are
           not the enemies, and these gun control policies are not the solution.
             Thank you. Thank you.
             Chairwoman MALONEY. Thank you. Thank you all for your pow-
           erful and meaningful and gut wrenching testimony.
             You are excused, and we will pause while we seek the next panel
           for their testimony.
             [Pause.]
             Chairwoman MALONEY. The meeting will resume. We are now
           ready for our second panel, and I would like to introduce our wit-
           nesses. The first witness is the Honorable Eric Adams, who is the
           mayor of the city of New York. Then we will hear from Greg Jack-
           son, who is the executive director of the Community Justice Action
           Fund. Next, we will hear from Becky Pringle, who is the president
           of the National Education Association. Next, we will hear from Jo-
           seph Gramaglia, who is the police commissioner of Buffalo, New
           York. Then we will hear from Nick Suplina, who is the senior vice
           president for law and policy at Everytown for Gun Safety. Finally,
           we will hear from Amy Swearer, who is the legal fellow at the
           Edwin Meese Center for Legal and Judicial Studies in the Heritage
           Foundation.
             The witnesses will be unmuted so that we may swear them in.
           Please raise your right hand.
             Do you swear to affirm that the testimony you are about to give
           is the truth, the whole truth, and nothing but the truth, so help
           you God?
             [A chorus of ayes.]
             Chairwoman MALONEY. Let the record show that the witnesses
           answered in the affirmative. Thank you.
             Without objection, your written statements will be made part of
           the record.
             With that, Mayor Adams, you are now recognized for your testi-
           mony. Thank you for coming.
             [No response.]
             Mr. ADAMS.
             [Inaudible.]
             Chairwoman MALONEY. Turn on your mic.
            STATEMENT OF THE HONORABLE ERIC ADAMS, MAYOR, NEW
                             YORK, NEW YORK
              Mr. ADAMS. Thank you. Thank you very much. Again, I want to
           thank you, Madam Chairwoman Maloney, for the invitation to tes-
           tify today. I also want to thank all the members of the House Com-
           mittee on Oversight and Reform, members from the New York City
           congressional delegation, and everyone who has testified today, es-
           pecially those who have so bravely shared their stories of losing
           loved ones to gun violence. I was particularly touched by hearing
           the husband and wife that lost their baby girl. As a father with one
           son, it was extremely impactful to all of us.
              I am Eric Adams, and I am honored to appear before you today
           as the 110th mayor of the great city of New York to discuss the
           ways we can protect public safety and prevent gun violence.
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              Ladies and gentlemen, it is high noon in America, time for every
           one of us to decide where we stand on the issue of gun violence;
           time to decide if it is more important to protect the profits of gun
           manufacturers or the lives of our children; time to decide if we are
           going to be a Nation of laws or confederation of chaos, and we must
           do it now. It is high noon in America, our country, the country I
           love. The clock is ticking every day, every minute toward another
           hour of death.
              I am here today to ask every one of you and everyone in this
           Congress to stand with all of us to end gun violence and protect
           the lives of Americans. We are facing a crisis that is killing more
           Americans than war, a crisis that is now the No. 1 cause of death
           for our young people, a crisis that is flooding our cities with the il-
           legal guns faster than we can take them off the street. The New
           York City Police Department has taken over 3,000 illegal guns off
           our streets this year alone, but the guns just keep coming. This is
           a crisis that transcends party lines and affects both rural and
           urban communities. I know this firsthand as the co-chair of
           Everytown’s non-partisan Coalition on Mayors against Illegal
           Guns.
              No matter what our party affiliations, we are united in our mis-
           sion to stop crime, save lives, and bring an end to gun violence be-
           cause this isn’t about blue versus red. This is about right versus
           wrong. Whether it is on the street wearing a badge or in these
           chambers taking a vote, we must stand for what is right.
              First, we need Congress to take the handcuffs off the Bureau of
           Alcohol, Tobacco, Firearms and Explosives, known as ATF, and let
           them do their jobs. That means confirming President Biden’s nomi-
           nee as soon as possible. We must work together to dam all the riv-
           ers that lead this to the sea of violence. Commonsense gun reform
           must become the law of the land. I am pleased that today the
           House will vote on H.R. 7910, the Protecting Our Kids Act, and I
           urge the passage of the gun violence prevention package for consid-
           eration in the city. I also urge the Senate to pass H.R. 8, the bipar-
           tisan Background Checks Act of 2021, and H.R. 1446, the En-
           hanced Background Checks Act of 2021. These are bipartisan gun
           safety bills that will make our cities and our people safer.
              I stand with President Joe Biden in calling on Congress to act
           now to regulate or ban assault weapons in this country. Even if we
           only raise the age required to buy one of these weapons, lives will
           be saved. We need Congress to direct Federal aid to localities and
           states that support not just law enforcement and violence preven-
           tion, but also access to high-quality healthcare, childcare, edu-
           cation, and housing. We must build the society while youth on a
           path to fulfillment, not a road to ruin.
              As mayor, my greatest responsibility is protecting the lives and
           the safety of the people of New York City. This is my call, and my
           duty, and my life’s work. I did it as a police officer in a uniform
           and wearing the badge, and I do it now as the elected leader of our
           largest American city, but I need your help to further protect our
           people and to save lives. The time is right now. It is high noon in
           America.
              Chairwoman MALONEY. Thank you. Mr. Jackson, you are now
           recognized for your testimony. Mr. Jackson?
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            STATEMENT OF GREG JACKSON, JR., EXECUTIVE DIRECTOR,
                     COMMUNITY JUSTICE ACTION FUND
              Mr. JACKSON. Thank you, Chairwoman Maloney, Ranking Mem-
           ber Comer, and the rest of the committee for inviting me on this
           really important topic. My name is Greg Jackson. I am the execu-
           tive director for the Community Justice Action Fund, the only na-
           tional gun violence advocacy organization led by survivor of color,
           but I am not here by choice. I am here by circumstance.
              In 2013, just miles from this chamber, I was shot as an innocent
           bystander while I was simply walking home, and when I arrived
           at the hospital, I wasn’t welcomed with nurses and surgeons. No,
           I was met with investigators. They questioned me as a suspect first
           and a patient second. I spent 21 day is in the hospital, six months
           learning how to walk again. But what was most terrifying and
           tragic was that when I turned on the TV, I was watching Members
           of Congress have the same debates that we are having right now.
           That was nine years ago.
              Every year, over 110,000 people are shot or killed by gun vio-
           lence. So, that means nearly a million lives have been directly dev-
           astated since I laid in that hospital, looked up at that television
           and watched the members of this chamber debate this topic. Most
           of the stories of those who have been impacted by gun violence like
           mine will never make the headlines. You know, just two miles from
           here, Makiyah Wilson was shot, 10 years old while going to get ice
           cream. Karon Brown, one of my mentees, who hosted his own Stop
           the Violence event in this neighborhood, was shot down that same
           summer and killed in front of a McDonald’s. And Pamela Thomas,
           here in D.C., who was so afraid of gun violence in her community
           that she wrote her own eulogy, just to be shot by a stray bullet in
           front of her son.
              These stats are not stats. These are stories of real people, real
           people that are dying in our streets every single day. Every day,
           110 Americans are killed with guns and 200 are shot and wounded.
           And we have talked a lot about this being the No. 1 cause of death
           for all youth, surpassing car accidents, drug overdoses and COVID–
           19. But amid this pandemic, we have also seen a 35-percent in-
           crease in homicides, and this still remains the No. 1 cause of death
           for Black men, the No. 2 cause of death for Latino men, and the
           No. 2 cause of death for Black women. We are here because we
           cannot and let’s not hide from the harsh truth. Gun violence is de-
           stroying communities around the country, and every day, families
           experience firsthand the devastation gunfire brings. To eliminate
           gun violence, we must swiftly recognize that this is a public health
           crisis that deserves a public health response.
              At Community Justice, we address gun violence by focusing on
           those who have been most impacted by the crisis, and we urge Con-
           gress to invest in community-based solutions that we know can ad-
           dress those public health risk factors, that can reduce the risk fac-
           tors of those impacted by gun violence, but also address the root
           causes. But we also strongly urge that any supply side approach
           not only focus on the shooter, but on the supplier and the source
           of firearms that are flooding into our communities.
              In moments of crisis, Congress has proven to be as resilient as
           the American people and take action. When coronavirus struck our
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           country, Congress authorized bipartisan legislation to provide re-
           sources and regulations to save lives. When Ukraine was in crisis,
           Congress sprang into action and mobilized bipartisan authorization
           to authorize immediate aid, economic investments, mental health
           resources, and other services to support those communities. But I
           am here to say that we are in crisis in America today. Each time
           we did the hard thing because it was the right thing to do, and this
           crisis is no different. This crisis now has taken away grandparents
           in Buffalo, elementary kids in Uvalde, fathers in Chicago, mothers
           in Atlanta, nephews in Chicago, even pastors in Charleston, and
           we are here still asking for action.
              There are three direct things that we know can be done. First,
           we must acknowledge this as a public health crisis and craft poli-
           cies to combat it as such. Second, we must advance commonsense
           legislation that not only addresses the hardware, but promotes
           community-based solutions to end gun violence, such as the Break
           the Cycle of Violence Act. And last, I urge you to create a select
           committee on the gun violence crisis to investigate the health im-
           pacts of gun violence and its disproportionate impact on Black and
           brown communities across the country.
              Now is the time to take action before another person loses their
           life, before another child opens his last textbook, before another
           parent hugs that child for the last time, and also before someone
           like me isn’t alive to ask you to do so.
              Thank you, Madam Chairwoman.
              Chairwoman MALONEY. Thank you. Ms. Pringle, you are now rec-
           ognized for your testimony.
              STATEMENT OF BECKY PRINGLE, PRESIDENT, NATIONAL
                          EDUCATION ASSOCIATION
              Ms. PRINGLE. Good morning, Chairwoman Maloney, Ranking
           Member Comer, and committee members. I appreciate the oppor-
           tunity to offer testimony on behalf of the 3 million members of the
           National Education Association and all devoted educators who
           teach and nurture and protect our students.
              As a teacher with three decades of experience, I am frustrated,
           I am heartbroken, I am angry that this is where we are 23 years
           after Columbine. On April 20, 1999, I had been a middle school
           science teacher in Pennsylvania for 23 years. No experience or
           training had prepared me for the questions my middle-level learn-
           ers asked me as I joined my fellow teachers in shock and disbelief
           of the carnage that ended the lives of 12 students and one teacher.
           The only thing that comforted us was the belief that this society
           would never let it happen again. But the list continued to grow,
           didn’t it? Virginia Tech, Sandy Hook, Marjory Stoneman Douglas,
           and now Robb Elementary: kids were celebrating at the end of a
           successful school year. For dying teen children and two teachers,
           it would be the last day of their lives.
              These massacres occurring in suburban, urban, and rural schools
           are not isolated incidents. Tallying up the number of killed or
           wounded children does not begin to tell the full horrific story.
           Camille, a student who survived Sandy Hook, experienced severe
           panic attacks for years. She is one of the more than 311,000 stu-
           dents exposed to gun violence since Columbine. Their trauma will
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           likely endure for the rest of their lives. Students across our country
           are writing goodbye notes and wills just in case. Unfortunately,
           their fear is perfectly rational.
              Here in America, we are 25 times more likely to die by gun than
           people in other developed nations. So, the question we must ask:
           is this who we are? Is it? Our country has already experienced
           nearly 240 mass shootings in 2022 alone, but that number does not
           begin to capture the scope of this epidemic. Every day, gun violence
           kills 111 people. That means that we can expect 22,255 more
           deaths by guns this year. Inaction equals acceptance of the unac-
           ceptable, and this crisis is worse in Black and Latino communities
           where 78 percent of adults or their loved ones who are victims of
           gun violence. The evidence is clear. Where there are more guns,
           more people are killed by guns every single day.
              The politicians who fail to take action ignore the majority of
           Americans who want stricter gun laws. You tell our children pro-
           tecting them matters less than protecting the status quo. A high
           school teacher in Arlington, Texas, survived a workplace shooting
           in a corporate setting only to experience school shootings himself
           and countless lockdowns. He is now leaving our profession with
           these words: ‘‘As much as I love teaching, I can’t fully represent
           and protect my students. I am not going to be the educator they
           need.’’ Enough with so-called solutions that do not address the
           problem. We cannot place enough armed guards at every school
           building in America to protect our babies. We cannot ask educators
           to carry weapons and wear body armor while teaching and nur-
           turing our students because by the time someone has shown up
           with a military weapon, it is already too late. We need for our stu-
           dents more resources, not more revolvers.
              You can help us to not only heal, but to hope. Pass commonsense
           gun control legislation so that not one more community is shat-
           tered and not one more anguished parent, like we heard today, has
           to lay a precious child to rest. Our children deserve the chance to
           grow and to thrive to live into their brilliance.
              Thank you for what I know you will do for our babies.
              Chairwoman MALONEY. Thank you. Commissioner Gramaglia,
           you are now recognized.
                    STATEMENT OF JOSEPH GRAMAGLIA, POLICE
                       COMMISSIONER, BUFFALO, NEW YORK
              Mr. GRAMAGLIA. Chairwoman Maloney, Ranking Member Comer,
           and distinguished members of the committee, thank you for the op-
           portunity to participate in today’s hearing. I appear before you
           today as a police commissioner in Buffalo, New York. It is also my
           privilege to testify on behalf of the Major Cities Chiefs Association.
           We are here today to discuss gun violence epidemic plaguing our
           Nation. This hearing comes in the aftermath of multiple mass
           shootings that have devastated communities throughout the coun-
           try, including my home city and Buffalo. Our communities are
           hurting, and we must continue to support them, the loved ones of
           the victims, and our brave first responders.
              On May 14, 2022, an 18-year-old white supremacist invaded our
           city and inflicted terror on the Black community in a way never
           seen in Buffalo’s history. He legally purchased a military-style
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           weapon and body armor and then spent months practicing his
           shooting skills. He entered the Tops Supermarket and opened fire
           on civilians, striking 13 and killing 10. He livestreamed this with
           a GoPro he had affixed to his helmet. Retired Buffalo Police Offi-
           cer, Aaron Salter Jr., who I posthumously promoted to lieutenant
           and issued the department’s highest honor, the Medal of Honor,
           was working Tops security that day. Aaron was helping an elderly
           shopper leave with her groceries when the shooting began. He did
           his best to warn customers while in a completely defensive posi-
           tion. He engaged the shooter as he entered, hitting him with at
           least one shot. It is often said that a good guy with a gun will stop
           a bad guy with a gun. Aaron was the good guy and was no match
           for what he went up against, a legal AR–15 with multiple high-ca-
           pacity magazines. He had no chance.
              Assault weapons like the AR–15 are known for three things: how
           many rounds they fire, the speed at which they fire those rounds,
           and body counts. This radicalized 18-year-old adult should have
           never been able to have access to the weapons he used to per-
           petrate this attack, and laws needs to be enacted to ensure it never
           happens again.
              Buffalo Police Officers responded to Tops and were able to take
           the shooter into custody within minutes. I have no doubt in my
           mind that their swift response time and handling of the situation
           saved lives. I would like to publicly thank them and the rest of the
           Buffalo Police Department for the heroism they showed on that
           day. Buffalo is known as the city of good neighbors. We are a resil-
           ient, culturally diverse community. We came together after this
           horrific tragedy, and we will continue to heal together. However, no
           city should have to go through this, and it is time to make changes
           to a system that is leaving blood on the sidewalks of our commu-
           nities every day.
              In 2018, the MCCA adopted a firearms violence policy that would
           help mitigate the threat of gun violence without infringing on the
           constitutional rights or weakening due process. These reforms in-
           clude requiring universal background checks, strengthening NICS
           definitions and improving access to records, supporting the use of
           extreme risk protection orders, aggressively prosecuting straw pur-
           chasers and prohibited possessors, and banning assault weapons
           and high-capacity magazines. Polling shows the majority of Ameri-
           cans support these commonsense reforms, and Congress must act
           immediately to close the loopholes in our current system and the
           gaps that allow easy access to military-style weapons.
              Events like the Buffalo massacre, the shooting in Uvalde that
           took 21 lives, including 19 children, and the mass shootings in La-
           guna Woods and Tulsa are the situations that capture headlines.
           However, we must remember that gun violence epidemic extends
           well beyond these events. The grim reality is that shootings have
           become a daily occurrence in American cities. Emerging trends, like
           ghost guns and guns modified with switches, continue to pose a
           challenge for law enforcement. Congress must update our laws to
           account for these new threats and carnage that has accompanied
           them. It will be nearly impossible to address the gun violence epi-
           demic without first addressing the underlying violent crime prob-
           lem. Unfortunately, the proactive policing to help drive down vio-
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           lent crime has become a luxury for many departments. Law en-
           forcement needs additional resources to bolster its response to vio-
           lent crime, and overall lack of accountability for violent offenders
           is contributing to rising gun violence. In some major cities DAs are
           not prosecuting serial firearm offenders, and judges continue to re-
           lease offenders on low or no bond. To address these challenges,
           Congress must provide resources for U.S. attorney’s offices to sup-
           port additional Federal prosecutions as appropriate.
              Police chiefs see the horror of gun violence every day. Members
           of Congress share our solemn duty to protect the public. The
           MCCA will continue to call on elected representatives to issue poli-
           tics and take the necessary steps to address the gun violence epi-
           demic. Your leadership is needed now more than ever. Thank you.
              Chairwoman MALONEY. Mr. Suplina, you are now recognized for
           your testimony.
              [No response.]
              Chairwoman MALONEY. Turn on your mic, please.
           STATEMENT OF NICK SUPLINA, SENIOR VICE PRESIDENT FOR
                 LAW & POLICY, EVERYTOWN FOR GUN SAFETY
             Mr. SUPLINA. Good morning, Chairwoman Maloney, Ranking
           Member Comer, and distinguished members of the subcommittee.
           My name is Nick Suplina. I am senior vice president for law and
           policy at Everytown for Gun Safety. We are the largest gun vio-
           lence prevention organization in the country. I am honored to be
           here today and grateful for the spotlight you are shining on Amer-
           ica’s gun violence crisis.
             Once again, we are grieving. Frequent public mass shootings ter-
           rorize the country and are a uniquely American problem. Mass
           shootings often focus the public’s attention and our grief, and with
           good reason, but they represent a small fraction of all gun deaths
           in this country, which include other homicides, suicides, and unin-
           tentional shootings. Every single day, some 110 Americans are
           killed with a gun and 200 more physically wounded. We estimate
           that one-half of all Americans have been touched by gun violence,
           either directly or someone they care for. In other words, we are a
           Nation of gun violence survivors.
             To be clear, this burden has not been borne equally. Talking
           about our children, guns are now the leading cause of death for
           children and teens. I am talking about people of color. Black Amer-
           icans experienced 10 times the homicides of their white counter-
           parts. Clearly, we are in the middle of a serious public health cri-
           sis, one that is crying out for sensible gun policy solutions, espe-
           cially at the Federal level. And while gun deaths are hitting all-
           time highs, the gun industry is breaking profit records year after
           year. The gun industry uses fear to sell guns, and it believes that
           mass shootings are great for gun sales. They are making money on
           these tragedies right now.
             So, when we talk about the shootings in Uvalde and Buffalo,
           when we talk about the toll of gun violence on our children, when
           we talk about the disproportionate impact on Black Americans,
           when we talk about how gun violence costs taxpayers, survivors’
           families, employers, and communities—$280 billion a year—we
           need to also talk about how the $9 billion civilian firearms industry
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           is shielded from the scrutiny and accountability that has led other
           industries to better and safer practices.
              The gun industry, for its part, has innovated not to make guns
           or us safer, but to make them more dangerous, more likely to evade
           regulation, more profitable. Instead of designing firearms that can’t
           be fired if stolen, or that make it easy for law enforcement to trace,
           gun makers have created modifications to mimic automatic fire.
           They have created impossible-to-trace ghost guns that help cir-
           cumvent background checks, and they have designed AR–15s that
           can be modified in minutes to bypass the state’s assault weapons
           law as we saw in Buffalo. And now in a crowded field, gun manu-
           facturers are trying to market in increasingly brazen ways, often
           touting the deadliness of products, glorifying combat, and attempt-
           ing to appeal to younger and younger audiences.
              Finally, let’s not forget the industry has done almost nothing to
           take steps to prevent diversion of guns into the criminal market
           and to gun traffickers. Between 2016 and 2020, over 1 million of
           the industry’s firearms were recovered by law enforcement in con-
           nection to crimes. More and more of these guns carry the telltale
           signs that they were purchased with the intent to traffic or illegally
           use them, yet the industry is rarely held accountable. This commit-
           tee’s investigation found a dealer in Georgia where 10 percent of
           the guns that sold ended up on crime scenes—10 percent. And we
           wonder why it is so easy for criminals to get guns.
              So, why is no one holding the gun industry accountable for its
           dangerous practices? In 2005, at the behest of the NRA, Congress
           passed the Protection of Lawful Commerce in Arms Act, which in-
           sulates the industry from most legal threats. And again, at the be-
           hest of the NRA, Congress passed the Tiahrt Amendment, a budget
           rider that purports to limit sharing of data about guns used in
           crimes, which keeps the industry out of the conversation about how
           criminals get armed. These laws have to go.
              In spite of these barriers, I am heartened that public and private
           actors in legislatures, city halls, courts across the country are tak-
           ing action to reveal the gun industry’s role in gun violence, and I
           am grateful to this committee’s investigation into gun trafficking
           and its recent letters to gun manufacturers. I hope you have the
           CEOs appear here for testimony because America hears every day
           from the families who have lost loved ones to gun violence, and our
           country deserves to hear from the CEOs who are profiting off of
           their loss and pain.
              Thank you.
              Chairwoman MALONEY. Thank you. And, Mrs. Swearer, you are
           now recognized for your testimony.
              Ms. SWEARER. Madam Chairwoman and distinguished mem-
           ber——
              Chairwoman MALONEY. We can’t hear your mic.
              Ms. SWEARER. Madam Chairwoman and distinguished members.
              Chairwoman MALONEY. We still can’t hear you. Turn your mic
           on. Pull it closer to——
              Ms. SWEARER. It says it is on.
              Chairwoman MALONEY. It is not on.
              Ms. SWEARER. The green light is on. I will try to speak a little
           bit louder.
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                STATEMENT OF AMY SWEARER, LEGAL FELLOW, THE
                           HERITAGE FOUNDATION
              Ms. SWEARER. Madam Chairwoman and distinguished Members
           of Congress, my name is Amy Swearer, and I am a legal fellow at
           the Heritage Foundation where my scholarship focuses on the Sec-
           ond Amendment and gun violence prevention. I have testified be-
           fore various legislatures after several mass shootings: Parkland,
           Virginia Beach, El Paso, and unfortunately, too many others, and
           I hope to God this is the last time I ever have to testify before a
           legislative body after a mass shooting again.
              I fear that it won’t be. My fear that it won’t be is because the
           conversation has become predictable. An unspeakably horrific
           event, like Uvalde or Buffalo, happens, reflexively, almost compul-
           sively, calls for Congress to pass a whole host of gun control meas-
           ures, largely targeting peaceable law-abiding citizens. Should any-
           one dare question the constitutionality, practicality, or even the ef-
           fectiveness of any of these policies, their opposition is immediately
           framed as callous obstructionism, and their legitimate concerns are
           brushed aside as ‘‘bullshit.’’ Any viable alternatives are deemed
           frivolous without so much as a passing thought to their usefulness.
           And so, I will once again run through all of the serious problems
           with commonly proposed gun control measures. It is all detailed in
           my written submission, which I hope you read.
              Semi-automatic rifles are the type of firearm least often used to
           commit acts of gun violence. Pistol grips and barrel shrouds don’t
           make them any more or less deadly in the context of mass shoot-
           ings. While these features can and do make a difference in the con-
           text of lawful self-defense for civilians, which is why millions of
           peaceable Americans own them, standard capacity magazines are
           commonly possessed by law-abiding citizens for lawful purposes.
           The few rigorous studies on their prohibition have found that the
           evidence for their success at lowering rates of gun violence is incon-
           clusive at best.
              The context in which mass public shootings occur renders maga-
           zine limits effectively useless at saving lives. Eighteen-to 20-year-
           olds are legal adults, otherwise endowed with all of the rights and
           duties of citizenship, including the right to keep and bear arms.
           Even if it were constitutionally appropriate to punish a mass of re-
           sponsible young adults because a handful of them committed atroc-
           ities, the vast majority of mass public shooters are 21 or older.
              And then I will repeat the same viable alternatives that would
           be far more effective in a far more immediate way, again, detailed
           in the written submission that I hope you read. Take violent crime
           seriously under existing Federal laws and encourage your state and
           local counterparts to do the same. Authorized schools to shift the
           over $100 billion in unused COVID relief funds to physical security
           improvements, the hiring of arm trained staff and the hiring of li-
           censed mental health professionals; promote responsible gun own-
           ership without simultaneously imposing financial burdens on gun
           owners or hindering their ability to immediately respond to violent
           threats; invest in the Nation’s mental health infrastructure to com-
           bat the two-thirds of gun deaths that are suicides, and the list goes
           on.
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             Now Congressmen, I am fully aware that when you are burying
           your child, nuanced policy discussions are irrelevant. It shouldn’t
           matter to a 4th grader hiding under her desk, covering herself in
           her dead classmate’s blood, whether the real problem here is a bar-
           rel shroud or the several dozen missed opportunities to intervene
           along the way. But it should matter to you because you are the
           ones making public policy decisions. Many of you are the ones im-
           plying that a lot of victims would be alive today but for a mass
           shooter’s pistol grip and a background check that he already
           passed. Many of you are the same ones mocking anybody for ‘‘talk-
           ing about doors,’’ when a single locked door in Uvalde would likely
           have saved 21 lives, and when all of us just walked in here today
           into this building with its limited public access points, its one-way
           locking security doors, and its plethora of armed officers.
             What happened in Uvalde and in Buffalo is horrific? It is horri-
           fying. No one should ever have to experience that type of
           unfathomable trauma, and I cannot even begin to imagine what
           those families are going through right now. Everybody with a soul
           has it shattered over acts like this, and we have seen it shattered
           every single time from Columbine to Parkland to Uvalde. This
           didn’t get easier for us. We did not grow numb somewhere along
           the way to the reality of this. It is not as though our family mem-
           bers don’t also teach 4th graders or we don’t also send our kids to
           school. It is not as though we don’t also shop in grocery stores, or
           go to country music festivals, or work in hospitals, as though we
           don’t also feel the tremendous, horrible weight of these tragedies
           somewhere deep inside of our souls because we do.
             Now we oppose these policies precisely because the lives of these
           victims matter, because the grief of their loved ones is real, because
           we all want thriving communities with families flourishing instead
           of burying their children. The opposition has always been and is
           still today a genuine concern that these policies suffer from serious
           constitutional and practical defects, that they will not have the im-
           pact and promise people they will. And we have always proposed
           alternatives that would be more effective and less constitutionally
           suspect. We have rarely been met with our open ears, and I hope
           for the Nation’s sake that today is different, because I would really
           love to never testify after a mass shooting again.
             Thank you.
             Chairwoman MALONEY. Thank all of you for your very important
           testimony. I now recognize myself for questions.
             As a mother, it is hard to find words to express the grief and out-
           rage I feel, and others feel in this room, listening to the stories
           from our witnesses today. No child should be cut down by a gun.
           Lexi Rubio should have been able to grow up, live her dreams, be-
           come a lawyer, major in math, visit Australia. Eleven-year-old
           Miah should not have been forced to cower in fear as she watched
           her teachers and friends massacred. And the close-knit, vibrant
           Jefferson Avenue community in Buffalo, many of whom came today
           to stand with us, should not be forced to reckon with the violent
           death of friends and loved ones gunned down by a racist with an
           assault weapon. We are in a crisis, but we are not powerless. Con-
           gress just needs to find the courage to act, and I hope we find it
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           today when we pass on the sensible and vote on these sensible gun
           reform bills.
              Let’s start with assault weapons. The shooters in Uvalde and
           Buffalo were too young to buy alcohol, but they both purchased as-
           sault weapons legally. Ms. Pringle, as an educator, your organiza-
           tion represents millions of teachers, some of whom have witnessed
           horrific gun violence, some of whom have been murdered and its
           aftermath. Would banning assault weapons save the lives of teach-
           ers and students?
              Ms. PRINGLE. It absolutely would.
              Chairwoman MALONEY. There are many other commonsense
           steps that we can take. We can strengthen background checks,
           raise the minimum age to buy a gun, require waiting periods. Com-
           missioner Gramaglia, you are on the frontlines against gun vio-
           lence every day in Buffalo. Would these commonsense measures
           save the lives of police officers and others in your community?
              Mr. GRAMAGLIA. It absolutely would.
              Chairwoman MALONEY. Mayor Adams, New York City already
           has adopted many gun safety measures, and you have moved
           quickly to take further action. But guns from other states lacks gun
           laws keep flowing into New York. Why is it so important that we
           pass Federal gun safety laws?
              Mr. ADAMS. As we indicated, we removed 3,000 guns off our
           streets, but in addition to that, we have witnessed an over 240 per-
           cent increase in what is called ghost guns. If we don’t have a com-
           bined effort with the intervention items we are putting in place,
           the prevention, and also stop the flow, many of the guns that we
           are witnessing are purchased or stolen from outside our state. One
           gun in particular, a suspect was found with a gun, and it was sto-
           len on July 27, 2020. It was used in six acts of violence, individual
           cases, individuals shooting into a random crowd. The gun found its
           way on the streets of New York. So, it is more than what we do
           locally. We need assistance with the partnership with the Federal
           Government to stop the flow of guns in our cities.
              Chairwoman MALONEY. Other countries have taken common-
           sense steps to keep guns away from criminals, and they have suc-
           ceeded in saving countless lives. We stand alone in the world with
           the number of mass shootings and deaths from guns. And as you
           can see in this chart, the American people overwhelmingly support
           gun safety reform. So, Mr. Suplina, in your view, why has Congress
           failed to adopt these commonsense measures that most Americans
           and most countries in the world have adopted?
              Mr. SUPLINA. Well, to put it bluntly, Chairwoman, the gun lobby
           presents a formidable obstacle in this country. Oftentimes, and you
           have heard it already today, the Second Amendment is used as a
           reason to not advance commonsense gun reforms, even while the
           Court has not said that the very reforms that you are proposing
           would violate. Quite the opposite, the courts have upheld over and
           over and over again. So, the lobby ceases its job to make every gun
           law one step closer to confiscation, which is a lie; conspiracies
           abound about the government coming to take your guns, and that
           gets into the head of well-meaning lawmakers who are afraid that,
           you know, people will believe that those myths are true. They are
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           not true. We can do an awful lot to save American lives by passing
           these laws.
               Chairwoman MALONEY. We have lost too many lives to gun vio-
           lence. It is long past time for Congress to act.
               I now recognize the gentleman from Georgia, Mr. Clyde.
               Mr. CLYDE. Thank you, Chairwoman Maloney and Ranking
           Member Comer, for holding this hearing today so we can highlight
           the need for additional school security to protect our children. I
           joined the Nation in mourning for the 19 children and two adults
           who senselessly lost their lives due to an evil act committed about
           two weeks ago. While every loss of life is a tragedy, no one should
           weaponize or politicize the abhorrent act to punish law-abiding citi-
           zens.
               For almost 250 years, since the founding of our Nation, countless
           hundreds of thousands of men and women have sacrificed their
           lives to provide the freedoms we enjoy today. Indeed, those free-
           doms were bought at a very high price and must be guarded con-
           tinuously so they can be passed on to future generations. If we
           allow emotion to drive our actions, actions that have Constitution-
           altering consequences, we will destroy the very foundation of our
           country and break faith with those who gave everything that we
           would be free. Evil deeds do not transcend constitutional rights. It
           is the other way around. Constitutional rights are the ones that
           transcend evil deeds.
               What occurred in Uvalde and other communities like Sandy
           Hook and Parkland was nothing short of heartbreaking tragedies
           and evil deeds, heartbreaking and evil for the loss of innocent life,
           but also because, from what I have seen in the news about Uvalde,
           I believe it was mostly preventable. We don’t know all the facts yet
           because the investigation is still ongoing. But I hope that this hear-
           ing is truly looking for legitimate, functional, and effective answers
           and not just a bunch of left-wing talking points to fill the ‘‘do some-
           thing, do anything’’ mentality that I have heard coming from the
           Biden administration.
               The White House Press Secretary, Ms. Jean-Pierre, said on Tues-
           day, May 31, that President Biden is uninterested in pursuing
           tighter security at schools in the aftermath of the Uvalde tragedy:
           ‘‘I know there has been conversation about hardening schools. That
           is not something that he believes in,’’ said Ms. Jean-Pierre. One of
           the things I have learned during my three overseas tours of mili-
           tary combat was that the harder the target you are, the less likely
           you will be engaged by the enemy. That is a proven fact and just
           commonsense that applies across multiple aspects of life. For that
           to not be a part of the administration’s focus just shows how seri-
           ously out of touch the Democrat leadership is with reality.
               You know, I want to echo Ms. Hughes’ remarks from the pre-
           vious panel. Schools should be hard targets. Violent criminals
           should never, ever have been able to gain access to the inside of
           the schools. That means schools across the Nation should imple-
           ment sensible security measures, like keeping doors locked, a sin-
           gle point of entry, better security technology, and a volunteer force
           of well-trained and armed staff, in addition to a school resource of-
           ficer. And where a school staff person has additional responsibility,
           they should receive additional compensation.
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              A retired military officer from my district, an Army colonel, sent
           me an email a few days ago, and I want to read a short section
           of it. ‘‘I am absolutely convinced that the single most effective
           method to eliminate school shootings is to take away all the signs
           that declare all schools are gun free zones and do away with all
           laws that require such postings.’’ Replace those signs with signs
           using these words or similar words. ‘‘We love our children and will
           do anything to protect them. Accordingly, selected teachers and
           staff are armed and trained to protect our children. Proceed at your
           own peril. You will be stalked.’’ The rationale for this dramatic
           change in policy is really quite simple. Gun free zone signs don’t
           protect anyone. They take away the law-abiding citizens’ capability
           to be a force in helping to protect the children, and they protect the
           would-be a shooter because they believe they will be unopposed.
              From June 1950 through June 2019, 94 percent of mass shoot-
           ings occurred in gun free zones. If a would-be school shooter doesn’t
           know who is armed and who is not, they would likely move to a
           more vulnerable target. Most potential school shooters are coward
           at heart. They do not want to face a challenge to what they are try-
           ing to do. They want to be in control with no opposition. They do
           not like to be confronted by someone who has to face off against
           them because that confrontation would preclude a school shooter
           wannabe from being able to take any unopposed action.
              For those who say that teachers or staff will likely not take up
           arms to protect their students, I say they will. There have been too
           many documented cases where teachers have heroically given their
           lives to protect their students. It is time to give them the tools and
           help them to better protect those children so they have a fighting
           chance to survive an encounter with someone who is bent on harm-
           ing them. And for the record, if someone is intent on harming
           someone else, they will use whatever is available to do the job, be
           it a hammer, a knife, or whatever. There is a lot of insight in the
           words of this Army colonel. He also knows the difference between
           a hard target and a soft, easy target, and he knows the advantage
           of that difference.
              Ms. Swearer, you were involved in Heritage Foundation School
           Safety Initiative, which was developed after the 2018 Parkland
           shooting, correct?
              Ms. SWEARER. Yes, sir.
              Mr. CLYDE. In your opinion, what do you believe should be done
           to secure our schools from violent criminals to ensure that our stu-
           dents have a safe place to learn?
              Ms. SWEARER. Well, I think, as I mentioned in my testimony, and
           then again in my written submission, there are several avenues
           that can be taken, including physical security improvements. You
           know, again, it has become popular to mock people for talking
           about doors and those sorts of things, but these are basic security
           components of the rest of our everyday lives. We see them in apart-
           ment complexes. We see them in the building we walked into
           today. We see them in most corporate buildings that we walk into
           on any given day.
              You know, in terms of having a quicker armed response, I think
           schools should have the flexibility to decide how that happens. If
           you look in my written submission, any footnote, there are, just
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           from the last couple of years, a good number of examples. And it
           is just a smattering of them because I didn’t want the footnote to
           be 12 pages of armed responses saving lives whether from school
           resource officers, or from including, in one case, from an armed
           staff member who stopped a kidnapping and then prevented an
           armed individual from entering the school where other children
           were. And I think, again, a key component of this is not just look-
           ing at physical security, but also, you know, I’ve mentioned having
           the adequate mental health resources. We are not talking about
           blaming mental illness, but we are talking about when you look at
           one, what it means for humans.
              Chairwoman MALONEY. The gentleman’s time has expired.
              Ms. SWEARER. I would end by saying looking at licensed mental
           health professionals in schools.
              Mr. CLYDE. Thank you very much. I yield back.
              Chairwoman MALONEY. The gentleman from Massachusetts, Mr.
           Lynch is recognized for five minutes.
              Mr. LYNCH. Thank you, Madam Chair. Thank you for holding
           this hearing. I want to thank the panel of distinguished witnesses.
           Thank you for coming before this committee to help us with our
           work. I also want to thank the previous panel. The families of the
           victims who had the courage and selflessness, I think, to, despite
           their pain, come here with the sole purpose of preventing other
           families from suffering a similar loss, so I thank them.
              Madam Chair, I would like to ask unanimous consent to submit
           for the record a report and analysis conducted by Quoctrung Bui,
           Alicia Parlapiano, and Margot Sanger-Katz over at The New York
           Times. It is an analysis of 106 mass shootings since Columbine in
           this country.
              And I want to read an excerpt that describes best what they
           found.
              To quote this report, ‘‘If the key gun control proposals now being
           considered in Congress had been law since 1999, four gunmen
           younger than 21 would have been blocked from legally buying the
           rifles they used in mass shootings. At least four other assailants
           would have been subject to a required background check instead of
           slipping through a loophole. Ten others might have been unable to
           steal their weapons because of the efforts required to encourage
           safer gun storage, and 20 individuals might not have been allowed
           to legally purchase the large-capacity magazines that they use to
           upgrade their guns, helping them to kill on average 16 people
           each.’’ Taken together, those four measures might have changed
           the course of at least 35 of those 106 mass shootings, a third of
           such episodes in the United States since the massacre at Col-
           umbine High School in Colorado, that New York Times analysis has
           found, and those 35 shootings killed 446 Americans.
              Mr. Suplina, there has been references made to the fact that
           someone could cause damage with a hammer or a knife. I would
           wonder if you could talk about AR–15 style firearms and their am-
           munition and how different they are and the greater vulnerability
           in creation in society. I know you have written on this in the past,
           and if you could go over that for a bit just to educate people who
           are not familiar with that type of weapon.
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              Mr. SUPLINA. So, this type of weapon, which is derived from a
           military-style, a military weapon, presents increased risk, as I be-
           lieve the commissioner said earlier, because of their speed of bullet,
           their handling, their ability to accept high-capacity magazines, and
           they are designed and are advertised to be able to inflict mass
           amount of damage in a short period of time. They are also unique
           in the damage that is done to the human body when you use one
           of these. A handgun, even at a sometimes larger caliber, won’t do
           the damage to human tissue. I am not a physician, but you did
           hear from one earlier who described in great detail what a semi-
           automatic rifle with multiple rounds can do.
              So, these are unique threats. There is a reason why they are
           used in mass shootings because those shooters want to inflict max-
           imum damage.
              Mr. LYNCH. Thank you. I do want to add a quote from a trauma
           surgeon at the University of Arizona, who agrees with your assess-
           ment. He said that the damage from an AR–15 on the body ‘‘looks
           like a grenade went off in there.’’
              Madam Chair, I am so sorrowful for the loss of Lexi Rubio and
           so many others, and so many we have heard in previous mass
           shootings. You know, I will support the package of restrictions that
           we will consider in the next couple of days here in Congress to re-
           strict the use of assault weapons and high-capacity magazines, and
           I will vote for the background checks that I think are necessary.
           And I respect my colleagues’ rights to defend the Second Amend-
           ment, but I will note when in defending the Second Amendment
           you have to go to military experts and battlefield commanders for
           advice on how to protect our kids while they are in school, we got
           a problem. We have got a problem. Think about that, that you are
           going to military battlefield commanders, combat veterans for ad-
           vice on how to protect our kids while they are sitting in school try-
           ing to learn.
              I just urge my colleagues to think hard on this and consider sup-
           porting the package of bills that we have before the Congress this
           week. Thank you, and I yield back.
              Chairwoman MALONEY. The gentleman yields back.
              The gentleman from Texas, Mr. Sessions, is now recognized.
              Mr. SESSIONS. Madam Chairman, thank you very much, and I
           want to thank the gentleman from Kentucky, the ranking member,
           for really what I think is the thoughtful opportunity for us to han-
           dle what is a difficult circumstance.
              I am a Texan and I was about some 100 miles from Uvalde. I
           know Uvalde very well. I spent a good bit of time in San Antonio
           growing up. As soon as I heard about what happened, I imme-
           diately went about convening some 10 counties worth of super-
           intendents, mayors, county judges, law enforcement people, sher-
           iffs, deputy sheriffs, school resource officers. I did not sit back and
           wait to find out what this hearing might develop. I did not wait to
           find out what someone else thinks is a good idea. I tend to think
           that, back home, people have the best answers. I say differently.
           I think Texans have answers for Texas problems.
              Madam Chairwoman, I do not want to chastise anybody today.
           I want to thank each of our people who have showed up, not only
           from Buffalo, but from New York City and others who have taken
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           time to be here today. I do not wish to challenge anyone. But,
           Madam Chairwoman, I would like to insert into the record an arti-
           cle from the Christian Science Monitor Weekly, June 11, and also
           an article which I have provided to you from FiveThirtyEight,
           which is a website that they present information. For the panel,
           the FiveThirtyEight article said, ‘‘We have known how to protect,
           prevent a school shooting for more than 20 years.’’
              Chairwoman MALONEY. Without objection.
              Mr. SESSIONS. Thank you, Madam Chairman. In fact, as I went
           about looking at this, which I had not previously, I did a good bit
           of review myself, and I found out that there is the National Center
           for School Safety. It is at the University of Michigan in the School
           of Public Health. And they state this before and still, the informa-
           tion that we do have access to these studies, seem to be saying
           that, yes, by developing a positive school climate, by educating stu-
           dents on how to say something, and speak up or find a trusted
           adult is having a positive effect, not just on attitudes, but also self-
           efficiency, something we need to approach as we talk about behav-
           ior.
              We learned at my meeting that I had in Waco, Texas, that this
           is not a decision that the shooters, by and large, make. That is a
           snap judgment. They go about this planning effort and plan these
           school shootings out. They happen to be people who have become
           isolated in school, had been picked on, been made fun of, had been
           bullied, and these people go off into, by and large, a deep hole
           where they are not able to effectively balance their lives. This is
           a public issue problem in our schools of mental health issues.
              I go to schools probably every two weeks, and my observations
           that I have publicly stated, are that I have seen our schools. There
           are a lot of children, a lot of young adults, who are tested in ways
           where I think they are reaching out for help. I think one of the
           things that we should go to is looking at the studies that have been
           out here, and I would hope our schools and our experts that are
           on these panels today, including you, Chief, and including you,
           Mayor, would include these studies and go back to the schools, and
           let’s identify in our schools where there is something we can make
           better. This article also says our work on projects is in progress,
           and it talks about how talking to students. Every day when I grew
           up, we would recite the Pledge of Allegiance to the flag, taking a
           few minutes.
              Now, I know we have heard testimony that everything about
           America is racist, but I think that in our classrooms, we need to
           talk about our Nation, our rights and our responsibilities, but tak-
           ing time every day to be nice to each other, leaving notes knowing
           each other and then listening to people who emanate and identi-
           fying people who have problems. It is my hope, Madam Chair-
           woman and our ranking member, that instead of taking to the floor
           this immediate action, we would really listen to you and other ex-
           perts.
              Madam Chairwoman, I would like to see if we would call Justin
           Heinze, who is director of National Center for School Safety, assist-
           ant professor at the University of Michigan School of Public
           Health, I believe we need professionals who have studied these
           things. I say this as an opportunity to each one of you. I want to
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           thank you. We listen to you and I hope you will hear us back.
           Thank you very much, and may God bless the people of Uvalde,
           Texas who are struggling through this at this time in our Nation.
              Madam Chairwoman, I yield back my time.
              Chairwoman MALONEY. The gentleman yields back.
              The gentleman from Illinois, Mr. Krishnamoorthi is recognized.
              Mr. KRISHNAMOORTHI. Thank you, Madam Chair. Commissioner
           Gramaglia, thank you for your service to the people of Buffalo. I
           was born in India, and I immigrated first to Buffalo, New York,
           and so the fact that you said that it is the city of good neighbors
           is very poignant for me. I am very sorry for the loss of all those
           lives in Buffalo.
              The shooter in Uvalde used a what is called a Daniel Defense
           DDM V7 rifle. It is a style of AR–15 rifle. It markets that rifle as
           ‘‘a perfect rifle for everybody.’’ This particular picture comes from
           their Twitter account on May 16, 2022. Now, Commissioner, guns
           are the leading cause of death among young people aged 24 and
           under. Guns kill far more kids than cigarettes, but we don’t let cig-
           arette companies market to children. Sir, you don’t think it is ap-
           propriate for Daniel Defense or any manufacturer to market AR–
           15-style rifles, or handguns, or any other weapons to children, cor-
           rect?
              Mr. GRAMAGLIA. I think that picture behind you is very dis-
           turbing is what it I, and, no, I don’t believe that that should be the
           case.
              Mr. KRISHNAMOORTHI. And why do you find that picture dis-
           turbing?
              Mr. GRAMAGLIA. Many children in our country, because of a lack
           of safe storage on weapons, have either accidentally taken their
           own lives or somebody else in that household or another friend
           within that house who is there visiting. It is disturbing.
              Mr. KRISHNAMOORTHI. Shortly after the Daniel Defense rifle was
           used in the Uvalde shooting, this picture was taken down from
           their Twitter account, and indeed their Twitter account was made
           private. I think they had second thoughts about advertising in this
           manner as well.
              Ms. Swearer, in 2019, while testifying before the House Judiciary
           Committee, you went viral. In a viral video talking about the
           lethality of AR–15s, you said your mother ‘‘struggled to hit a sta-
           tionary target from 6 yards out under ideal conditions, and then
           she picked up an AR–15 and I watched my mother put a fist-sized
           grouping of lead in the center mass of the target 20 yards out.
           When accuracy and stopping power matter, they are simply better.’’
           You said that, correct, Ms. Swearer?
              Ms. SWEARER. Yes, I did.
              Mr. KRISHNAMOORTHI. This is a picture of the 19 children and
           two teachers who died in Uvalde, Ms. Swearer. You mentioned the
           AR–15 stopping power, but I got to believe these little children
           were not the ones you were talking about stopping, correct?
              Ms. SWEARER. No, I was talking about stopping the individual
           who showed up to shoot them, who did show up to shoot them——
              Mr. KRISHNAMOORTHI. And the——
              Ms. SWEARER. Who did show up to shoot that individual was a
           bunch of law enforcement officers with an AR–15.
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              Mr. KRISHNAMOORTHI. And Ms. Swearer, your mic is not on,
           but——
              Ms. SWEARER. The green light is on.
              Mr. KRISHNAMOORTHI. I can hear you, Ms. Swearer. It is good.
           I can hear Ms. Swearer.
              Mr. CONNOLLY. [Presiding.] Perhaps you could switch with Mr.
           Suplina for a minute if his mic is working.
              Mr. KRISHNAMOORTHI. Can you please suspend the time?
              Mr. CONNOLLY. The witness needs to be heard.
              Mr. KRISHNAMOORTHI. Restore the time, please.
              Mr. CONNOLLY. Thank you.
              Ms. SWEARER. Congressman——
              Mr. KRISHNAMOORTHI. Can I repeat the question and then you
           can say the answer?
              Mr. CONNOLLY. Yes, and if we could just stop the clock for a
           minute because we lost some time there.
              Mr. KRISHNAMOORTHI. Could we change the placards to——
              Mr. CONNOLLY. Mr. Krishnamoorthi, do you want to repeat the
           question?
              Mr. KRISHNAMOORTHI. Yes. Ms. Swearer, when you talked about
           the stopping power of these AR–15s, it wasn’t these children that
           you were talking about stopping, obviously.
              Ms. SWEARER. No, I was referring to individuals like the one who
           went into that building and spent 78 minutes shooting them. And
           I hope, as was the case in Uvalde, that the people who show up
           to stop shooters like that have the AR–15 precisely for its stopping
           power, and that is exactly what happened in Uvalde. That is why
           cops are routinely exempt from these prohibitions and these
           threats in a civilian context——
              Mr. KRISHNAMOORTHI. Ms. Swearer, this man legally purchased
           these AR–15 rifles, correct? In this particular case, the shooter had
           legally purchased these AR–15 rifles and was able to stop and obvi-
           ously end these lives forever.
              Ms. SWEARER.
              [Inaudible].
              Mr. KRISHNAMOORTHI. Now, Commissioner Gramaglia, I want to
           address you again, Commissioner. You know, guns are often billed
           as essential to maintaining the freedoms we enjoy in America.
           They are an iconic part of America to a lot of people, but cars have
           long been central to American life as well. And what we have seen
           interestingly is that, here is a picture of traffic deaths versus
           deaths from firearms, and at one time traffic deaths far exceeded
           firearms in 1950, but over time, traffic deaths have gone down,
           while firearm deaths have remained relatively constant. Now, of
           course, with regard to the right to bear arms, that is in the Con-
           stitution, but it is not an absolute right. That is why we outlaw
           machine guns and we regulate firearms in other ways.
              Sir, with regard to traffic deaths and cars, the imposition of
           rules, and regulations, and laws, along with private industry
           adapting safer ways to drive and devices to make them safer, have
           led to a reduction in traffic deaths, but the same cannot be said for
           firearms. Isn’t that right?
              Mr. GRAMAGLIA. I believe you are correct, yes. In looking at the
           traffic deaths going down, regulations, both in vehicle safety, air-
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           bags, speed enforcement, other things of that nature, have led to
           safer roads.
              Mr. KRISHNAMOORTHI. And what would that lead you to believe
           should happen with regard to firearms?
              Mr. GRAMAGLIA. Some sensible regulations to limit the carnage
           that is happening on our streets.
              Mr. KRISHNAMOORTHI. Thank you, Commissioner.
              Mr. CONNOLLY. Thank you. The gentlelady from North Carolina,
           Ms. Foxx, is recognized for her five minutes of questioning.
              Ms. FOXX. Thank you, Mr. Chairman. The horrific and heart-
           breaking tragedies that occurred in Uvalde and Buffalo has shaken
           the Nation. We are all made in God’s image, and I continue to pray
           for our society and for the families of the men, and women, and
           children who were senselessly murdered. We must be thoughtful in
           how we discuss and address this issue. When the Federal Govern-
           ment acts in haste, the room for error is exponentially compounded.
           This problem should be diagnosed in its entirety before we endeav-
           or to place proposals on the table. The simple truth is that top-
           down legislative actions from Washington do not provide the states
           the due deference they deserve. The latitude of the states to make
           decisions that best suit their constituencies must be respected.
              The Second Amendment was intended both to empower individ-
           uals and also to shield them from the Federal Government exerting
           undue influence. Unfortunately, over time, the underlying principle
           of the Second Amendment has been distorted and misconstrued by
           Washington bureaucrats who simply want it stripped away from
           law-abiding citizens. This cannot be allowed to happen.
              I now yield the balance of my time to the gentleman from Geor-
           gia, Mr. Clyde, who has a tremendous amount of experience with
           these issues.
              Mr. CLYDE. Thank you very much, Virginia. I would like to ask
           Mr. Gramaglia. In your sworn testimony, you say of a retired Buf-
           falo police officer, Aaron Salter, Jr., his service weapon was no
           match for the military-style weapons and armor the perpetrator
           was equipped with. Yet your Buffalo police officers responded to
           Tops a minute after receiving the 9–1–1 call and were able to take
           the shooter into custody within a minute of arriving at the scene.
           That is impressive. That is very impressive that your officers were
           able to do that, and this gentleman armed with an AR–15 style
           rifle. What is the Buffalo officer’s standard service weapon?
              Mr. GRAMAGLIA. A Glock 40-caliber.
              Mr. CLYDE. A Glock 40-caliber pistol.
              Mr. GRAMAGLIA. Yes.
              Mr. CLYDE. So, they responded with a Glock 40-caliber pistol and
           were able to subdue this gentleman in one minute.
              Mr. GRAMAGLIA. They were able to do that because as he exited
           the store, he had the AR–15 pointed up underneath his chin, and
           then through what I thought was very calm de-escalation language,
           he surrendered his weapon and put it down. Had he pointed it at
           the officers, we think we would have had a different scenario here.
              Mr. CLYDE. OK. But that 40-caliber weapon is completely capable
           of stopping someone with an AR–15, correct?
              Mr. GRAMAGLIA. Well, he had military-style body armor and a
           tactical helmet on. He was shot at least one time that we had un-
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           covered through our evidence and that had no effect on him. I also
           watched the video, both the store surveillance video that has not
           been released and the GoPro video that was downloaded, which
           showed the confrontation between——
              Mr. CLYDE. But the 40-caliber pistol that the officers carry is
           plenty enough to stop an armed shooter, correct? It is all about
           shot placement, isn’t it?
              Mr. GRAMAGLIA. It is and it isn’t.
              Mr. CLYDE. All right. Thank you. I appreciate that. Ms. Swearer,
           actually, have mass shootings or school shootings been carried out
           with other weapons other than AR–15s?
              Ms. SWEARER. Yes, Congressman, they have.
              Mr. CLYDE. OK. What other weapons, and what is the primary
           weapon, if you will?
              Ms. SWEARER. So, the primary weapon is actually a plurality, are
           handguns alone. Another, you know, sort of larger segment are sev-
           eral variations of firearms, some combination of rifles, handguns,
           shotguns, and then a smaller percentage are rifles alone.
              Mr. CLYDE. OK. Thank you very much. So, handguns are still
           very, very potent firearms. Madam Chairwoman, I would like to in-
           troduce this article into the record and I request unanimous con-
           sent. It is a Fox News article, May the 28, 2022, and it is entitled,
           ‘‘West Virginia Woman With Pistol Shoots, Kills Man at Gradua-
           tion Party: ’Saved Several Lives.’″
              Chairwoman MALONEY. Without objection.
              Mr. CLYDE. All right. Thank you.
              Mr. CLYDE. You know, what happened in Uvalde was an incred-
           ible tragedy, and it had a very terrible ending. But something very
           similar happened the very next day, that Wednesday in Charles-
           ton, West Virginia, and a particular woman in West Virginia fa-
           tally shot a man who had begun firing an AR–15 rifle into a crowd
           of dozens. The woman was attending a West Virginia party, she
           drew her pistol, and fired on the convicted felon. No one at the
           party was injured, and the gentleman obtained his weapon ille-
           gally. Criminals will obtain their weapons however they want.
           They will get them illegally. More gun laws are not going to stop
           that, not in any way, shape or form, because criminals simply do
           not obey the law.
              Chairwoman MALONEY. [Presiding.] The gentleman’s time has
           expired.
              Mr. CLYDE. I yield back.
              Ms. FOXX. Madam Chair, I would like to ask permission to insert
           into the record an article, ‘‘Why ’Do Something’ Won’t Work,’’ from
           The Wall Street Journal, Thursday, June 2, 2022.
              Thank you.
              Chairwoman MALONEY. Without objection.
              Chairwoman MALONEY. The gentleman from Virginia, Mr. Con-
           nolly, is now recognized.
              Mr. CONNOLLY. I thank the Chair, and I thank our witnesses for
           being here today.
              I was the chairman of Fairfax County when the Virginia Tech
           massacre occurred. At that point in American history, that was the
           worst gun massacre in our history. I buried six young children, stu-
           dents that week—six. I am still in touch with many of the families
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           years later, and the emptiness in their hearts and souls cannot be
           filled. It is a tragedy that lives with them forever. Those children
           were killed by a mentally ill person who should not have had ac-
           cess to weapons but did. He wasn’t a criminal. He was mentally ill.
              We hear excuse after excuse that gun laws don’t work. The Aus-
           tralian experience would suggest otherwise. After a series of mas-
           sacres in their country, Australia adopted some strict gun laws.
           They don’t have the massacres weekly we do. It changed behavior
           because it changed access to weapons and ammunition. We have
           heard the answer is arm our teachers, that be the solution. Ms.
           Pringle, you deal with teachers? Would that be a good solution
           from your point of view?
              Ms. PRINGLE. Absolutely not. We know that the majority of not
           only our teachers, but our parents, do not believe that arming
           teachers would in any way prevent the carnage that we have seen
           for over 23 years. I just want you to imagine, I was a middle school
           teacher. My responsibility was to ensure that every student was
           nurtured and that they could learn, come to school ready to learn
           every day. And now the suggestion that I, as a teacher, would be
           responsible for carrying a weapon and making a split decision,
           split-moment decision about whether I was going to shoot someone
           or not, whether that responsibility would be mine to bear, that is
           a distraction from what we know we need to do in this country,
           which is to pass comprehensive gun control laws, something we
           have never done. In the short time that we did ban assault rifles,
           assault weapons, we saw that carnage go down, didn’t we? Yes, we
           did. But we have never passed comprehensive gun legislation in
           this country, and we need to do it now.
              Mr. CONNOLLY. Thank you. Mayor Adams, welcome.
              Mr. ADAMS. Thank you.
              Mr. CONNOLLY. Mayor Adams, you are the mayor of, I think, the
           largest city in the United States?
              Mr. ADAMS. Yes.
              Mr. CONNOLLY. Would it be a good idea, from your point of view,
           as the mayor of that city and your commitment to reducing crime
           in that city, to arm our teachers in all of your schools in New York
           City? Would that be a solution from your point of view?
              Mr. ADAMS. No, and I think the facts show that. Between 1996
           to 2010, one study found that police officers were three times more
           likely to die from gun violence with a heavy flow of guns in their
           city. So, it is harmful to the law enforcement community, it is
           harmful to our civilians, and it is harmful to our children.
              Mr. CONNOLLY. Mr. Gramaglia, police commissioner, would arm-
           ing teachers help your force? Would it have made a difference in
           your community in Buffalo?
              Mr. GRAMAGLIA. I think what we have to be careful on is to not
           militarize our schools and make students feel like they are in a sys-
           tem where they are surrounded by weapons in an institution where
           they are supposed to be learning. I certainly agree with hardening
           our targets, making sure our schools are safe buildings, having a
           strong school resource program where school resource officers are
           engaging with their students, are building trust within their stu-
           dents. But I think we have to caution against over-weaponizing our
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           schools. It causes fear in our students, and I think we need to en-
           gage our students in these conversations.
              Mr. CONNOLLY. And just real quickly, and Ms. Pringle’s point,
           the use of weapons and the decision to use them for law enforce-
           ment could be a split-second judgment, and that requires careful
           training, does it not?
              Mr. GRAMAGLIA. It is a considerable amount of training for abso-
           lute split-second decisions that are second-guessed for years on.
              Mr. CONNOLLY. Thank you. I yield back.
              Chairwoman MALONEY. The gentleman yields back.
              The gentleman from Georgia, Mr. Hice, is recognized for five
           minutes. Mr. Hice?
              Mr. HICE. Thank you, Madam Chair. Just for the record, from
           what I can research and understand, there are some 300,000 or so
           crimes committed every year of violent crimes in which guns are
           a part of the situation. There are between 500,000 and 3 million
           incidences a year where guns prevent violent crimes from taking
           place.
              So, let us clarify here, the issue is not gun violence. Guns are not
           the issue. We have a people violence problem who misuse guns and
           other means whenever they intend to harm individuals. And the
           answer to this situation when you have violent people, the answer
           is not defunding the police. The answer is not pitting one group of
           Americans against another, which we see far too often these days.
           The answer is not ignoring the rule of law. The answer is not re-
           leasing criminals into our streets or allowing them into our coun-
           try. The answer is not a lack of consequences for those who commit
           crimes and being soft on crime, for those who commit violent
           crimes. We have got to look at the problem, which is violent people.
           And at some point in this country we have got to recognize that
           there is great value in upholding the rule of law. We have got to
           recognize and teach that there is a such thing as moral absolutes,
           not the least of which is respecting one another, respecting life. We
           have got to, in the midst of this conversation, I believe, embrace
           religious beliefs.
              Look, there are risks that come with a free society. We all under-
           stand that. But we have a moral and a spiritual crisis in this coun-
           try right now, and that is reflected in violent people that we see
           more and more. But it is impossible for us to have a system of gov-
           ernment which we have in this country where we have limited gov-
           ernment and maximum freedom if we do not have a citizenry that
           is capable of self-governing their own lives with an authentic un-
           derstanding of right and wrong. And so for us to take out of the
           equation any mention of moral absolutes or the role that our found-
           ers mentioned and described as indispensable supports to our sys-
           tem of government, which is religion and morality, then I believe
           we are making a mistake in all of this discussion. These things
           cannot be ignored.
              Mayor Adams, let me real quickly begin with you, and if we can
           go quickly, New York City is certainly one of the leading examples
           of gun restrictions and gun restrictive measures in the United
           States. ‘‘Yes’’ or ‘‘no?’’
              Mr. ADAM. Yes.
              Mr. HICE. Your mic was off.
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              Mr. ADAM. Yes. I am sorry. Yes.
              Mr. HICE. And yet, we all know New York has continued in re-
           cent years to see a rise in crime. ‘‘Yes’’ or ‘‘no?’’
              Mr. ADAMS. Yes.
              Mr. HICE. OK. In January of this year you released in a press
           statement regarding your blueprint to end gun violence in New
           York City, you had in that a quote that says this, ‘‘It is illegal to
           carry a gun in our city, yet police officers take them off the streets
           every day in record numbers.’’ You made that statement, correct?
              Mr. ADAMS. Yes, it mainly comes from Georgia.
              Mr. HICE. Right. And so here we still have in a city that has a
           greatest among the greatest gun restriction laws in the country, a
           rise in crime and guns being carried off the streets in record num-
           bers every day. It doesn’t appear that the attempts that are pro-
           duced by the gun restrictions are having any effect of keeping bad
           people from getting guns, and taking the constitutional rights away
           from American citizens only helps criminals is I guess what I am
           getting to.
              And Ms. Swearer, let me come to you. If we continue down this
           path of restricting gun rights from American citizens, making it
           easier for criminals to have targets, knowing that there will not be
           guns by legal citizens there to defend themselves, what kind of im-
           pact will that have in the long run?
              Ms. SWEARER. First, I want to make sure. Is my mic still not on?
              Mr. HICE. Can we put a pause?
              Chairwoman MALONEY. Use your neighbor’s mic. Use your neigh-
           bor’s mic. Maybe that will work better.
              Ms. SWEARER. My apologies. I was told the issue had been taken
           care of.
              Congressman, to answer your question. Criminals are rational
           actors. You know, you look at the studies on this and the way in
           which criminals operate. Obviously, they don’t want to confront
           someone with a firearm any more than we would want to if we
           were criminals. They are rational actors. You know, you mentioned
           the statistics on defensive gun uses. I think that is important to
           point out. I would also note how much lower that is, you know, con-
           sidering there are a number of states that essentially do not allow
           ordinary law-abiding citizens to protect themselves with firearms
           in public and/or who make it far more difficult for individuals to
           keep and bear arms even inside their own homes. And so that
           could be considerably higher under different circumstances. You
           know, that said, again, I appreciate you pointing that out, but,
           again, criminals are rational actors. To pretend otherwise is bor-
           derline silly. So, of course——
              Chairwoman MALONEY. The gentleman’s time has expired.
              Mr. HICE. Thank you. Thank you, Madam Chair.
              Chairwoman MALONEY. The gentleman from Maryland, Mr.
           Raskin, is now recognized.
              Mr. RASKIN. Thank you, Madam Chair. Buffalo, Uvalde, Sandy
           Hook, Tree of Life, Mother Emanuel Church, El Paso, Walmart,
           Pulse nightclub, Las Vegas, Columbine, the bloodbath continues. In
           the history of our species, a number of civilizations have practiced
           or allowed human sacrifice, including the sacrifice of children: the
           Carthaginians, the Mesopotamians, the Incas, the Aztecs. Will we
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           be recorded as such a society that accepts the sacrifice of inno-
           cents?
              Gun violence is the No. 1 cause of death of children in the United
           States of America today, which makes us globally unique. We have
           rates of gun violence and gun death 20 times higher than other in-
           dustrialized nations like France, the United Kingdom, Israel, Nor-
           way, Sweden, Japan. No other Nation comes close to what we see
           here even though we have comparable levels of mental health prob-
           lems and mental illness. Will we continue to accept the slaughter
           of innocents, including innocent children, as acceptable collateral
           damage for loyalty to a completely bogus and distorted misreading
           of the Second Amendment and what the Supreme Court has said
           about it?
              Justice Scalia in the Heller decision was emphatic that reason-
           able gun safety regulation is perfectly consistent with the Second
           Amendment rights. Justice Scalia said he specifically rejected the
           view advanced by a number of our colleagues today, saying that the
           right of gun ownership is not unlimited. No, Justice Scalia stated,
           the Second Amendment right is ‘‘not a right to keep and carry any
           weapon whatsoever in any manner whatsoever, and for whatever
           purpose.’’ He enumerated a partial list of reasonable regulations,
           including a ban on carrying concealed weapons, the possession of
           firearms by felons, the mentally ill, and other dangerous people,
           laws forbidding the carrying of firearms into schools and govern-
           ment buildings and other public places, laws imposing the condi-
           tions and qualifications on the sale of firearms, such as background
           checks. All of these things, he said, are perfectly consistent with
           the Second Amendment right.
              It is not different from other rights we have, like the First
           Amendment where you have an absolute right to speak but you
           don’t have a right to set up a demonstration with loudspeaker sys-
           tem in front of the White House at 2 o’clock in the morning and
           keep the President’s family up. We accept reasonable time, place,
           manner regulations with respect to all rights. Now, our colleagues
           invite us to believe the Second Amendment is some kind of policy
           straitjacket, but they won’t read or quote the decision by Justice
           Scalia himself, who wrote the most elaborate defense and expli-
           cation of the majority’s view of the Second Amendment in D.C. v.
           Heller in 2008.
              Mr. Suplina, in 2005, Congress gave the gun industry unprece-
           dented and unique immunity from civil lawsuits for crimes com-
           mitted with their products. No other industry has got anything like
           that. Could you explain what that immunity protection means for
           the gun industry and how it has blocked commonsense laws to end
           gun violence in our country?
              Mr. SUPLINA. Yes, Congressman, thank you. The law, PLCAA,
           which you cite, has given near-blanket-immunity to the gun indus-
           try. And the result has really had a profound impact on what we
           know about the gun industry’s role in gun violence, as well as any
           accountability for the industry. So, acts that would have led to ei-
           ther litigation that would have exposed truths, like happened with
           the tobacco industry with accountability, like happened in the auto-
           mobile industry, safety practices that would have improved at
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           these manufacturers because there was a risk of doing nothing,
           just simply does not exist with the gun industry——
              Mr. RASKIN. Well, what reckless marketing and sales practices
           has the gun industry engaged in because of this blanket of immu-
           nity that has been bestowed upon them?
              Mr. SUPLINA. Well, you know, there are several, and the mar-
           keting is getting increasingly reckless, increasingly desperate as
           the field gets more crowded. But also in terms of distribution prac-
           tices, I have heard several times today about how easy it is for
           criminals to get guns as if that is some act of magic, but these guns
           are all starting with gun manufacturers and gun sellers. We know
           that certain gun manufacturers are fueling gun shops that are sell-
           ing disproportionately into illegal markets. And the gun industry
           is protected by PLCAA because they say, oh, we are following the
           law. Well, the numbers speak for themselves.
              Mr. RASKIN. OK. And then finally, Chief, you were interrupted
           before. Well, what do you make of this claim that we shouldn’t
           have laws governing, for example, a universal criminal background
           check because criminals don’t follow the law? Is that an argument
           against having any law against murder, rape, assault, because
           criminals by definition don’t follow the law?
              Chairwoman MALONEY. The gentleman’s time has expired, but
           the gentleman may answer.
              Mr. GRAMAGLIA. So, the universal background checks is a simple
           process that is going to have those that want to legally obtain their
           guns with their constitutional rights to obtain those guns. Crimi-
           nals absolutely are not going to follow that. The more guns that we
           keep flooding in without background checks, without proper adher-
           ence to get those guns through straw purchases and other man-
           ners, that is how we are flooding the market so that criminals can
           obtain those guns.
              Mr. RASKIN. And Justice Scalia emphasized that there could be
           regulations for commercial sale——
              Chairwoman MALONEY. The gentleman’s time has expired.
              Mr. RASKIN. Thank you. I yield back.
              Chairwoman MALONEY. The gentleman from Texas, Mr. Fallon,
           is now recognized.
              Mr. FALLON. Thank you, Madam Chair. We hold hearings on all
           sorts of topics for all sorts of reasons, sometimes for political rea-
           sons, or even worse, sometimes for political theater aimed at at-
           taining political currency, currency which will then be spent on
           winning an upcoming election. Other times hearings are held to ac-
           tually solve a problem.
              We are here today because of the tragedies in Buffalo and the
           horrific loss of life in my home state of Texas, in Uvalde, a beau-
           tiful American community ripped apart by a troubled and evil cow-
           ard. And when lives are lost and innocence is stolen, particularly
           when children are the victims, it is natural to want to assess and
           focus blame, who did this and how did this happen. And I am no
           different than any American. I am heartbroken and I am furious.
           Those innocent children are gone, and the indescribable suffering
           in the families is beyond words. We have a President that says con-
           tinually that he must do something, we must do something. Many
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           Democrats are arguing that: we must do something. Now we need
           to do something effective that will keep our children safer.
              As I mentioned, when a senseless tragedy like this happens,
           blame is thrown around. Some people want to blame guns, some
           people want to blame gun manufacturers, some people want to
           blame, believe it or not, the Constitution. Some people want to
           blame an entire political party, and all this couldn’t be more mis-
           placed. The shooter is the only one to blame. So, when the Presi-
           dent and many Democrats are claiming that guns are the problem
           and their readily available supply is the culprit, well, the more
           guns in America, the argument goes, the more dangerous America
           becomes, but the actual facts belie this thinking. In 1969, so about
           50 years ago, there were 180 million firearms in this country.
           Today it is about double. Twenty-nineteen it was about 365 million.
           Yet the murder rate back then was 9.6 per 100,000, the murder
           rate in 2019 anyway was 5 per 100,000, so twice the number of
           guns, and yet the murder rate was cut in half. The truth is that
           guns have always been readily available in this country, but mass
           shootings and, particularly, mass shootings of schools, were non-ex-
           istent or at least extremely rare until they became a grisly recent
           phenomenon.
              So, what has changed in the last 50 years? There has been a no-
           ticeable breakdown of the family, there has been an erosion of
           faith, and there has been a seismic drop in social interactions in
           large measure due to the overuse of these dang smartphones and
           the proliferation of social media, which is probably better described
           as antisocial media. Senseless mass shootings are not committed by
           well-adjusted, successful, socially polished people. They are com-
           mitted by disturbed, unstable loners with mental disease.
              [Inaudible background noise.]
              Mr. FALLON. Madam Chair, can I get my time back?
              Chairwoman MALONEY. Yes.
              Mr. FALLON. Thank you.
              [Inaudible background noise.]
              Mr. FALLON. Thank you. Senseless mass shootings are committed
           by unstable, disturbed loners with mental disease. Refusing to ad-
           dress better mental health services, especially for young people, is
           to do a disservice at best, and it is a dereliction of duty at worst.
           The focus, sadly, by the Democrats is to restrict guns or prohibit
           their legal possession entirely. A Democratic Member of Congress
           in a committee hearing just recently said, ‘‘We will not rest until
           we have taken weapons of war out of circulation in our commu-
           nities.’’
              So, do restrictive gun laws or prohibitions work? The most dan-
           gerous nations on the planet, according to the World Bank and the
           United Nations, are El Salvador, Jamaica, Venezuela, and Hon-
           duras. And what else do they have in common? It is also nearly im-
           possible for an average citizen to own a firearm, and yet they are
           terribly perilous places to be. Believe it or not, some Democratic-
           controlled cities in our country with restrictive gun laws are even
           more dangerous than the aforementioned countries. St. Louis has
           a higher murder rate than El Salvador. Baltimore does as well, and
           Detroit is a more lethal and dangerous place to go and visit or live
           than Venezuela.
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              So, passing prohibitions, I mean it just simply didn’t work. Doing
           something doesn’t work. Doing something effective is a path that
           we should and must take. History has shown us when you disarm
           law-abiding citizens, you create not more safety but more peril. The
           inconvenient truth for some on this committee and in this chamber
           is that more firearms in the hands of law-abiding citizens make us
           all safer. So, let us talk some real solutions.
              We must harden our schools with controlled access and single
           point of entry with tiered entry procedures. The main office should
           be located directly by the front door, which is single-access entry.
           Classroom doors should automatically shut and locked like hotel
           room doors do. Let’s support and foster a robust school marshal
           program where qualified and volunteer teachers and staff go
           through proper training to be armed on campus. Let’s increase the
           number of SROs in our schools. Let’s leverage technology by put-
           ting cameras in schools much like Frisco, Texas did 15 years ago
           when I was on a city council, and they had a command center and
           a mobile command center, and any threat could be immediately de-
           tected, tracked, and eliminated forthwith. We need a rapid re-
           sponse plan and a rapid response force to be trained to world-class
           standards. And also law enforcement doctrine must change so
           when there is a threat, the schools aren’t besieged, but, rather, our
           heroes in blue advance using honed techniques, and teamwork, and
           technology, and eliminate the threat as soon as possible.
              Our goal should be to protect our children. No parent, educator,
           citizen, legislature, or Nation has a higher calling. Let us look at
           real and effective solutions and shelve the divisive rhetoric because
           American children deserve nothing less. Thank you, Madam Chair.
           I yield back.
              Chairwoman MALONEY. The gentleman’s time has expired.
           Thank you.
              The gentleman from California, Mr. Ro Khanna, is now recog-
           nized.
              Mr. KHANNA. Thank you, Madam Chair. Like so many on this
           committee and around the country, I was deeply moved, not as a
           politician, as a father, by the testimony this morning of the fami-
           lies of victims. Kimberly Rubio, who lost her precious daughter,
           Lexi, cut through all the talking points, all the debate, and asked
           the central question before our Congress and our country. As she
           put it, what do we value more, children or our guns? It is really
           that simple.
              I want to talk about the commonsense reforms on guns, but as
           the representative of Silicon Valley, I feel I also have a duty to talk
           about some of the role of social media in this massacre. With the
           Uvalde shooter on Instagram having a group chat where there is
           conversation of school shootings, where there is conversation of
           threats of violence, where he is bragging about getting assault
           weapons, why is there no action? And let us be very clear. These
           are minors. He was a minor when he did this. It is not the same
           free speech rights. Mr. Suplina, do you think companies like
           Instagram should have some responsibility in group chats when
           minors are involved and you have explicit discussion of school
           shootings, to do something?
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              Mr. SUPLINA. I think the role of social media companies is an im-
           portant one, and you are right to point it out Congressman.
           Instagram, Facebook, these are often where we see the earliest
           warning signs of a potential mass shooter, as well as other social
           media platforms where these incidences are discussed. There are
           often multiple people in the chat. And I do want to also mention,
           with respect to the Buffalo shooter, for instance, he cited YouTube
           for the videos that allowed him to modify the firearm that he had
           to accept detachable magazines which he used to deadly effect. So,
           social media companies do have a role to play here.
              Mr. KHANNA. And just like my colleague, Mr. Raskin, said, that
           the right of the Second Amendment is not absolute, it is important
           to recognize that the right of the First Amendment is not absolute.
           Under Brandenburg, you can’t have things that incite violence, and
           there are greater protections for minors. I mean, it is crazy to me
           that you can have people under 18 talking about shootings and
           mass shootings, and these companies are taking no action. So, we
           need to have regulation that gets to the heart of this.
              Mrs. Swearer, I am trying to understand your position, and I just
           want to ask you some simple ‘‘yes’’ or ‘‘no’’ questions to understand
           where you are coming from. Is it your view that someone who has
           committed a violent felony should be able to purchase a gun? ‘‘Yes’’
           or ‘‘no.’’
              Ms. SWEARER. No.
              Mr. KHANNA. Is it your view that someone who is a serial rapist
           should be able to purchase a gun? ‘‘Yes’’ or ‘‘no.’’
              Ms. SWEARER. Very clearly, no.
              Mr. KHANNA. Is it your view that someone who is a drug traf-
           ficker should be able to purchase a gun? ‘‘Yes’’ or ‘‘no.’’
              Ms. SWEARER. No, and these are becoming insulting.
              Mr. KHANNA. Well, I mean, so would you support any laws that
           would make sure that violent felons, serial rapists, or people who
           are drug traffickers will not get access to guns?
              Ms. SWEARER. If they are written and narrowly tailored to ap-
           proach that issue without burdening the rights of law-abiding citi-
           zens or criminalizing low-risk transfers between responsible citi-
           zens, yes, I am more than willing to look at that law.
              Mr. KHANNA. That is exactly what the background checks do, I
           mean, because right now what you have, a case is that the back-
           ground checks do not cover a lot of the sales to violent felons, to
           serial rapists. And I just want to be clear. When the Republican
           Party, their position, by opposing H.R. 8, is they are for violent fel-
           ons, serial rapists still being able to purchase these guns.
              Ms. SWEARER. No, they are not.
              Mr. KHANNA. Yes, they are. This is——
              Ms. SWEARER. No, they are not. They are against low-risk trans-
           fers being criminalized——
              Mr. KHANNA. Please, it is my, ma’am. It is my time. I am re-
           claiming my time. This is——
              Mr. COMER. Point of order, Madam Chair. The position of Repub-
           licans is that valid criminals be in jail.
              Mr. KHANNA. Well, no, the position is——
              Ms. WASSERMAN SCHULTZ. Madam Chair, the gentleman has not
           stated a valid point of order.
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              Mr. KHANNA. The position, H.R. 8, all H.R. 8, at its core, said is
           that violent felons are still getting these guns, serial rapists are
           still getting these guns. And the law and order party that has
           demagogued the issue of law enforcement and policing, that party
           is saying we are OK with violent felons still getting these guns, we
           are OK with serial rapists still getting these guns, and all the Con-
           gress or the Democratic side is trying to do is to close those loop-
           holes. To say that violent——
              Ms. SWEARER. I respectfully refer you to my testimony on this
           very bill before the Senate Judiciary Committee last year where I
           explained how that is a grotesque characterization of our opposition
           to that bill.
              Mr. KHANNA. Ma’am, I am saying that we in this Congress——
              Chairwoman MALONEY. The time has expired.
              Mr. KHANNA. I am saying that there is not——
              Chairwoman MALONEY. The gentleman’s time has expired.
              Mr. KHANNA. Well, she kept interrupting me.
              Chairwoman MALONEY. OK. All right, but then.
              The gentleman from Pennsylvania, Mr. Keller, is now recognized.
              Mr. KELLER. I would first like to take a moment to thank all our
           panelists, this panel and the previous panel, for your testimony.
              We have seen some horrific acts in the Commonwealth of Penn-
           sylvania. We saw a devastating shooting in Philadelphia on Satur-
           day, and I continue, and we all should, offer prayer for the families
           across the Commonwealth of Pennsylvania and across our Nation
           that have been affected by these acts committed by violent crimi-
           nals, skyrocketing crime in our cities. That is what we need to
           focus on. New York City saw a 16.2 percent increase in violent
           criminals shooting others in March 2022. That is up from a year
           before. San Francisco saw a 31 percent rise in homicides. In Chi-
           cago, violent criminals were responsible for shooting 47 people on
           Memorial Day weekend alone.
              There is a trend here. Crime is rising in cities that have the most
           restrictive laws on firearms and have the least severe criminal en-
           forcement penalties on the books. And in fact, cities that don’t en-
           force the laws that are on the books. The District Attorney in San
           Francisco has dismissed over 40 percent of felony convictions since
           2020, and in Philadelphia, homicides have increased 58 percent,
           during District Attorney Larry Krasner’s tenure. However, only 21
           percent of crimes when violent criminals shot another person since
           2015 have led to criminal charges, and less than one-tenth of those
           incidents resulted in convictions. Philadelphia Police are making
           record amounts of arrests for crimes committed by violent people
           with guns, yet Krasner’s office has dismissed or withdrawn more
           violent cases every year he has been in office. The bottom line is,
           when you fail to enforce the law and hold criminals accountable,
           you get criminal behavior.
              So, Ms. Swearer, how does failure to prosecute past or current
           crime affect crime rates in the future?
              Ms. SWEARER. Well, it certainly emboldens criminals and reason-
           ably allows them to believe that there is a very little chance that
           they will be punished or in any way held accountable for their
           crimes.
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              Mr. KELLER. Many of the proposals we are discussing today are
           widely implemented across the municipalities where crime spikes
           are happening. Would limiting law-abiding citizens’ right to own a
           firearm curb these disturbing trends?
              Ms. SWEARER. No, it would not. And I would also point out the
           reality of most gun violence is not that it is being perpetrated by
           people who lawfully purchase and possess their firearms. It is
           largely perpetrated by individuals with long histories of violence,
           who obtain their firearms already through illegal and illegitimate
           channels that are not addressed by universal background checks
           because they are already circumventing the law regarding those
           background checks. It is a very low-reward endeavor, even if it is
           like 100 percent enforceable.
              Mr. KELLER. OK. What measures should be taken to ensure vic-
           tims and their families are not legally ignored in favor of defend-
           ants?
              Ms. SWEARER. I would again refer to some of my previous testi-
           mony because I know our time is short. Previous testimony that I
           have given before the Senate Judiciary Committee on gun violence
           in Chicago, I think a lot of that is still applicable to your question.
           You know, from a Federal perspective, as I said, we continue to en-
           force Federal laws and hold criminals accountable at a Federal
           level when possible and encourage state and local counterparts,
           some of whom have done a horrific job of this to do the same.
              Mr. KELLER. So, I just have a question. There is what’s called the
           NICS system, and when you purchase a firearm, I don’t know how
           many people in this room have ever gone through a background
           check, but it does ask questions. I know it was brought up earlier
           about criminals being able to purchase guns. Is it not already ille-
           gal for rapists, and murderers, and people who have done domestic
           violence and convicted of these things, isn’t it already illegal for
           them to purchase firearms?
              Ms. SWEARER. To purchase and to possess, assuming they are fel-
           ons and have not had their rights restored to them under existing
           state or Federal processes. So, there is no process under Federal
           law, so it would just be under the state.
              Mr. KELLER. OK. But the point is, we are not saying that crimi-
           nals should have laws. We are saying criminals should be put in
           jail, and law-abiding citizens should be allowed to lawfully possess
           firearms.
              Ms. SWEARER. That is certainly what I am saying, and that is my
           understanding of what every member who was opposed H.R. 8 is
           saying as well.
              Mr. KELLER. Thank you, and I yield back.
              Chairwoman MALONEY. The gentleman yields back.
              The gentleman from Maryland, Mr. Mfume, is recognized for five
           minutes.
              Mr. MFUME. Thank you very much. Madam Chair, there is an old
           saying that your pain is where your passion is, and so let me just
           go back to where we started almost three hours ago at the begin-
           ning of this hearing and talk for a second about the pain that I felt,
           as I hope many of you did, listening firsthand to the accounts of
           witnesses and victims from Uvalde and from Buffalo.
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              Listening to them, I am still stunned and heartbroken. The gun
           carnage that continues in schools, and supermarkets, and movie
           theaters, in churches, on the streets of my Baltimore, in the streets
           of cities all over this country is a cross, ladies and gentlemen, that
           we all bear whether we want to or not. The gun laws that we hope
           will be passed today, I hope are seen as a beginning, not the end,
           only as a beginning. Otherwise, I really believe that we are doomed
           in our fight against murderers and their guns and the evil and the
           pain that they spread.
              I want to acknowledge and thank the gentleman from Louisiana,
           Mr. Higgins, the commissioner from Buffalo, and the mayor of New
           York, all of whom served in law enforcement and saw firsthand
           how difficult it is to deal with the violence perpetrated by guns,
           and particularly assault weapons. And I want to associate my re-
           marks with those of Mayor Adams when he said let the ATF do its
           job in rounding up so many illegal guns that are on our streets and
           to finally confirm a nominee.
              Madam Chair, you will remember 1994. We were members of
           this body. We worked for a whole year—a whole year—to put to-
           gether and pass an assault weapons ban. And the only reason it
           wasn’t permanent was because we weren’t able to get enough peo-
           ple, members on the other side of the aisle, unfortunately, to go
           along with that. And so the compromise was a 10-year ban on as-
           sault weapons, which expired in 2004. I am just shocked that 18
           years has gone by and this body does not move to reestablish that.
              In 1999, as a president of the NAACP, I filed suit against the
           gun industry. It took us three years to get to court because the
           NRA did everything they could to keep it from not happening, and
           finally, in 2003, we went to court. I testified in Brooklyn, New
           York, for over a week, but we didn’t have the weight we needed,
           and the NRA was a bigger force than we could deal with, and so
           we lost that. But the Judge to his credit said this does not prohibit
           the fact that there certainly will be other lawsuits like this. The
           NRA heard those words and took them to heart and spent the next
           18 months putting in place an absolute immunity on the gun in-
           dustry and, unfortunately, was able to get this Congress to pass it
           and signed into law. It is just unbelievable that we will give abso-
           lute immunity to any industry in this country, particularly when
           there is harm and personal injury.
              So, I think more than anything else, I was stunned a little while
           ago in hearing the gentleman, my colleague on the other side of the
           aisle, saying that he had sought out advice from a military com-
           mander about how to protect schools and that the advice was
           harden the target. And, Ms. Swearer, when you were asked to com-
           ment on that, you said absolutely harden the target. Well, that is
           fine except how do you harden a supermarket? How do you harden
           a church? How do you find a way to go out and harden movie thea-
           ters? If the only answer is hardening the target, we have already
           capitulated.
              And I am telling you, I am so glad that so many people are fo-
           cused on this hearing around the country so they can see firsthand
           what is going on here. We have a problem that is not going to go
           away. Every year it gets worse. And so until we are prepared to
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           do what we were sworn constitutionally to do, to protect this coun-
           try from enemies, foreign and domestic, we would have failed.
              Madam Chair, I yield back.
              Chairwoman MALONEY. The gentleman yields back.
              The gentleman from Louisiana, Mr. Higgins, is now recognized.
           Mr. Higgins.
              Mr. Higgins of Louisiana. Thank you, Madam Chair. Commis-
           sioner Gramaglia, I am looking at your presented statement, sir,
           say you support confiscating guns from individuals determined to
           be a threat to themselves or others, determined to be. So, by this
           legislation my colleagues are putting forth, my understanding of
           the letter of that law, which I 1,000 percent oppose, as would our
           founding fathers, the letter that our law says an anonymous tip
           from a citizen, so this was law. Commissioner, would you go to
           your neighbor’s home and confiscate his legally owned weapons? A
           man that was not under criminal investigation, nor under arrest,
           would you do it?
              Mr. GRAMAGLIA. The red flag laws would——
              Mr. Higgins of Louisiana. That is a ‘‘yes’’ or ‘‘no,’’ brother. I got
           five minutes to make. I don’t have a statement here.
              Mr. GRAMAGLIA. It is more than a ‘‘yes’’ or ‘‘no’’ answer. It would
           be——
              Mr. Higgins of Louisiana. We will move on then. If you cannot
           say, yes, you would confiscate weapons from an American citizen
           that was subject to this law that my colleagues intend to push
           through this Congress, and you said in your statement, that you
           would confiscate those weapons if an American was determined to
           be, your quote, a threat to themselves or others, quoted in that law,
           determined to be, is defined by an anonymous tip that an American
           citizen, a threat to themselves or others. You are a police commis-
           sioner, a Thin Blue Line brother, sworn to uphold the Constitution,
           and you are saying you would seize those weapons. I see that as
           a problem.
              I am going to bring us back in time to World War II: America’s
           population, 140 million. Fifteen million men came home from
           World War II with deep scars and significant skills. They bore the
           invisible wounds of war. There was weapons everywhere. I talk
           about mental challenge. My father was one of those men who was
           a Navy pilot in World War II. He came back from the war and built
           his family. I am the 7th of his 8 children. I was born in 1961. We
           had guns everywhere. There was virtually no regulation. Any child
           in the 1950’s could buy a weapon from any seller if daddy sent him
           with the money. We didn’t have mass shootings. It wasn’t until
           1968 in America that serial numbers were even required on weap-
           ons sold in this country. You ordered weapons through the Sears
           catalog by the mail. In the 1970’s I attended a high school, large
           rural school. Virtually every vehicle in the parking lot was a pickup
           truck, and almost everyone had a rifle or shotgun on the back glass
           and a pistol under the seat, and we didn’t have school shootings.
              1979, I began college. One of the jobs I had to work my way
           through college was as a carpenter. We restored historical build-
           ings. We had to determine in the process of that work what was
           the original cuts to these homes, residential homes built 75, 85, 100
           years ago. You could tell by the saw cut if it was a mechanical cut,
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           an electric cut, or a hand cut. By such observations, we knew ex-
           actly how that house was originally built. And to my amazement,
           as a young man beginning college in Louisiana, working, to my
           amazement, you know what I discovered, Madam Chair? You know
           what these houses did not have that were built 100 years ago in
           cities in America? You know what they did not have, Commis-
           sioner? Locks. Locks.
              Now I ask you all, what happened to that country, man, the
           country where homes were built in cities with no locks, a country
           where guns were everywhere and virtually not regulated at all,
           where millions of Americans, 14 million Americans came back? It
           is 11 percent of the population at the time after World War II with
           incredible skills of war and weapons of war, as you call them, ev-
           erywhere, but we didn’t have mass shootings. And here we sit
           today where an entire once proud Democratic Party is presenting
           unbelievably unconstitutional laws to press upon our Nation. And
           we have a police commissioner that says he would go home to home
           and confiscate legally owned weapons if he got a tip.
              Madam Chair, I yield my speech, but I will not yield my opposi-
           tion to these unconstitutional laws.
              Chairwoman MALONEY. The gentleman’s time has expired.
              The gentlelady from New York, Ms. Ocasio-Cortez, is recognized.
              Ms. OCASIO-CORTEZ. Thank you, Madam Chairwoman, and thank
           you to all of our witnesses. I apologize if I go quickly. We have just
           got five minutes and a lot of work to do.
              Let’s talk facts here. There was a lot of discussion about New
           York City. There is no discussion about gun violence in New York
           City. Without discussing the iron pipeline that is Florida, Georgia,
           South Carolina, North Carolina, Virginia, Pennsylvania, and hon-
           orary mention to Ohio where 70 percent of likely illegal trafficked
           guns found in New York City come from. There is no discussion
           about gun violence in Chicago without talking about Indiana be-
           cause the violence and the mothers that we have to comfort are los-
           ing children due to the guns, and the carnage, and the lawlessness
           unleashed by those states. I will move on.
              Every week in recent memory, we have had at least one mass
           shooting. Ms. Pringle, you are the president of the National Edu-
           cation Association. You represent teachers. Between 2009 and
           2018, how many school shootings did the United States have?
              Ms. PRINGLE. Two hundred eighty-eight.
              Ms. OCASIO-CORTEZ. Two hundred eighty-eight. Now let’s look
           globally. Our G7 partners—Canada, France, Germany, Italy,
           Japan, and the United Kingdom—combined, how many school
           shootings did those countries have?
              Ms. PRINGLE. Five, 50 times more.
              Ms. OCASIO-CORTEZ. Five in almost 10 years. Two hundred
           eighty-eight versus five. This is not normal. Not only is it not nor-
           mal, it is internationally embarrassing and delegitimizing to the
           United States because for all the billions and trillions that this
           body authorizes in the name of national security, we can’t even
           keep our kids safe from their schools being turned into a war zone.
              Now let’s talk about why. Let’s talk about one thing, more impor-
           tant to lobbyists and the gun industry than children, than houses
           of faith, than human beings. Let’s talk about profit. Mr. Suplina in
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           2020, 22.8 million guns were sold, reflecting a 64 percent increase
           from 2019, correct?
              Mr. SUPLINA. Correct.
              Ms. OCASIO-CORTEZ. In one year. And across the board, gun man-
           ufacturers and ammunition companies began to see record profits.
           Is that right?
              Mr. SUPLINA. That is correct.
              Ms. OCASIO-CORTEZ. Now, let’s put that into context. In 2020
           again, more than 45,000 Americans died by gunfire, reflecting an
           almost threefold increase from 2015. Are those statistics correct?
              Mr. SUPLINA. That is accurate.
              Ms. OCASIO-CORTEZ. So, in your view, are you seeing a correla-
           tion between gun profits and gun deaths in the United States?
              Mr. SUPLINA. Yes.
              Ms. OCASIO-CORTEZ. This is about blood money. Between 2019
           and 2021, two years, leading gun manufacturer Sturm and Ruger
           saw gross profits double to almost $280 million. In fact, during an
           earnings call, their CEO called the sales boom ‘‘historic, ferocious,’’
           and that ‘‘the future was bright.’’ A month after that, an AR–556
           pistol murdered 10 people at a supermarket in Boulder, Colorado.
           Those profit margin, $280 million, go to lobbying. Is that correct?
           Much of that goes to lobbying, correct?
              Mr. SUPLINA. Significant amounts go to lobbying, correct.
              Ms. OCASIO-CORTEZ. And can you remind us what the gun indus-
           try is lobbying against when it deploys these lobbying resources?
              Mr. SUPLINA. They are lobbying against every law that would
           regulate firearms.
              Ms. OCASIO-CORTEZ. And can you briefly tell us how gun compa-
           nies have poured extra profits directly into lobbying against gun re-
           form? And as an advocate in this space, what have you seen? Just
           name rattle off some of the measures that they have, just a few
           that they have lobbied against.
              Mr. SUPLINA. Lobbied against, they have lobbied against back-
           ground checks on all gun sales, which would, in fact, as was men-
           tioned earlier, it would be criminal to obtain a firearm from a law-
           abiding citizen without a background check. The criminal would be
           breaking the law, but we could stop that. They have lobbied
           against red flag laws, which would temporarily deprive, after due
           process, a firearm from somebody who poses a threat to their selves
           or others. That is a court adjudication, everything.
              Ms. OCASIO-CORTEZ. Thank you. Thank you very much. For con-
           text, the NRA spent about $250 million in 2020 alone. That is more
           than twice the entire salary of Congress combined in one year, lob-
           bying against gun safety laws. There is also this discussion about
           do anything, but again, but that these are about violent people, but
           yet we aren’t doing anything about addressing the actual root
           causes of misogyny where two-thirds of mass shootings are con-
           nected to domestic violence or the emergence of white supremacy
           radicalization, mass incarceration, and poverty, and the connec-
           tions between that and mass shootings in our communities.
              I yield my time. Thank you, Madam Chair.
              Chairwoman MALONEY. The gentlelady’s time has expired.
              The gentleman from Wisconsin, Mr. Grothman, is recognized for
           five minutes.
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              Mr. GROTHMAN. Thank you very much. The last couple of weeks,
           I had a chance to go down to Mexico, and they brought up an issue
           that I wasn’t really expecting to hear, but a couple of Border Patrol
           guys pointed out to me that the firearms were very, very regulated
           in Mexico. And you do a little Google search, and you find out in
           the recent article in The Wall Street Journal, the first six or first
           nine months in 2019, Mexico, with some wildly difficult laws, had
           a murder rate of six times that in the United States. Not six per-
           cent more. That’s 60 percent more. But assuming you got it right,
           maybe he was cherry picking the year, I don’t know, six times as
           many murders as in the United States. I assume the Mexican offi-
           cials who put these laws into effect, thought they were going to
           save lives at the time, that they made it so difficult for law-abiding
           Mexicans to get a hold of a firearm, but obviously the results of
           their laws was not to make Mexico safer. There are thousands,
           probably tens of thousands of people who have died now in Mexico
           under the current rules connected to ownership of guns.
              We have also in this country had a dramatic increase in the
           number of deaths from guns the last two years since kind of the
           beginning or at least expansion of the I Hate Police Movement,
           which I blame for all the young people and not so young people
           who have died in the last two years in this massive increase of
           murders that we have seen almost unprecedented.
              First of all, I would like Ms. Swearer to comment a little bit on
           the Mexican statistic and comment on the dramatic increase in the
           number of homicides in this country in the last two years, not be-
           cause it is easier to own guns, but kind of because a lot of the rhet-
           oric coming out of this building of this anti-police rhetoric.
              Ms. SWEARER. Congressman, I will respectfully refrain from com-
           menting on the statistics you pointed out from Mexico. I am not
           overly familiar with any of the underlying causes. I will, you know,
           to the greater point, say Mexico is, to my awareness, one of the
           only other countries in the world with a right to ‘‘keep and bear
           arms,’’ which is sort of a misnomer in that country, as you point
           out. So, it is a fundamentally different understanding of what that
           means than clearly in our country. I am sorry. Please remind me
           of the second aspect.
              Mr. GROTHMAN. Well, the massive increase in murders in this
           country in the last few years.
              Ms. SWEARER. I think it is hard to pin that down to any, like,
           one simplistic notion of what is causing that. Certainly, I think
           problems with policing and calls to defund the police, loss of trust
           between communities and police members, that all plays a role, as
           I pointed out in my written submission.
              Mr. GROTHMAN. OK.
              Ms. SWEARER. I think it is a number of things.
              Mr. GROTHMAN. Yes. I will give you another question then. This
           week, I will be reintroducing something called the Student and
           Teacher Safety Act, which will allow schools to use existing grants
           they have, meant, in part, for improving school conditions and
           learning to improve or boost school safety following the evolving
           shooting. The White House press secretary said that President
           Biden does not believe in hardening schools to provide more secu-
           rity resources or law enforcement officers. If these measures can be
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           effective in preventing another mass shooting, why do you think
           the President is not open to hardening schools this way?
              Ms. SWEARER. I cannot read the President’s mind, but my guess
           is he would rather focus on other ways of addressing it. I would
           also very quickly like to point out to reference something Congress-
           man Mfume said, to seem to infer that we only care about or have
           only mentioned one aspect of a greater issue, which is focusing on
           physical security. Congressman, I respectfully don’t know if you
           were not here for my opening statement or have not read my writ-
           ten submission, but I respectfully have pointed out roughly a dozen
           other issues as well. This is comprehensive in nature. It is not one
           thing or the other. It is both——
              Mr. MFUME. I have been here for three hours since before the
           hearing started. I heard your testimony. My reference was to
           schools, and my reminder was the——
              Mr. COMER. Madam Chair, I think——
              Chairwoman MALONEY. The gentleman is not recognized.
              Mr. MFUME. Well, the witness addressed me, Madam Chair.
              Chairwoman MALONEY. OK.
              Mr. GROTHMAN. Could you give me another few seconds back?
           Someone jumped in there. Well, if President Biden is going to
           stand between us and trying to improve the physical security in
           school districts, can you give us other ideas that we can use to pre-
           vent these tragedies?
              Ms. SWEARER. Sure. As I mentioned in both my written and oral
           testimony, I think we can focus very clearly on building up the Na-
           tion’s mental health infrastructure, both specifically in schools and
           generally across the board. We are talking about two-thirds of gun
           deaths every year that are suicides, which clearly plays into an as-
           pect of mental health, which is problematic. We are talking about
           with mass shootings, individuals who clearly show signs of being
           a danger to themselves or others, but who are otherwise, you know,
           not felons yet and oftentimes cannot be involuntarily civilly com-
           mitted. So, looking at, you know, targeted interventions with ade-
           quate means of due process and also just behavioral risk assess-
           ment.
              We talked about Instagram and threats on Instagram. What is
           concerning to me is that so many people saw so many signs, espe-
           cially in Uvalde, and it appears that nobody reported them, or
           knew to report them, or knew how to report them, or didn’t think
           anything would be done about it. And that——
              Chairwoman MALONEY. The gentleman’s time has expired.
              OK. The gentlelady from California, Ms. Porter, is now recog-
           nized.
              Ms. PORTER. Ms. Swearer, in 2019, you testified on Representa-
           tive Cicilline’s bill, the assault weapons ban, before Congress. At
           the 2019 hearing, Representative Jim Jordan asked you if law-
           abiding people will be less safe to protect themselves if that bill
           was passed. Do you remember your response?
              Ms. SWEARER. I have a general idea of what I would have said
           under that circumstance, but, no, I don’t remember my specific
           words.
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              Ms. PORTER. You said, ‘‘I think worse than that, sir, you will see
           millions of otherwise law-abiding citizens become felons over-
           night’’——
              Ms. SWEARER. Yes.
              Ms. PORTER [continuing]. ‘‘for nothing more than having scary
           looking features on firearms.’’
              Ms. SWEARER. It is true.
              Ms. PORTER. I was quite surprised by your answer. You read the
           bill before you came to Congress to testify against it, yes?
              Ms. SWEARER. If we are referring to the ban on assault weapons,
           correct, yes.
              Ms. PORTER. So, you knew that the bill would allow any gun
           owner to maintain possession of any semiautomatic assault weapon
           that was lawfully possessed before the bill became law?
              Ms. SWEARER. No. So, that is the case under that bill. The prob-
           lem is anytime that is transferred to anybody else——
              Ms. PORTER. Madam Chair, would you please instruct the wit-
           ness that the time belongs to me?
              Ms. SWEARER. If you don’t want to hear an answer to my ques-
           tion, I am not sure what is being asked.
              Chairwoman MALONEY. The gentlelady has reclaimed her time.
              Ms. PORTER. You said ‘‘yes’’ in response to my question that you
           knew the bill would allow the gun owner to maintain possession of
           any semiautomatic assault weapon that was lawfully possessed be-
           fore the bill becomes law. Ms. Swearer, I respect that we have dif-
           ferent opinions on Representative Cicilline’s assault weapons law,
           but we cannot have different facts. We have a duty to debate the
           merits of proposal. You falsely testified under oath for that bill——
              Ms. SWEARER. Would you like to hear the explanation of why I
           said that?
              Ms. PORTER. No, I have not yielded, Ms. Swearer.
              Chairwoman MALONEY. Suspend.
              Mr. COMER. Madam Chair, if she is going to ask questions,
           shouldn’t she let the witness have——
              Chairwoman MALONEY. The gentleman is not recognized.
              Ms. PORTER. You falsely testified under oath——
              Mr. BIGGS. Point of order. Point of order.
              Chairwoman MALONEY. What is the gentleman’s point of order?
              Ms. SWEARER. I have been accused of falsely testifying under
           oath, and I would like address it.
              Mr. BIGGS. The gentlewoman has accused her of perjury. Is she
           going to hold to that, or are you going to allow the witness to re-
           spond to that accusation of criminal conduct?
              Chairwoman MALONEY. You have not come forward with a sig-
           nificant point of order. Ms. Porter will continue.
              Ms. PORTER. I asked you if that bill was correct, if the bill would
           allow any gun owner to maintain possession, and you said ‘‘yes,’’
           yet you testified that the bill would allow people to become felons
           overnight. Earlier today you testified that you hoped that this was
           the last time you testify before Congress for the sake of our Nation
           and the integrity of this Congress——
              Ms. SWEARER. I said Congress, after a mass shooting, trying to
           figure out how to solve a problem, that we are all heavily invested
           in solving——
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              Ms. PORTER. Ms. Swearer, I have not asked the question.
              Ms. SWEARER. How dare you.
              Ms. PORTER. Reclaiming my time. How dare you misstate the
           law——
              Ms. SWEARER. How dare you ask a question——
              Ms. PORTER [continuing]. as legislation——
              Ms. SWEARER [continuing]. that you do not even want an answer
           to.
              Ms. PORTER. Ms. Swearer, I am moving on. I am a lifelong con-
           sumer protection advocate. From 2015 to 2020, there were at least
           2,070 unintentional shootings by children. Seven hundred sixty-five
           of those children died. A consumer product that causes this much
           harm to the public, would normally be subject to a recall. But Fed-
           eral law prohibits the Consumer Product Safety Commission, the
           agency responsible for protecting the public from dangerous prod-
           ucts, from regulating guns. This is absurd. After one child died
           using a Peloton treadmill last year, the Consumer Product Safety
           Commission intervened and recalled the product, but when hun-
           dreds of children die using guns, there is no Federal response.
           There is no Federal safety standard for guns even though 40,000
           Americans hurt or kill themselves or other people in hundreds of
           accidents every year. Instead of regulating guns like any other con-
           sumer product, Federal law protects gun manufacturers.
              A teenager can watch a video online and learn how to modify a
           rifle to make it more deadly. And the gun industry avoids any li-
           ability if that teenager uses that modified rifle to fire repeatedly
           and rapidly at innocent people, even though their products could be
           designed to prevent unsafe modifications. I want to give an exam-
           ple. In 2001, a 13-year-old boy named Billy accidentally shot his fa-
           ther’s handgun and killed his friend, Josh. Billy mistakenly
           thought that gun was unloaded because he had removed the gun’s
           magazine. Josh’s family sued the gun manufacturer for failing to
           warn Billy and other consumers that their product could be fired
           without a magazine. It is a simple case. It should have been de-
           cided by a jury as is provided under the Constitution. Instead, be-
           cause of the gun industry’s immunity, the gun manufacturer was
           able to dismiss the case without a trial.
              If a pharmaceutical company failed to warn customers about the
           known risks of one of their drugs, they could face thousands of law-
           suits. But we allow the gun industry to sell weapons without tak-
           ing any precautions to protect children and families from fatal acci-
           dents. Mr. Suplina, do you think the gun industry would do more
           to protect children if Congress ended their immunity?
              Mr. SUPLINA. Absolutely.
              Ms. PORTER. Would ending the gun industry’s immunity put gun
           manufacturers out of business?
              Mr. SUPLINA. No, it would not.
              Ms. PORTER. In the 1990’s, lawsuits forced big tobacco to pay for
           the harm they caused by marketing cigarettes. Just last year, Big
           Pharma agreed to pay $26 billion for communities devastated by
           opioids.
              Mr. Higgins of Louisiana. Madam Chair, her time has expired.
              Ms. PORTER. Victims of gun violence also deserve their day in
           court. They deserve justice. I yield back.
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              Chairwoman MALONEY. The gentlelady’s time has expired.
              Mr. COMER. Madam Chair——
              Ms. WASSERMAN SCHULTZ. Madam Chair, I have a parliamentary
           inquiry.
              Mr. COMER. Madam Chair. Madam Chair, I have point of order.
           Madam Chair, point of order. Again, Ms. Porter accused our wit-
           ness of perjury. That is a very serious accusation, accused her of
           lying.
              Ms. WASSERMAN SCHULTZ. Madam Chair, the gentleman has not
           stated a proper point of order.
              Mr. COMER. No, I am stating it.
              Ms. WASSERMAN SCHULTZ. That is not a proper point of order.
              Mr. COMER. My point of order is we just had a woman from Con-
           gress accuse a witness of perjury and didn’t give the witness time
           to response.
              Ms. WASSERMAN SCHULTZ. Madam Chair, the gentleman is not
           stating a proper point of order.
              Chairwoman MALONEY. So, the gentlelady will suspend.
              Mr. COMER.[Inaudible].
              Chairwoman MALONEY. The gentleman from Texas, Mr. Cloud, is
           recognized. Mr. Cloud, you are now recognized.
              Mr. CLOUD. I thank you all for being here. Thank you, Madam
           Chair, and obviously this is a tragedy that is heartbreaking for all
           of us. And naturally, coming out of this as we look for solutions,
           emotions are naturally high because we are all grieved by the fact
           that we see this in our Nation. There are going to be 1,000 reasons
           why we are asking and the investigations are ongoing, obviously.
           Even the conclusions we could come up with well, of course, never
           answer the cry of a parent who has lost a child. And I think any
           of us who have children can understand that our hearts just break
           for what we have seen.
              As we move forward, we have to continue to figure out how we
           propose solutions that actually create solutions. Very often in this
           Congress, we do things out of a best of intent and have the worst
           of results. There is a lot of data that points to the fact that gun
           control leads not to more safer communities, but to more dangerous
           communities. For example, one of the proposals out there right now
           is to raise the age of being able to own a rifle, and in our Federal
           society, we have many states, and so we are able to kind of test
           these things out. And as far as I know, the only peer-reviewed arti-
           cle study that has been done on that, it was in the Journal of Law
           and Economics. He talked about it and looked at it and said, if any-
           thing, there was a six percent increase from states who began to
           implement age requirements or raised age requirements. So, we
           have to tread passionately, but very carefully as we continue to ad-
           dress this from a policy perspective.
              I would like to bring up a topic that I think needs to be added
           to this conversation, and Representative Hice and Higgins touched
           on this quite a bit, because a lot of times here in Congress, well-
           measured politicians like to get away with measuring our personal
           compassion. Usually, it is on a spending bill. So, we will measure
           our personal compassion by how much money of other people’s
           money we spend, and generally, it is the more money we spend, the
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           more compassion we have, in a sense. I have always found that ab-
           surd.
               In the same way as we do this, it would be wrong for us, just
           out of the sake of doing something, to measure our personal com-
           passion by how much of other people’s constitutional rights we take
           from them and give to the Federal Government. And it is impor-
           tant to point out in history that any time a Federal Government
           takes authority, it is always for altruistic reasons. The danger
           comes when the next person in charge is or what happens after
           that, and many times that power is taken under good intentions
           and then used nefariously much, much later, so we have to be very
           careful about that. We have to keep history and context in mind
           in all of this.
               And the other thing I would say is that we should not think that
           any of this is monocausal. There is not one thing that caused this.
           There are a lot of things. But one thing I would like to throw into
           the mix of this, because if there is a common denominator as we
           look across these, it is not age so much. It is not the firearm used
           at the time or even how it was required. As much as it is, we see
           when we look at crime in our communities, when we look at the
           societal decline, we are in decline as a Nation when it comes to the
           moral and societal decline in our Nation. There is no doubt about
           it.
               And one of the biggest factors that is a common denominator
           across much of this is simply broken homes, fatherlessness. A DOJ
           study from the Journal of Research in Crime and Delinquency re-
           port said the most reliable indicator of violent crime in the commu-
           nity is the proportion of fatherless homes. A 2019 meta study in
           the Journal of Psychology, Crime and Law found that growing up
           in single-parent families is associated with elevated risk of involve-
           ment in crime by adolescents. A 2019 study from the Pew Research
           Center finds that the U.S. has the world’s highest rate of children
           living in single parent households. The National Fatherhood Initia-
           tive has compiled some data, and adolescents from fatherless
           homes are more likely to commit crimes. They are more likely to
           end up in prisons. They are more likely to end up in poverty, and
           so we have to figure that out.
               For a long time, our Government has subsidized even and pro-
           moted policies that continue to break down the home, and we have
           to do what we can to make sure we come back to this. And I would
           just like to give whatever time remains to Ms. Swearer to address
           the perjury charges that have been made against you.
               Chairwoman MALONEY. The gentleman’s time has expired.
               Mr. CLOUD. Oh, my apologies.
               Chairwoman MALONEY. The gentlelady from Florida, Ms.
           Wasserman Schultz, is now recognized.
               Ms. WASSERMAN SCHULTZ. Thank you, Madam Chair. Gun manu-
           facturers didn’t always market weapons to civilians, and, until re-
           cently, trade shows didn’t make military-style guns available to the
           general public. Now gun makers aggressively market AR–15-style
           weapons to civilians and actively tie them to military and law en-
           forcement weapons. Smith & Wesson, America’s largest gun manu-
           facturer, even developed a name for this marketing ploy, calling it
           the ‘‘halo effect.’’ Now I want to draw your attention to the screen.
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             [Slide]
             Ms. WASSERMAN SCHULTZ. Mr. Suplina, I want to ask you about
           one advertisement that I find troubling. This one. This is an ad for
           a Daniel Defense MK18, a high-speed military-style AR similar to
           the Daniel Defense AR used at the Robb Elementary School shoot-
           ing in Uvalde. The ad states, ‘‘use what they use’’ and that the gun
           features ‘‘military adopted technology.’’ Mr. Suplina, do you believe
           the associations made in this advertisement are appropriate for a
           civilian?
             Mr. SUPLINA. No, but they are very effective at selling military-
           style weapons to the civilian population.
             Ms. WASSERMAN SCHULTZ. Reports on this gun indicate that it is
           favored by special forces. I would like to ask Daniel Defense why
           the same-style guns being used in war zones should be marketed
           to everyday people. It is clear who gunmakers are marketing to.
           Fred Guttenberg lost his 14-year-old daughter Jamie in the Mar-
           jory Stoneman Douglas High School massacre in my own commu-
           nity. Fred filed an FTC complaint alleging that Smith & Wesson
           mimicked first-person shooter video games in its advertising mate-
           rials to attract adolescents and young adults. A Smith & Wesson
           M&P 15 223-caliber rifle was used in the Parkland massacre.
             Mr. Suplina, what level of culpability should gun manufacturers
           have when they market human killing machines to a civilian cus-
           tomer base?
             Mr. SUPLINA. Again, this is now unfortunately, increasingly the
           norm among gun manufacturers to market using, you know, video
           game style ads. Daniel Defense itself referenced popular video
           games in its advertising and in its advertisements, and they should
           be held accountable for this.
             Ms. WASSERMAN SCHULTZ. Thank you. Commissioner Gramaglia,
           I would like to turn to you next. I want to put another advertise-
           ment on the screen.
             [Slide]
             Ms. WASSERMAN SCHULTZ. This is an advertisement for a Bush-
           master XM–15. Is that the same gun that was used in the mass
           shooting at the Tops supermarket on May 14?
             Mr. GRAMAGLIA. Yes, it was.
             Ms. WASSERMAN SCHULTZ. This advertisement shows a soldier
           with a Bushmaster, and it states, ‘‘versatility on the range during
           patrol.’’ Your officers were actually on patrol that day, and many
           of them responded to the active shooter scene with far less ad-
           vanced weaponry. How do you prepare officers to protect them-
           selves in the public from military-grade killing machines every
           day? I know it was referenced that, you know, no problem that
           they had, you know, adequate weapons to be able to defend them-
           selves, but is that the case?
             Mr. GRAMAGLIA. Against this weapon? No. We have active shoot-
           er vests that we have in our patrol cars. You can’t wear them on
           a regular basis. They are far too heavy. It is something that you
           would have to grab and put on if you have the time to do it.
             Ms. WASSERMAN SCHULTZ. Thank you. President Pringle, I want
           to turn to you. You have worked closely with teachers and students
           for years on combating gun violence. Without meaningful gun re-
           form, students are forced to practice mass shooting drills. Just this
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           week, and I know we stood together yesterday and you heard me
           talk about the high school students from my children’s high school
           alma mater, to mark the success of their fundraising drive, to put
           Stop the Bleed kits in every classroom in that high school campus.
           I mean, those are kits that are meant to triage a bleeding wound.
           Students now prep for the time that they have in school in the
           event that they are facing an active shooter, and that they may
           bleed to death from gunshot wounds. What kind of traumatic effect
           does normalizing gun violence through these reactive measures
           have on students?
              Ms. PRINGLE. We have seen over the years an increase in anxiety
           and increase in the number of students who are seeking additional
           assistance from our mental health professionals. We are seeing an
           increase in the amount of students who are coming to our schools
           with all kinds of social and emotional learning gaps because they
           have been subjective to overly aggressive drills, and looking at so-
           cial media and TV, and seeing other students suffer and die at the
           hands of gun violence.
              Ms. WASSERMAN SCHULTZ. Marketing mass killing machines to a
           civilian customer base by using imagery and words that suggests
           that is the purpose of their product is gross and immoral, but it
           is just what gun companies do now in order to profit from a market
           beyond their older male customer base. The Second Amendment
           does not absolve gun manufacturers the responsibility to market
           their products responsibly. And children should not be doing fund-
           raisers for Stop the Bleed kits instead of making sure that they can
           have a fun prom, doing car washes, baking, having bake sales, to
           make sure that their life on campus as students is improved, as op-
           posed to their life on campus doesn’t end and they have to use a
           Stop the Bleed kit that they have raised money for.
              Chairwoman MALONEY. Yes. The gentlelady’s time has expired.
              Ms. WASSERMAN SCHULTZ. Thank you. I yield back.
              Chairwoman MALONEY. As previously was stated at the begin-
           ning of the hearing, Mayor Adams has a hard stop at 1:30. Mayor
           Adams, thank you so much for joining us here today, and for your
           testimony, and for your service. You are excused. Thank you so
           much.
              Mr. ADAMS. Thank you very much.
              Chairwoman MALONEY. Mr. Biggs is now recognized. Mr. Biggs?
              Mr. BIGGS. Thank you, Madam Chair. You know, last week I
           thought I had heard it all when one of the Democrats threatened
           to end the filibuster, wanted to pack the Supreme Court, and said
           that they would confiscate guns. In order to do that, they would ba-
           sically emasculate the Senate as an institution and also emasculate
           the Supreme Court as well. I thought that was interesting. It was
           pretty bad, but then we have here someone actually accusing a wit-
           ness, and actually taking out of context, a witness who testified
           previously and accusing her of perjury, following that, though. But
           I got to tell you, the most egregious thing that the Democrats did
           today is they took a person, a young person, little Miah, she was
           traumatized two weeks ago, still suffering under obvious PTSD as
           she testified in that video, and bringing that poor little girl to re-
           live this.
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              And we are going to hear about how traumatic, and I don’t say
           they are not traumatic, these raising money for Stop the Bleed kits
           is, then it is particularly pernicious and outrageous to take an 11-
           year-old child, who graphically described how she spread a class-
           mates’ blood upon her and feign her own death, to make her relive
           that. If we are talking about PTSD, you just prolonged the agony
           of that little child. For what? For your own political gain, your own
           political purpose. That is despicable.
              And over the course of more than nine hours last week, my col-
           leagues on the Judiciary Committee, my Democrat colleagues made
           it clear that they don’t believe any American should have access to
           the means to protect themselves and their families. Democrats op-
           posed the Republican amendment that would allow victims of do-
           mestic violence to purchase firearms. They opposed the Republican
           amendment that would allow the spouses of active duty and de-
           ployed military to purchase firearms. And again, they promoted
           ending the filibuster, packing the Supreme Court, and confiscating
           guns from law-abiding citizens.
              And they gave their entire game away by making clear that nei-
           ther Congress nor the Supreme Court will stand in the way of their
           radical mission. Their proposed solutions to the problem of violent
           crime in this country is to make felons out of law-abiding citizens
           under the age of 21, to make felons of law-abiding citizens who own
           firearms in homes with children, and to make felons of law-abiding
           citizens who own or purchase magazines that hold more than 10
           rounds of ammunition. The most common fire in this country sells
           15 round magazines. Their proposed solutions are to force law en-
           forcement officers to ignore due process and restrict law-abiding
           citizens to have the means to protect themselves and their families
           from threats. And make no mistake: my Democratic colleagues in-
           tend on total infringement on America’s Second Amendment rights.
              Ms. Swearer, before you answer the most pertinent question I
           think that we are going to hear from you in just a second, I want
           you to tell me, can you define ‘‘defensive use?’’
              Ms. SWEARER. Defensive use? And I am assuming you mean law-
           ful defensive.
              Mr. BIGGS. Yes.
              Ms. SWEARER. It would be a use of a firearm that is to defend
           oneself lawfully against criminal actions by another.
              Mr. BIGGS. How often is lawful defensive use of firearms in this
           country?
              Ms. SWEARER. According to a 2013 report by the CDC, almost all,
           with very few exceptions, but the most rigorous studies and almost
           all of them show that it is somewhere between 500,000 and 3 mil-
           lion times a year. I think it is roughly probably around an average
           of a million, myself.
              Mr. BIGGS. Do you believe that is firearm use for self-defense, de-
           fense of others, or for the protection of property saves lives?
              Ms. SWEARER. Yes, it objectively saves lives.
              Mr. BIGGS. Now, you were accused by someone who took out of
           context something you testified in 2019 of effectively committing a
           crime and committing perjury before Congress. Would you please
           like to respond to that?
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              Ms. SWEARER. Congressman, respectfully, and I appreciate the
           opportunity, but we have wasted enough time on political games
           today. And I would like to get back to the merits of actually talking
           about solutions.
              Mr. BIGGS. Very good. Now, I am going to go forward now, and,
           Madam Chair, I am going to submit, please, the following items for
           the record: the testimony of Stephen Willeford before the Senate
           Judiciary Committee on May 25, 2021.
              Mr. Willeford is a good guy with a gun, who heroically confronted
           and stopped a mass shooter in Sutherland Springs, Texas. I also
           submit a 2019 study by John Lott of the Crime Research Preven-
           tion Center. His study examines data on the rate of shootings and
           accidents in schools that allowed teachers to carry firearms, which
           founds zero cases of someone being wounded or killed from a public
           mass shooting at a school that allows teachers to carry firearms.
           And third, an article by the Washington Examiner that the Buffalo
           shooter was an eco-socialist racist who hated Fox News and Ben
           Shapiro.
              Mr. BIGGS. With that, I yield back.
              Chairwoman MALONEY. Without objection, the gentleman yields
           back.
              The gentleman from Georgia, Mr. Johnson, is now recognized.
           And we have been called for votes, so after him, we will recess.
              Mr. JOHNSON. Thank you, Madam Chair, for holding this hear-
           ing, and I would like to thank the witnesses, particularly those on
           the first panel, for their testimony. I was very moved by what each
           of them had to say.
              Americans have grown weary, frustrated, and frightened by the
           ever-intensifying cascade of gun violence afflicting our country, and
           they are sick and tired of their elected leaders continuing to do
           nothing to address the carnage. The fact of the matter is that the
           gun lobby, led by the NRA and the gun manufacturers that fund
           it, exert great influence on politicians to support its policy, which
           is that the only way to stop a bad guy with a gun is a good guy
           with a gun. You know, I mean, if that holds true then, you know,
           it just doesn’t make sense in a civilized society. And I would submit
           to you that every person with a gun makes us unsafe as opposed
           to more secure.
              This stopping a bad guy with a good guy with a gun just has not
           worked to allow the floodgates to remain open for gun dealers to
           flood our streets with weapons that are more powerful than what
           was available last week. That policy, Madam Chair, has been a
           deadly failure, and if we continue the unbridled flow of firearms
           flooding our Nation’s streets, we will continue to see rising rates
           of gun violence in America. No other country has a problem like
           the gun violence problem plaguing our country. And policymakers
           who stand in the way of doing something to address the problem
           should be ashamed of themselves, and they need to be voted out
           of office and replaced with leaders who are willing to stand up to
           the NRA and pass commonsense gun reform laws.
              It is common sense to impose a ban on the manufacture and sale
           to the public of military-assault weapons meant for use on the bat-
           tlefield. It is common sense to mandate universal background
           checks by closing the gun show loophole, and it is commonsense to
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           raise the age the purchase of firearms from 18 to 21. But for some
           reason, my colleagues insist on doing nothing to reverse what is a
           tide of a failed policy. It allows greedy firearms manufacturers to
           maintain their ever-growing profits by flooding our streets with
           weapons of war, and they continue to ignore the impact of their in-
           action, hiding behind the Second Amendment as if it were the
           Bible. They proclaim any attempt to pass gun safety legislation in-
           fringes on their right to carry. Well, what about the right to live
           of the 19 children and two teachers killed in Uvalde? The 10 shop-
           pers killed in Buffalo, New York, what about their right to live?
           What about the right to live with almost countless others who have
           died from street gun violence? How much more blood should be
           shed before we and Congress take action?
              Madam Chair, the House has acted to pass laws on universal
           background checks, but our legislation has stalled in the Senate be-
           cause of the filibuster, and Congress today will pass commonsense
           gun legislation. I should say Democrats in Congress will pass com-
           monsense gun law today and pass it on to the Senate where it will
           be met with the filibuster. The overwhelming majority of Ameri-
           cans support the types of commonsense gun safety reforms under
           consideration this week, and failure to act is unconscionable. Fail-
           ure is an insult to the countless dead children and shattered fami-
           lies and communities. Failure is an insult to the people we are here
           to represent, and I join my colleagues in their fervent thoughts and
           prayers, and beg my colleagues to match their thoughts and pray-
           ers with equally fervent action.
              Mr. Gramaglia, a paper released by the International Association
           of Chiefs of Police noted that when the Biden assault weapons ban
           was in place between 1994 and 2004, the number of assault weap-
           ons traced to crimes fell by a dramatic 66 percent. Since the as-
           sault weapons are often used against police officers and the IACP
           is supportive of the assault weapons ban or the assault rifle ban,
           what message does it send when Republicans who loudly proclaim
           their support for law enforcement refuse to even discuss banning
           of assault weapons?
              Mr. GRAMAGLIA. You know, my issue here is that we need to re-
           duce the amount of bloodshed on our streets, and the damage that
           these weapons cause will lead to more bloodshed on the streets. It
           is more victims that are being struck, and it is something that
           needs to be banned.
              Mr. JOHNSON. Thank you, and I yield back.
              Chairwoman MALONEY. The gentleman’s time has expired.
              The gentleman from Florida, Mr. Donalds, is recognized for five
           minutes.
              Mr. DONALDS. Thank you, Madam Chair, and, Madam Chair,
           also, thank you for the indulgence before we have to go vote. I
           heard a lot today. I don’t want to do too much speechifying because
           we do that too often here.
              Ms. Swearer, it has been referenced a lot today actually, about
           the need for universal background checks and closing the ‘‘gun
           show loophole.’’ Can you actually explain in detail what that policy
           actually means?
              Ms. SWEARER. Sure. So, universal background checks start with
           this general conception of what could be, you know, at its core, le-
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           gitimate. Right now, most gun sales, whether it is brick and mortar
           gun stores, whether it is a bought over the internet, anything that
           occurs interstate, those require a background check under existing
           law. The only exception is for intrastate sales between private sell-
           ers, and that is largely because they do not have access to the next
           system. They cannot, like fossil fuels, call up the FBI and say, hey,
           can you run a background check.
              Mr. DONALDS. Now, could that theoretically be a way, that inter-
           state sale for individuals who are otherwise prohibited, to obtain
           firearms?
              Ms. SWEARER. Sure. As I point out, the problems with HRA and
           all of those other bills is that this is a low-reward endeavor. This
           is already not how most criminals are obtaining their firearms.
           They are already obtaining them through the black market,
           through informal channels that are not in any way shape or form
           addressed by interstate private sales. And on top of that, things
           like HRA would criminalize a whole host of responsible, temporary,
           low-risk transfers between law-abiding citizens. Like, if your buddy
           wants to borrow your hunting rifle, or, you know, you are going on
           a month-long trip to Europe and you want your guns to be secured
           in your friend’s safe next door, you would have to go through a
           background check, legally transfer title of your guns to that indi-
           vidual, and then legally transfer title back to yourself when you are
           done. So, that is the problem.
              Mr. DONALDS. So, Ms. Swearer, real quick. So, the policy of uni-
           versal background checks, would that have stopped the shooter in
           Uvalde from acquiring his weapon?
              Ms. SWEARER. It would not have stopped the shooter in Uvalde.
              Mr. DONALDS. Well, would it have stopped the shooter in Park-
           land from acquiring his weapon?
              Ms. SWEARER. It would not have stopped, with perhaps one lone
           exception, a single mass public shooter in the last 20 years because
           they all either passed or were capable of passing background
           checks, and that is the problem.
              Mr. DONALDS. The shooter in Sandy Hook, the Newtown shoot-
           ing, did that shooter kill his mother and take the guns?
              Ms. SWEARER. Yes, he did, and I forget his age, but he otherwise
           did not have a disqualifying history.
              Mr. DONALDS. The shooter in Uvalde, did he actually shoot his
           grandmother in the face before he went to perpetrate the crimes in
           Uvalde?
              Ms. SWEARER. To my knowledge, yes.
              Mr. DONALDS. Folks, here is the deal. One of the things that we
           have seen through all these mass shootings, I was a member of the
           State Legislature during the Parkland shooting, so I was in the leg-
           islature during that time period. The one thing that is crystal clear
           is these mass shooters that target our schools are all psychopaths.
           They are psychotic. In Parkland, the red flags were there for every-
           body to see. The school district did not act. That came out in the
           Parkland report. The site itself was not secured. That came out in
           the Parkland report. In Uvalde, the back door was open. It was
           open, wide open. The perpetrator shot his grandmother in the face.
           That is insane.
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              I know this bill, the proposed bill, today or tomorrow they are
           talking about raising the age to buy rifles from 18 to 21. Are we
           now going to say that a 19-year-old who is a legal adult in the
           United States does not have the mental capacity to own a shotgun
           or an AR–15, but they have the mental capacity to enlist in the
           military? They have the mental capacity to actually sign legal con-
           tracts, they have the mental capacity to be treated as an adult by
           law enforcement, and they also have the mental capacity to vote in
           the United States, but they don’t have the mental capacity to own
           a shotgun or to own a rifle and not inflict harm on their fellow
           man?
              Look man, I got three sons. Two of them are school age now.
           When these shootings occur, man, they hurt me because I could
           only imagine what it is as a parent. I am a parent, but I also un-
           derstand that I have a responsibility as a legislator to actually de-
           fend the Constitution of the United States. The Constitution of the
           Second Amendment is there. It is our responsibility to defend it.
              And if we look at the data from the mass shootings that have oc-
           curred in the United States over the last 20 years, the one con-
           stant, especially when it comes to schools, is that these shooters
           are young. They are mentally disturbed, and the vast majority of
           people who are in their age group would not even think or go down
           the pathway of committing these atrocities. We don’t pass laws be-
           cause of the ‘‘one or two psychopaths.’’ We only pass laws in order
           to maintain the actual legal momentum of freedom in the United
           States. The Second Amendment is not there to stop psychopaths,
           to be perfectly honest with it. It is not. That is not its purpose. The
           purpose of the Second Amendment is clear. It is to protect the con-
           stitutional rights of American citizens.
              These shootings are awful. They are awful, but the data is clear
           about how to find the people that actually do this, and the meas-
           ures put in front of us would not have actually stopped these shoot-
           ings. I yield back.
              Chairwoman MALONEY. The gentleman’s time has expired.
              Votes have been called to allow members to vote. The committee
           will stand in recess until the end of the first vote series.
              The committee stands in recess.
              [Recess.]
              Chairwoman MALONEY. The committee will reconvene.
              The gentlelady from Michigan, Ms. Tlaib, is recognized for five
           minutes.
              Ms. TLAIB. Thank you so much, Chairwoman, and thank you so
           much for all of you for being here.
              Sometimes Congress often feels like it is in its own little world
           separated from the rest of the country, but I hope this morning,
           hearing the witnesses’ strength and courage, inspires meaningful
           action here. The biggest fear I have as a Member of Congress, but
           also just really a mother in America, is that when Buffalo and
           Uvalde stops being in the headlines, everyone here will go on and
           do nothing. Other violent shootings never reached those national
           headlines, like the four shootings in the span of a week in the city
           of Ecorse in my district.
              With that in mind, I want to really talk about AR–15s. A few
           weeks ago in Buffalo, one person armed with an assault rifle car-
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           ried out a racist act of terrorism in a historically Black community.
           And you may have heard my colleague from California, Congress-
           woman Porter, talk about how the shooter there having to re-round
           or reload the gun actually helped save lives because they have a
           ban on AR–15s in the state of California.
              So, Mr. Suplina, the gunmen in each of these kind of mass shoot-
           ings use assault weapons to carry out their attacks, correct?
              Mr. SUPLINA. Correct.
              Ms. TLAIB. In a span of one minute, how many people could a
           person kill with an AR–15?
              Mr. SUPLINA. I don’t know the answer to that question, but the
           answer is with the right high-capacity magazine, these are de-
           signed to inflict the maximum amount of damage in that time.
              Ms. TLAIB. And Buffalo was about two-and-a-half minutes, some-
           thing of that sort?
              Mr. SUPLINA. Correct.
              Ms. TLAIB. How many people? Ten?
              Mr. SUPLINA. Correct.
              Ms. TLAIB. Ten that killed. How many were injured?
              Mr. SUPLINA. Three more.
              Ms. TLAIB. And Ms. Everhart testified about the damage to those
           even that survive?
              Mr. SUPLINA. That is correct.
              Ms. TLAIB. Talk about that, because I am just thinking of the lit-
           tle 4th graders and 5th graders that survived the shooting and
           what is happening, of not only the trauma, but their livelihood of
           having that kind of trauma to your body.
              Mr. SUPLINA. Gun violence in America is deaths, it is injuries,
           and it is the community trauma that starts at the scene of these
           crimes and ripples out. And we too often don’t talk about those that
           survive their wounds but have to live with them forever, and the
           family members who need to take care of them. We don’t talk
           about the costs on society, that, you know, loss of work, loss of
           mental well-being, costs to our society, not to mention those that
           aren’t hit by a bullet but whose lives are forever changed.
              Ms. TLAIB. So, many of my friends who are in the military serv-
           ice and been trained to use AR–15s tell me that there is this big
           opposition to call them weapon of war, but they are, correct?
              Mr. SUPLINA. They are not only weapons of war, but they are lit-
           erally designed and based on weapons in current use in the mili-
           tary, correct.
              Ms. TLAIB. One of the things, and if I may, Chairwoman, to enter
           from The New York Times, article, ‘‘The Mass Shootings Where
           Stricter Gun Laws Might Have Made a Difference.’’
              Chairwoman MALONEY. Without objection.
              Ms. TLAIB. You know, I have not thought about that. I was more
           focused on banning assault weapons, but as they went through,
           they said four gunmen were the under the age of 21 that purchased
           their weapons legally, and they went on to say, you know, the num-
           ber of people that were killed. And it even goes on to talk about
           the use of, like, so-called assault weapons or weapon of war, as
           some of my veterans in my community call them, that the easy ac-
           cess to them is even mind boggling for those that serve our coun-
           try, but even in some of these committees had no idea that is how
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           accessible they are, that lot of the parents don’t even realize that
           this person was able to just go to the corner department store and
           get it. The American people don’t realize how accessible these
           weapons of wars are.
              Mr. SUPLINA. The reason that the country currently requires you
           to be 21 to own a handgun is because the country came to under-
           stand the lethality of handguns and use in crime. The reason the
           country did not raise the age on long guns is because what comes
           to mind is the hunting rifle that you use, you know, in a rural area
           that 18-year-olds are more than capable of learning to shoot on.
           These are AR–15s. These are designed for people with military
           training, and, yes, in most places, you can walk in as an 18-year-
           old into a department store and buy one.
              Ms. TLAIB. Thank you. Ms. Pringle, really quickly. I told you, in
           tears, breaking down of friends I have known for a long time as
           teachers buying literally ladders to bust the window down to be
           able to climb out of their classroom in situations like what we saw
           in Texas. What are you hearing from teachers other than that, be-
           cause I hear them talking about getting bullet proof vests for
           not——
              Chairwoman MALONEY. The gentlelady’s time has expired. Ms.
           Pringle may answer, briefly.
              Ms. PRINGLE. I am hearing from teachers all over this country
           that what is being asked of them, to stand in the gaps to protect
           students is unacceptable, that they should not be the ones respon-
           sible for trying to protect them against assault weapons that are
           killing students in two minutes, four minutes, all of the students
           and the adults were killed in Columbine. We should not bear that
           burden. That is not our responsibility. Our responsibility is to teach
           our students.
              Chairwoman MALONEY. Thank you. The gentleman from South
           Carolina, Mr. Norman, is recognized. Mr. Norman?
              Mr. NORMAN. Thank you, Madam Chairman. Ms. Pringle, are
           you familiar with the NEA’s section, an end to policing in schools?
              Ms. PRINGLE. What are you referring to?
              Mr. NORMAN. The provision that basically, it is a call to action
           for police-free schools.
              Ms. PRINGLE. The NEA has not taken a position on police-free
           schools. What we have done is we have taken a position on ensur-
           ing that every student, everyone has access to a quality education,
           and that they attend a safe, and supportive, and nurturing envi-
           ronment in which every one of them can learn.
              Mr. NORMAN. But as far as it relates to having police officers
           armed, does that make students safer at the schools in your opin-
           ion, as being head of the NEA?
              Ms. PRINGLE. Having police officers armed?
              Mr. NORMAN. Uh-huh.
              Ms. PRINGLE. I don’t understand your question. You mean gen-
           erally having police officers armed?
              Mr. NORMAN. In schools, are children more safe if the resource
           officers and/or armed police are armed?
              Ms. PRINGLE. We have school resource officers in our schools
           where we work and engage in making sure that they have the
           training and the support that they need——
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              Mr. NORMAN. You are not answering my question.
              Ms. PRINGLE [continuing]. so that they can engage with our stu-
           dent’s social, and emotional, and academic life.
              Mr. NORMAN. OK. So, you do not agree that armed resource offi-
           cers or police make children safer?
              Ms. PRINGLE. We believe that when you are in a school environ-
           ment——
              Mr. NORMAN. OK. You are not going to answer the question.
              Ms. PRINGLE. I did answer the question.
              Mr. NORMAN. No, you didn’t. You——
              Ms. PRINGLE. Yes, I did.
              Mr. NORMAN. Well, let me put it to you again, Ms. Pringle. Do
           you think trained school personnel, who are trained and are per-
           mitted to carry concealed weapons, are more of a threat to students
           or would they keep our students safer? This will be the last ques-
           tion I ask——
              Ms. PRINGLE. Our teachers throughout this country overwhelm-
           ingly reject the idea of arming teachers in our schools. More guns
           in schools mean more killings.
              Mr. NORMAN. OK. So, no teacher with a concealed weapon, and
           I assume since you didn’t answer, no resource officers ought to
           have a gun. The only one that should have guns are the people that
           come in there to do harm is basically what you are saying.
              Ms. PRINGLE. I did not say that. I didn’t say that.
              Mr. NORMAN. Yes, you did not answer the question. Ms. Swearer,
           the International Journal of Policing Strategies and Management
           concluded that the presence of a school resource officer reduces the
           fear of crime among students, and it increases the safety among
           the students. Is that a true statement?
              Ms. SWEARER. I believe, based on the evidence, that it is.
              Mr. NORMAN. There is no question about that, is there?
              Ms. SWEARER. No. Again, I believe the evidence is pretty un-
           equivocal.
              Mr. NORMAN. And if armed teachers or really the police had gone
           in earlier, the carnage would not have been as grave, correct?
              Ms. SWEARER. I think especially when you look at the prevent-
           able blood loss and the ability to get first aid to students who spent
           78 minutes not receiving that first aid, yes, that is incredibly im-
           portant.
              Mr. NORMAN. And you would think that arming teachers and ad-
           ministrators would have quicker responses to stopping school
           shooters, right?
              Ms. SWEARER. Obviously we should look at ways of ensuring that
           we don’t get to that point. But yes, when that point has been
           reached, the armed response and the quickness of that response is,
           at that point, the primary thing that matters in terms of saving
           lives.
              Mr. NORMAN. Just like it has gotten to the point in this country
           under liberal administrations and the Democrats who want to dis-
           arm the police, we have got to have police officers in churches, of
           all places, who are armed, which is a sad day in this country.
              I want to yield the balance of my time to Mr. Clyde.
              Mr. CLYDE. Thank you to my colleague from South Carolina.
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              Ms. Swearer, Democrats have advocated for a gun buyback pro-
           gram like the one in Australia. Do you think this would work in
           the United States?
              Ms. SWEARER. No. I think the research on the Australia ban has
           one of several things that has been greatly mischaracterized today.
           Yes, rates of gun violence generally dropped, but it did so in every
           developed country around the world during that time, including in
           the United States, even though our number of guns per capita al-
           most doubled during that time. Additionally, when you look at
           mass shootings before that ban and after that ban, before the ban
           they were very rare in Australia comparatively, especially com-
           pared to the United States. Those types of shootings were over-
           whelmingly not carried out by the types of weapons that were
           banned. And so there doesn’t even seem to be some sort of logical
           connection even if you are looking at again these statistically low
           incidences. Thank you.
              Chairwoman MALONEY. The gentleman’s time has expired.
              The gentleman from Maryland, Mr. Sarbanes, is now recognized.
              Mr. SARBANES. Thanks very much, Madam Chair. I want to
           thank the witnesses for being here today. I want to acknowledge,
           as others have done, the powerful testimony that we heard from
           the first panel today. As we know, we heard this statistic now
           many times today, each year more than 45,000 Americans are
           killed by guns, and nearly 10 percent of those killed are children
           for whom gun violence is now the leading cause of death in the
           United States. Yet for nearly 25 years, until 2019, the strength of
           the gun lobby up here on Capitol Hill prohibited the CDC from con-
           ducting research on gun violence, effectively preventing us, the
           Federal Government, and Congress, and others, from treating gun
           violence as the public health crisis that it is. In addition to the
           human toll, gun violence is draining our public health system. Ac-
           cording to GAO, gun violence costs the U.S. $1 billion per year in
           initial hospital costs alone. Medicaid and other public programs
           shoulders 60 percent of those costs, so we are paying for this vio-
           lence.
              To meaningfully address the gun violence epidemic in our coun-
           try, as we have been saying again, and again, we must pass com-
           monsense reforms while also investing in evidence-based preven-
           tion strategies and working with communities to address the com-
           plex and systemic issues that drive gun violence. And when I say
           commonsense, what I have in mind is many of the measures that
           we are going to have on the floor today as part of this legislative
           packet and tomorrow. ‘‘Commonsense’’ to me means when you ask
           the average person out there in the country, including by the way,
           the average law-abiding gun owner, does it make sense to do this,
           they say, absolutely, it makes sense. They do not fear these meas-
           ures because they know that, overall, it will create a more rational
           world and country for us to live in.
              And we have heard much about the Second Amendment. No one
           is here to try to amend or take away the Second Amendment right.
           The First Amendment is also very important to us, and we know
           that there are some limitations that are placed there. We don’t
           allow people to yell fire in a crowded theater. So, as sacrosanct as
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           these amendments are, we can put rational commonsense meas-
           ures in place to achieve the right balance.
              Mr. Jackson, you are a gun violence survivor, as you so compel-
           lingly testified earlier, and you are an advocate for reform. Most re-
           cently, as I understand, you had been on the ground in Buffalo,
           working to help the community recover from a horrific mass shoot-
           ing that we saw there a few weeks ago. Can you describe what you
           have been seeing there in the weeks since the tragedy, and what
           you know, based on your experience, is coming for that community
           in the weeks and months and years ahead in terms of dealing with
           this? And speak, if you could, to this sense of powerlessness that
           so many people feel when they look at Washington, this idea that
           please do something real that can make a difference, just some-
           thing.
              Everyone knows this problem is too complicated to flip a switch
           on. You can’t solve it overnight, but it is this sense of being power-
           less in the face of gun violence because I think it is so demoralizing
           to individuals, certainly to many Members of Congress, and I am
           sure to communities like Buffalo and others that are experiencing
           this pain. So, if you could speak to that, I would very much appre-
           ciate it.
              Mr. JACKSON. Yes, thank you. You know, when I arrived at Buf-
           falo, for folks who don’t know a lot about the community, 80 per-
           cent of the African-American community is concentrated in one
           part of Buffalo, and when we got there, we saw instantly how far-
           reaching this trauma had impacted people throughout the commu-
           nity. The first vigil I went to, there was over 600 people there, torn
           apart. Every person you met was either a family member, a neigh-
           bor, a church member, went to school with someone, was coached
           by someone. Ms. Pearl Young was the first lady of our church, so
           you think about the generations that she touched. I met one young
           man who was the nephew of Heyward Patterson, who had eight
           children and couldn’t even bring them to the funeral because he
           didn’t want them to be re-traumatized by what had happened.
              And we talk about violence and its impact. Yes, 10 people were
           impacted and killed, yes, we know those families, but what we
           don’t see is the trauma that ripples through the entire community.
           We had people literally on their knees crying. We had folks, senior
           citizens in walkers coming to memorials in tears, individuals
           screaming at the sky in anger. And while there were hundreds of
           cameras, there were very little people there to help them. There
           were very little victim services, support services. There were very
           little people to provide trauma care for those who have been im-
           pacted. And what we are most concerned about now is what does
           that ripple of trauma look like. We know violence is a disease, but
           now in Buffalo, we have an entire community, and I would argue
           the entire Black community across the country, who have been ex-
           posed to this disease. And I think it reinforces the extent of this
           public health crisis and why it is so urgent that we take a com-
           prehensive public health approach to support those who have been
           directly impacted, as well as those who are impacted indirectly by
           this trauma.
              Chairwoman MALONEY. The gentleman’s time has expired.
              Mr. SARBANES. Thank you for your——
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              Chairwoman MALONEY. The gentleman from Kansas, Mr.
           LaTurner, is now recognized.
              Mr. LATURNER. Thank you, Madam Chairwoman. We have four
           children, a preschooler, a 2d grader, a 4th grader, and a 5th grad-
           er. I was heartbroken by what happened in Uvalde and in Buffalo,
           and I join all Americans in praying for these victims’ families, but
           not just praying for the victims’ families, but willing to come to the
           table to try to find meaningful solutions that can prevent this from
           happening again. After events like this occur, many lawmakers
           seek simple solutions to complicated issues. However, Congress
           must focus on the root cause of violence by prioritizing mental
           health and school safety resources, and by disincentivizing rising
           crime in cities. Now is the time to come together, to use and im-
           prove on the tools at our disposal, and find new ways to ensure
           that this never happens again rather than spend time on proposals
           that will not fix this problem and seeks to rob law-abiding citizens
           of their rights guaranteed by our Constitution.
              Ms. Swearer, Federal school safety grants and programs have be-
           come more plentiful and accessible over the past several years.
           SchoolSafety.gov, for example, is a central location where HHS,
           DOJ, DHS, and the Department of Education collect actionable
           safety recommendations for schools. The site also has a grants find-
           er tool to help administrators navigate a growing collection of Fed-
           eral grant programs related to school safety. Speaking from your
           research and experience, are resources like this helpful for state
           and local educational agencies. And are they being utilized?
              Ms. SWEARER. They are absolutely helpful. You know, again, we
           have talked about the benefits of all of these things at various
           times today. In terms of their underutilization, I do not have the
           data in front of me. I suspect the answer is it is being underuti-
           lized. I suspect that based on the continued problems that we do
           see, but I also know that plenty of schools are availing themselves
           of that, and I think that is of great benefit to the safety of their
           students and teachers and staff members.
              Mr. LATURNER. Would you care to comment on ways in which we
           can encourage more participation, more utilization of these re-
           sources?
              Ms. SWEARER. Well, first, I think the publicity of, you know, ena-
           bling schools to know that they are out there, but also of helping
           schools and school districts understand the importance of looking
           in these directions. Like, even if you think you can magically snap
           your fingers and tens of millions of assault weapons will disappear
           tomorrow and that that will make a meaningful difference, the re-
           ality is you are still going to have threats in the meantime because,
           realistically, it is going to take decades for that to come out of cir-
           culation. You are still going to have the underlying problems. You
           are still going to have other weapons. In the meantime, this is still
           a viable option for those immediate threats. Even if you disagree
           with me on it, everything else related to gun control, this is still
           a viable option for the here and the now in the immediate context
           of protecting life.
              Mr. LATURNER. What types of warning signs could be recognized
           in students who may consider carrying out acts of violence in
           schools? And how do Federal grants help teachers, resource offi-
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           cers, administrators, and counselors identify students’ mental
           health crises and prevent acts of violence?
              Ms. SWEARER. So, a lot of these students, especially in a school
           shooting context, but just generally across the board for people who
           commit acts of mass public violence, they have long histories at
           that point of showing themselves to be a danger to themselves or
           others, either inflicting self-harm, harming animals, having suici-
           dal tendencies, you know, showing other concerning signs of violent
           behavior. I think you have seen the quintessential examples of this
           in Uvalde and in Parkland. When you look at the data on thwarted
           school shootings, and thwarted mass public shootings, it is sort of
           like this chain link of prevention, right, where you had people who
           were able to recognize those signs, say, hey, this is a concern, be
           able to take it to someone with the authority, to do something to
           intervene, it was taken seriously. And then there was a mechanism
           in place to intervene. And so, you know, any sort of process that
           helps that, all of those links along that chain come together is im-
           portant because that is how you save lives. That is how you suc-
           cessfully intervene because those options for intervention are so
           often and so clearly there.
              Mr. LATURNER. Undoubtedly, you are right, that there are ways
           to intervene, and we ought to encourage that and incentivize and
           provide resources for it at the Federal level. I just have a little bit
           of time left. What are some ways that technology can play a role
           in improving school safety?
              Ms. SWEARER. Yes, I am not quite sure what you mean by ‘‘tech-
           nology,’’ whether you mean social media or——
              Mr. LATURNER. I mean social media, and I mean physical secu-
           rity on campus.
              Ms. SWEARER. Sure. So, some of it is just the physical security
           of being able to buzz people in and out and making sure that there
           is secure access and security cameras, and using best practices for
           physical safety, some of which involves the best practices for tech-
           nology. But again, I mean, we have referenced social media. You
           know, I am not a big tech expert, but certainly whatever it takes,
           that when these——
              Chairwoman MALONEY. The gentleman’s time has expired. OK.
              Ms. SWEARER. It is the same, finding the signs of dangers wher-
           ever they come from, whether it is——
              Mr. LATURNER. Thank you.
              Chairwoman MALONEY. The gentlelady from California, Ms.
           Speier, is now recognized for five minutes.
              Ms. SPEIER. Thank you, Madam Chair. Thank you for your lead-
           ership. I must say that this has been a very tough hearing to listen
           to. First of all, let me thank all the witnesses who are here, and
           the first panel in particular. I am haunted by what Dr. Guerrero
           said, that he went into the emergency room and one of the dead
           children was decapitated. Think about that, decapitated.
              Commissioner, when you went into the Tops grocery store, I
           think we spend too much time sanitizing what assault weapons
           does to the body. Can you give us some descriptions of what you
           saw on the ground when you got to Tops?
              Mr. GRAMAGLIA. I won’t just get into that description, but I have
           been at——
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              Ms. SPEIER. No, I want you to. I want us to hear it.
              Mr. GRAMAGLIA. Yes, I want to expand on that. I have been to
           numerous shootings throughout my career that were the result of
           high-powered rifles, assault rifles and the cavernous holes that
           they leave in bodies. Decapitation is a pretty good explanation for
           it. Some people couldn’t be buried with an open casket. Yes, the
           damage was absolutely devastating, and not just in that one, but,
           as I said, in other homicide scenes that I have been to, it is a dev-
           astation. It is incredible.
              Ms. SPEIER. I am a victim of gun violence. I know what it does
           to a body, and I cannot believe that my colleagues don’t recognize
           that prohibiting the sale of an assault weapon until the age of 21
           isn’t going to save lives. It is the impulsive actions by 18-year-old,
           probably men, that have cost 30 people’s lives just in the last
           month. And we are not supposed to be hardening schools. They are
           not supposed to be prisons.
              Ms. Pringle, let me ask you, in your conversations with the
           teachers in the 199 incidents of gun violence on school grounds just
           last year, and the more than 311,000 students since Columbine
           that have been victims of gun violence experience, what does that
           inform you? What do the teachers tell you?
              Ms. PRINGLE. I met with survivors from, teachers from Sandy
           Hook and from Parkland, and students from Parkland and when
           I was in Houston, in Texas. And what they said to me reflected
           what teachers all over this country are saying, and that is that the
           impact to the school community is forever.
              Ms. SPEIER. Is forever.
              Ms. PRINGLE. It doesn’t end. It is forever. And the idea of turning
           our schools into prisons, into places where they are not conducive
           to teaching and learning, that is not the solution to this problem.
           We all know what the solution to this problem is. It is comprehen-
           sive gun reform in this country. We know what it is. We are not
           supposed to be holding our students and our teachers responsible.
           We all heard Mr. Reyes crying from his bed in the hospital, saying,
           ‘‘I didn’t protect my students. I didn’t protect my students.’’ He
           should not be burdened with that. We are asking for Congress to
           do its job right now.
              Ms. SPEIER. Thank you, Ms. Pringle. Mr. Jackson, you, too, are
           a victim of gun violence. Does that trauma ever leave you?
              Mr. JACKSON. Not one day. Anytime you hear a loud sound, any-
           time you see an argument or a fight or even a movement of a
           crowd, I am triggered over and over again, and I don’t even need
           that. Every day we turn on the news and we see how prevalent vio-
           lence is in our communities. You know, we say over 100,000 people
           have been shot or injured by gun violence, but I really think that
           is a low estimate because in my community alone, I know at least
           eight people who have been directly impacted. And every morning
           I wake up, I have to apply ointment to my wound. I have to watch
           news as a reminder of this crisis, and then I also have to listen to
           politicians in chambers like this make excuses about why they
           can’t take action. All of that is triggering.
              Ms. SPEIER. Thank you, Mr. Jackson. I would like to submit for
           the record this article that references that the young man in
           Uvalde, who massacred 19 children and two teachers, had $5,000
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           worth of guns and ammunitions, and he was working at an In-n-
           Out Burger restaurant.
              And the question, Madam Chair, that we need to ask is, where
           did he get the money for that? I yield back.
              Chairwoman MALONEY. The gentlelady yields back.
              The gentlewoman from Illinois, Ms. Kelly, is now recognized.
              Ms. KELLY. Thank you, Madam Chair. The first thing, I would
           like to take a moment to respond to my Republican colleague’s com-
           ment that Democrats are using children as political props. These
           are the same tired arguments used by the gun lobby to prevent
           meaningful change after Sandy Hook, after Parkland. When vic-
           tims and survivors speak up and demand change, the gun industry
           and its supporters in Congress question their motives. It is frankly
           shameful. Despite suffering unimaginable pain, our witnesses
           wanted to share their story, even the young lady. They had dared
           to hope that their trauma and heartbreak could be turned into
           something good. They are pleading with us to do our jobs. All I am
           asking my colleagues to do is open your hearts and listen, and I
           hope we still have enough humanity in this body to do this.
              We have been talking a lot about mass shootings, and I want to
           thank all the witnesses. I have long talked about the everyday gun
           violence that exists in our communities. The city of Chicago faces
           this every weekend, really every day. Over Memorial weekend, 42
           people were shot, and 33 people were shot this past weekend. Tack-
           ling this issue will take community-based approaches.
              Mr. Jackson, thank you for sharing your story and the work we
           have done together. Your organization uses community-based ap-
           proaches to fight everyday gun violence through community inter-
           vention programs. Can you talk about the structural factors that
           drive gun violence in a community?
              Mr. JACKSON. Yes, thank you. You know, we are big proponents
           for community-based violence intervention strategies because we
           know that can reduce the risk factors and address the root causes
           of violence. Over the course of the pandemic we saw a 39 percent
           increase in homicides in the Black community. And that is not be-
           cause there were less policing. That is not because sentencing
           wasn’t harsh. That was because the other root causes of violence
           were intensified. When we look at the lack of access to safe spaces,
           economic inequality, housing instability, the reinforcement of pov-
           erty, all of those fueled violence. And then on top of that, we
           poured in this flood of guns into our communities. We talked about
           New York earlier. Eighty-four percent of the guns in New York
           come from outside of the state, and that is what our communities
           are going through every single day. We are being flooded with fire-
           arms into the communities that are most vulnerable.
              And these community-based violence intervention strategies
           focus on victim services for those who have been impacted, sup-
           porting their families, providing therapeutic care for those trauma-
           tized, providing intervention tactics that work with folks in the
           hospitals to prevent them from retaliating. We know that 40 per-
           cent of the people who have been shot, within five years will be
           shot again or killed without any form of intervention, and hospital-
           based violence intervention does this, as well as cognitive behav-
           ioral therapeutic programs that work with those who are most at
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           risk, who maybe have had a violent history and help them shift
           their lifestyle through therapeutic and behavioral changes. In cer-
           tain communities we have seen violence reduced by 60 percent, and
           I have a whole list of examples which I can submit to the record,
           but we know these programs work.
              What we also know is that the Federal Government has not been
           investing in these efforts and has not been funding these efforts
           that we know bring peace to our community, and that is why we
           have been working together to push such legislation.
              Ms. KELLY. And hopefully we can change that and get Steven
           Horsford and Senator Booker’s legislation passed. Commissioner,
           you helped your community heal after the horrible mass shooting
           last month, that you are helping them to heal, but you also see the
           destruction reoccurring on violence in Buffalo. Can you talk about
           how your police department works with organizations to implement
           community violence intervention strategies?
              Mr. GRAMAGLIA. I am a strong believer in the Violence Inter-
           rupters’ strategy. We work very closely with them. They get out in
           the community. They can say and do things that we can’t because
           they are credible messengers. We use them a lot in place of where
           police officers might go to handle a situation. They are also very
           helpful in getting guns turned in at times. But the problem we
           have is, as my colleague, Mr. Jackson, said, the flood of guns that
           are coming into our communities, the ghost guns that are coming
           into our communities.
              And one of the scariest things I just heard the other day at a gun
           meeting in my department is that about a half a dozen ghost guns
           recently were firing fully automatic, not because they had a switch
           on them, because they were being modified and not modified prop-
           erly, I guess if that is a term to use for a ghost gun. But it is the
           flood of guns that are coming in, where are they coming from. And
           we don’t want to take guns away from law-abiding citizens. We
           want to stop the flow of guns coming in.
              Ms. KELLY. Well, I have a trafficking or purchasing bill I am
           going to run and talk about in a little bit because, representing
           Chicago, we have the same problem. And really quickly to Ms.
           Swearer, how do you explain the number of gun owners who sup-
           port what we are trying to do, or the number of Americans that
           support, Democrat or Republican, doesn’t matter, Independents?
           But I was at a press conference yesterday, and a swarm, they had
           shirts on of ‘‘Gun Owners Support Gun Safety.’’ That is what we
           are talking about.
              Ms. SWEARER. It is because it is not until you actually explain
           to them what existing laws are and how these laws fail to actually
           accomplish those goals. When you actually do that, those numbers
           drop repeatedly. And actually, I believe I saw, it might have been
           The New York Times, had an article precisely on this today. It is
           just because people don’t understand what is being talked about
           when you reference an assault weapon or universal background
           check. And so when that is explained to them, that number actu-
           ally drops off considerably.
              Ms. KELLY. Well, the——
              Chairwoman MALONEY. The gentlewoman’s time has expired.
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              Ms. KELLY. The head of the Gun Violence Prevention Task Force
           is a gun owner. Val Demings is a gun owner. Many people on the
           task force, and they certainly know the legislation, and they are
           still pushing it. I yield back.
              Chairwoman MALONEY. The gentlelady yields back.
              The gentleman from Kentucky, Mr. Comer, is recognized.
              Mr. COMER. Thank you, Madam Chair, and, again, I want to
           thank our witnesses for being here today. This has been a very ro-
           bust discussion, very difficult issue, brings out a lot of emotion. I
           appreciate everything that you all are discussing and fighting for.
           I had the opportunity to go first in questions, and I like to go to-
           ward the end because I like to listen to the debate, try to learn,
           listen to what other people say and pick up some points that people
           make. And one of the points that Ms. Ocasio-Cortez made was that
           some of the guns, when we referenced the amount of gun violence
           in New York City, that a lot of those guns were coming from out-
           side New York City, and I would say that is probably right.
              We have in Kentucky a fentanyl problem, and I think just about
           every congressional district has a fentanyl problem. Our law en-
           forcement tells us that fentanyl is coming across the border, and,
           you know, it is frustrating for us because we have had 100,000
           deaths with fentanyl, and we believe that could be reduced by se-
           curing the border. But as I was thinking about that, I wonder if
           we ban certain types of weapons, Ms. Swearer, just wondering, I
           wonder if the Mexican drug cartel, who is profiting from all the
           illegals crossing into the United States, they are profiting from all
           the fentanyl and much of the crystal meth that is in the United
           States, I wonder if it is possible that they would get into the gun
           business?
              Ms. SWEARER. Well, I think that might be the least of the worries
           at that point. I mean, you would still have 400-million plus pri-
           vately owned firearms in this country. There would need to be
           some sort of coherent enforcement plan. Americans routinely do not
           turn in these weapons. I mean, you look at, I think it was New Jer-
           sey, when they banned magazines capable of 10 or 15 rounds, no-
           body turned those in. Out of a million of them, nobody turns those
           in. You know, the people who do turn them in, let’s say we are
           even twice as successful as Australia, you still have 200 million
           guns in this country, most of them now in the hands of the lesser
           law-abiding segment of society who didn’t bother to turn them in,
           who didn’t turn in their assault weapons.
              So, I mean, and we would be holding hearings, too, about, you
           know, who is this being enforced against. If I may be blunt, these
           laws are less likely to be enforced against white suburbia. We are
           now going to be having hearings about how they are being enforced
           against poor people of color, and that helps no one. So, I mean, I
           am not going to get into speculations about drug cartels, but I will
           say we will have several other problems that would be primary.
              Mr. COMER. What do you think, Mr. Swearer, that we should do
           instead of passing gun control laws to make our community safer?
              Ms. SWEARER. I think, again, as I have outlined, one of the first
           things you can do is focus on the mental health and the well-being
           of communities, I mean, things that help communities flourish,
           whether it is focusing on mental health, two-thirds of gun deaths
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           are suicides. As Mr. Jackson noted, you know, there are a lot of
           issues that are interrelated. It is very seriously interrelated with
           violence and violent crime. Focusing on stemming those issues,
           whether it is access to safe spaces, whether it is mental health,
           whether it is educational and job opportunities, the things that
           make families and communities flourish are the things that reduce
           violent crime. And, again, it does more than reduce violent crime,
           because now we are talking about human flourishing on top of
           that.
              Mr. COMER. My friend, Ro Khanna, also mentioned about violent
           criminals having guns, and, you know, our position is violent crimi-
           nals should be in jail. I think that is the position of everyone on
           this side of the aisle. How can we empower law enforcement profes-
           sionals and our criminal justice system to bring violent criminals
           to justice and keep them off our streets?
              Ms. SWEARER. Well, I think, you know, I am hesitant to actually
           blame law enforcement for a lot of those issues.
              Mr. COMER. I am not blaming law——
              Ms. SWEARER. Right, no, no. I mean, at the end of the day, you
           know, what happens to them afterwards, that is out of the hands
           of law enforcement. That is local prosecution.
              Mr. COMER. Exactly.
              Ms. SWEARER. That is, you know, dealing with laws, about the
           parameters of what those prosecutors can and can’t do, you know.
              Mr. COMER. Right.
              Ms. SWEARER. So, I think it is more complex than that, you
           know, and it is going to come down to what state or locality we are
           talking about where that problem might exist, but that is that is
           a major focus, yes.
              Mr. COMER. That is very good. I agree. There is a trend in a lot
           of the cities where there is the most violence with guns. These cit-
           ies have strict gun control laws already in the books that the crimi-
           nals aren’t abiding, but they also have many prosecutors, including
           the one in San Francisco who was recalled last night, who had
           been very lax on criminals. I think the criminal justice system was
           created to try to help people that had been unfairly incarcerated
           for minor things like marijuana possession. I think there should be
           bipartisan support for people who are in prison for little things like
           marijuana possession to be let go. I support that, but I think it has
           gone too far. And we have criminals now that are that are on the
           street, and that is not good. In the name of COVID, a lot of pris-
           oners in this town, Washington, DC, were let out, and we have
           seen, you know, a spike in crime.
              So, I think that there are many points we need to consider mov-
           ing forward, and, Madam Chair, I am wrapping up. Obviously we
           need to invest in school security. We need to invest in resource offi-
           cers. We need to have better-trained school resource officers, and
           we need to share data on mental health issues and any potential
           threats with kids from social media and things like that. Thank
           you——
              Chairwoman MALONEY. The gentleman’s time has expired.
              The gentlelady from Michigan, Mrs. Lawrence, you are now rec-
           ognized.
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              Mrs. LAWRENCE. Thank you so much. History teaches us a lot of
           things. We have heard our educators, and our community orga-
           nizers, our law enforcement talk about the stagnant action of noth-
           ing. So, we will have someone like Ms. Swearer come in and say
           that it is not the guns, the guns are not the problem, keep them
           coming, everybody has that right, and we move forward. Then
           there is another shooting, but it is not the guns. You can’t kill
           someone in multiple rounds without a weapon.
              We own cars in America. In order to own a car in America, you
           first have to buy it and get a registration for it. In order for you
           to operate a car, you have to take a test, and you have to follow
           laws. If you fail to do that, that car is taken from you. It is a car.
           It is not a gun. And we are still talking about background checks.
           Yes, we need to talk about mental illness, but what happens after
           we do all our prayers and best wishes, which I can say my col-
           leagues on the other side are beautiful at prayers and best wishes,
           but never bring forth a bill that would address this crisis in Amer-
           ica.
              It is unacceptable. We cry when we think about these babies. We
           heard the descriptions of these bodies where a person, who was
           clearly unfit to own a gun, walked in and legally purchased a gun
           at 18, and used that gun within hours to not only kill his family,
           shoot or injure his family, but others. It comes a point of time when
           this deflect, deflect, don’t do it because if they pass one law, it is
           a slippery slope, I have heard it, don’t let them take away your
           guns, that is our right. When in America, when we have more guns
           than people, does the sickness of operating and owning a gun kicks
           in that we in America have a problem?
              I know for a fact if you drive a car you bought, and you have to
           put on a seatbelt. We don’t care if it is uncomfortable. We don’t
           care if you don’t like it. You have to put that seatbelt on, and if
           you don’t put that seatbelt on, if you repeatedly do it, we will take
           away your license to drive that car. First of all, we studied the
           deaths and we found out how many people die in car crashes, and
           you know what? We said we want to stop the deaths in car crashes,
           and look at all the innovation: airbags seatbelts. We stepped up as
           America.
              And we keep talking about our faith in God and how we love peo-
           ple and equality. How can we say we love God when we take a gun
           and shoot and kill people, and if someone does it, you sit back and
           drop your hands, say prayers and best wishes? It is time. It is time
           for us as America and this body to stand up and confront the fact
           that it is sick. It is sick to think that if I have a gun, nothing is
           going to happen to me, and I become a gigantic figure. I had a
           member tell me that his five-year-old wanted a pink gun for her
           birthday—five-year-old—and he said, when you get old enough for
           your fingers to operate the gun, I will buy you a gun. And he did,
           and he thought that was a good thing. And I am sitting here say-
           ing, you know, I would stand up in court and say you needed to
           go to jail, a five-year-old with a gun, and the only purpose of a gun
           is to kill something.
              So, you are giving a five-year-old, who is not mentally capable of
           making decisions, a gun. That is sick. It is no way you can ration-
           alize that. And you have homes throughout America, they have
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           their gun in the back of the car, they are wearing open carry. It
           is like the Wild, Wild West. We have evolved as a country. We have
           all these technology and advancements, but we are literally going
           back to the Wild, Wild West where we stand up and we have a
           shoot down in the middle of the street, people die, and we just walk
           away and blow the smoke off the gun. It is unacceptable.
              And I know I am supposed to be asking questions, but if I can
           just impact one person. And like my colleague said there is large
           number of Americans who say can you just do something other
           than prayers and best wishes. If someone shot and killed your
           child, you would not be sitting here wanting to hear about my con-
           stitutional right to own a gun. Well, I will give my prayers and
           best wishes for you because when you lose a child over gun vio-
           lence, it is unacceptable. I yield back my time——
              Chairwoman MALONEY. The gentlelady yields back.
              And the gentlelady from Massachusetts, Ms. Pressley, is now rec-
           ognized.
              Ms. PRESSLEY. Thank you, Madam Chair. And thank you to all
           of our witnesses here today, especially our survivors, those who
           shared their pain, their grief, and their trauma. I really do look for-
           ward to a day where our families and our children, children like
           little Miah, will no longer have to relive their trauma simply to
           compel action because only in America do we normalize mass
           shootings and the trauma left behind.
              Now, when a partner loses a spouse, we ascribe the word
           ‘‘widow’’ or ‘‘widower.’’ When a child loses their parent, we use the
           word ‘‘orphan.’’ There is no word to describe a parent who has suf-
           fered the devastating sorrow of losing a child. The unimaginable
           pain, grief, and trauma of burying your own baby, it just goes
           against the natural order of things. And with gun violence now the
           leading cause of death for children’s society, now we are searching
           for a word, for what do we call a surviving parent who has been
           robbed of their child due to a massacre? Only in America.
              So, whether it is our babies learning in Uvalde, our elder’s gro-
           cery shopping in Buffalo, or neighbors in my district, the Massa-
           chusetts 7th, whose experience don’t always make national head-
           lines but do deserve just as much attention, it is long past time to
           treat gun violence as the public health crisis that it is. We must
           do something about these damn guns. And yet predictively some
           are resorting to deflection and distractions, touting failed policies
           that do more harm than good, like arming teachers and milita-
           rizing police in our schools.
              Ms. Pringle, very eloquently, earlier today you said we need re-
           sources, not revolvers, in our schools, but yet we spent $1 billion
           over the last two decades to grow our school police. Mr. Pringle, in
           your experience does adding more police to schools end mass shoot-
           ings, yes or no?
              Ms. PRINGLE. No.
              Ms. PRESSLEY. I completely agree with you, and so do the major-
           ity of experts that have studied the impacts of police in schools.
              Chairwoman, I ask for unanimous consent to enter the following
           documents into the record: a 2015 study titled, ‘‘Preventing School
           Violence, Assessing Armed Guardians, School Policy and Context,’’
           a 2019 report titled, ‘‘Cops and No Counselors,’’ and a series of let-
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           ters from the Federal School Discipline and Climate Group and
           more than 500 community-based organizations on the need to end
           the mass policing of our students, and instead invest in trauma-in-
           formed services that make our schools and children safe.
             Chairwoman MALONEY. Without objection.
             Ms. PRESSLEY. Since Columbine, our country has approached the
           problem of school shootings by funding school police, $1 billion,
           thousands of school police officers, when 90 percent of our students
           can’t access a school nurse, a social worker, or a guidance coun-
           selor, and more than two decades later, we find ourselves in the
           same spot as before. Only in America. So, instead of contributing
           to the safety, the data shows that police in schools can have the
           opposite effect and actually result in making many students feel
           less secure.
             Ms. Pringle, what have you heard from educators and students
           about policing schools, especially from students who are Black,
           brown, LGBTQ, or disabled?
             Ms. PRINGLE. Our teachers, and, in fact, all of our educators are
           focused on making sure that they create a safe, welcoming environ-
           ment for every single student. We know that our Black, and brown,
           and indigenous students are disproportionately impacted by the in-
           equities in every single social system in this country.
             Ms. PRESSLEY. Ms. Pringle, I am sorry, I am going to reclaim my
           time because I am losing it here. I apologize.
             Ms. PRINGLE. Go ahead.
             Ms. PRESSLEY. Just ‘‘yes’’ or ‘‘no.’’ Outside of more police, some
           have recommended arming teachers, hardening our schools, and
           even constructing schools so that they only have one door. Is this
           a good idea?
             Ms. PRINGLE. It is turning our schools into prisons. That is never
           a good idea.
             Ms. PRESSLEY. Thank you. This is not an issue of the architec-
           ture of our schools. It is about the foundation of our country and
           whether we care about our people, our children more than guns.
           Every single life wrought by gun violence matters. The 87-year-old
           doing Bible study, the 27-year-old walking down the street, the
           seven-year-old learning to read, all had lives to live and dreams to
           achieve. Only in America do we consider arming teachers while
           failing to pay them a livable wage. Only in America do survivors
           have to go and start GoFundMe pages to afford mental health and
           trauma supports. Only in America do we expect survivors who have
           barely buried their loved ones to make the case for policymakers
           to save lives. I yield back.
             Chairwoman MALONEY. The gentlelady yields back.
             The gentlelady from Ohio, Ms. Brown, is now recognized via
           Zoom.
             Ms. BROWN. Thank you, Chairwoman Maloney, for holding this
           hearing. I would also like to thank the witnesses for coming, and,
           in particular, the witnesses on the first panel whose stories were
           simply gut-wrenching.
             In 2020, guns were the leading cause of death in children. Out
           of the 45,000 firearm-related deaths in 2020, more than 4,300 of
           these were children. Many more have been injured or traumatized
           by gun violence. Sitting here, it is hard not to feel angry that we
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           allow so many children to be killed by guns. Now, let me be abun-
           dantly clear. My job is not to take away guns. I, myself, am a li-
           censed gun owner. My job is to keep our communities safe. Our na-
           tional obsession with guns is killing thousands of kids each year.
           Every one of those kids deserve to grow up and live a full life. We
           cannot sit idly by and do nothing as guns are used to kill our chil-
           dren and fellow Americans.
              So, my first question is for Mr. Gramaglia. How does a red flag
           law work before you begin?
              Mr. GRAMAGLIA. A red flag law is designed that if there is some
           sort of a threat that is alleged, a threat to harm yourself or others,
           that is brought forward so law enforcement or another professional
           can bring that to a court. That is the due process of a judicial proc-
           ess where a judge will examine the evidence that was brought for-
           ward, will look to see what the circumstances are, and a judge will
           make a determination whether or not a weapon or weapons are to
           be seized. And that is for a determinant amount of time, to be re-
           viewed after a set amount of time where then that individual who
           had their weapons taken can come back in again and make a claim
           to get their weapons back.
              Ms. BROWN. Thank you so much. Mr. Suplina, why are we seeing
           an increase in child deaths due to guns?
              Mr. SUPLINA. Well, the short answer is that we are not doing
           anything. We are seeing an increase in child deaths because we
           don’t have the laws in place that we have been discussing this
           morning and this afternoon. We have not enacted child access pre-
           vention laws at the Federal level that could protect children both
           from unintentional access or rather unauthorized access and child
           suicide. The reasons go on and on. And children are dying in homi-
           cides in this country, they are dying by suicide, they are dying by
           unintentional deaths, and we have not addressed that. In the
           states that have, we see better outcomes, and I want to emphasize
           that because we gloss over it so much. In the states that are enact-
           ing these laws, even though their efficacy is lessened by the influx
           of firearms from other states, we are seeing lower mortality rates
           among children and the general population.
              Ms. BROWN. Thank you. Mr. Jackson for you. We have heard
           your testimony today about kids who have been traumatized by the
           horrors carried out in Uvalde, in communities that look like yours
           and mine. Can you share with us the impacts of gun violence on
           child survivors as well as their friends and family members?
              Mr. JACKSON. Yes. I mean, what we have to realize is that they
           have a lifetime of trauma that they have to live with. And we know
           that one of the biggest indicators of whether someone will become
           a future victim or even an offender of violence is had they been ex-
           posed to that trauma. And what is most terrifying for me is in both
           of these communities and communities all over the country, we are
           forgetting about victims and their trauma. We are not providing
           the services and support for them or their families, and there are
           people in Buffalo right now that have been abandoned by our gov-
           ernment and just asked to deal with that trauma. So, a huge thing
           that we can do now is fight for resources, for community-led vio-
           lence intervention and prevention strategies that include thera-
           peutic and trauma care for those who have been directly impacted.
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              Ms. BROWN. Thank you so much. I think we have all heard far
           too many stories of gun violence. Again, I personally have been im-
           pacted by losing the lives of three young men who were part of my
           youth ministry that did not live to see the age of 21. This has to
           stop. Enough is enough. We have the tools to make a difference for
           families across this country if we can just come together and find
           the political will, the compassion, and the courage, and the capacity
           to just do it. With that, I yield back.
              Chairwoman MALONEY. The gentlelady yields back.
              The gentlewoman from Missouri, Ms. Bush, is now recognized.
              Ms. BUSH. St. Louis and I thank you, Madam Chairwoman, for
           convening this hearing.
              In St. Louis, we know the devastation and the trauma of daily
           gun violence in our community. It is the drumbeat of violence
           where 6 people were killed and 14 shot within one weekend and
           in one part of our community where the population is only a little
           over 300,000, and it is not considered an anomaly. It is the daily
           occurrence of trauma and heartbreak in a community reeling from
           a Nation who is unwilling to act but can. So, many people in our
           community have been directly harmed by gun violence, and every-
           body in our community has been traumatized in some way.
              Since the massacre of 19 students and two teachers at Robb Ele-
           mentary in Uvalde, Texas, we have heard a lot of stories, a lot of
           theories about how best to protect students and how best to protect
           teachers. At best, these suggestions are absurd distractions, and at
           worst, they will further harm the very communities in need of our
           help the most, communities like mine, communities like Buffalo
           and Uvalde, Black communities, Latino communities, AAPI com-
           munities, our schools, our churches, the list goes on. And we need
           to address the incidence of gun violence in this country, not with
           carceral interventionist solutions, but with a public health ap-
           proach that is rooted in prevention.
              Mr. Jackson, briefly, what specific strategies has your organiza-
           tion employed to address the gun violence crisis in communities of
           color, just briefly?
              Mr. JACKSON. Really briefly, victim services and support for fami-
           lies, hospital-based violence intervention and prevention strategies,
           cognitive behavioral therapy programs like READI Chicago, Ad-
           vance Peace, that work with those who are most at risk, creating
           safe passes for youth as they are coming home. And that is actually
           a short list of some of the evidence-based models that we know can
           save lives, and we are fighting for that. You know, cities all over
           the country are investing their resources. We know that community
           leaders all over the country, thousands of these organizations are
           fighting to save lives but yet we are stuck with scraps when it
           comes to Federal resources.
              Ms. BUSH. Evidence-based models that save lives. We need to
           pass out the pamphlet on what you are doing. I am a survivor of
           gun violence. I have sat with parents who lost their children to gun
           violence. I have heard from students who sat next to me and talked
           to me about how they lost friends, and they lost classmates, and
           they don’t cry, they don’t even feel anything anymore, all due to
           gun violence. Our children want action, but the strategies that I
           get to hear too often from my fellow colleagues, and some on this
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           committee, will call for the hardening of schools and for placing
           armed staff and police officers in academic environments.
              And it tears me down because I think about as a child when we
           had fire drills and tornado drills, and they taught us, you know,
           crouch down and cover your head. And I remember we would have
           these routine drills, and I really believed that a tornado was going
           to come because they made us do this. I believed that a fire drill
           was coming. It can happen because our school is making us do this,
           and now they have these shooter these active shooter drills. What
           are we doing? I think about my nephew. I think about my son’s
           safety at school. It is always on my mind, is this unrelenting con-
           cern about not only their physical safety, but also the emotional
           toll that they endure through this run, hide, fight reality every sin-
           gle day.
              So, President Pringle, how has the daily reality of militarized
           schools and active shooter drills affected our students in these
           times of extreme gun violence?
              Ms. PRINGLE. We have seen evidence of increased trauma-related
           illnesses, physical illnesses, as well as our students reporting to us
           that they are afraid to come to school, that they don’t want to go
           to a grocery store because the violence is in the communities, too.
           We have heard from our teachers that they are leaving our profes-
           sion because they don’t believe that they can protect our students,
           but they are not stopping. We see our students rising up, don’t we?
           They are demanding that this country protect them and pass gun
           laws that are common sense where most Americans agree we
           should be passing. That is what our students are demanding, that
           is what our teachers are demanding, and that is what we will con-
           tinue to fight for.
              Ms. BUSH. Thank you. You know, 81 percent of those convicted
           on gun possession charges in my community in the Eastern District
           of Missouri are Black, and it tears me up when we talk about sav-
           ing lives. How do we talk about saving lives but we arm people to
           be able to take lives, and we arm them easily, and we arm them
           from the standpoint of it is my right. What about life?
              Mr. Jackson, in our efforts to save lives and prevent further
           harm, why is it important for lawmakers to consider the impact of
           gun control laws and how they affect Black and brown commu-
           nities?
              Chairwoman MALONEY. The gentlelady has time has expired.
           You may answer the question briefly, Mr. Jackson.
              Mr. JACKSON. Because this is life or death for us. You know, this
           is now the No. 1 cause of death for Black men and the No. 2 cause
           of death for Black women and Latino men. And while this may be
           a political topic for Congress, this is life or death for our commu-
           nities. You know, I have been nearly shot five times, despite going
           to church, like the member said it before, despite saying the Pledge
           of Allegiance every day in school.
              Gun violence surrounds us every single day, and we are dropping
           like flies, and we don’t need more carceral strategies. What we
           need are real investments in our communities, real investments
           and prevention strategies that we know work, and we need some-
           one to stand up against the flood of firearms that are pouring into
           our communities. Guns don’t grow on trees. We are not creating
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           these guns. They are being flooded into our communities and the
           gun industry is profiting off of our death every single day.
              Chairwoman MALONEY. The gentlelady’s time has expired.
              The gentleman from Illinois, Mr. Davis, is now recognized.
              Mr. DAVIS. Thank you. Thank you very much, Madam Chairman,
           and I also want to thank all of our witnesses who have been here
           with us for much of the day.
              I think it is clear. There is no doubt that we have a gun violence
           crisis in our country. Matter of fact, there have been more mass
           shootings this year than there have been days in the year, because
           there is one almost every day and every time you pick up the paper
           or watch television. In addition, there is a steady drumbeat of gun
           violence daily. It was an average of 124 people losing their lives to
           gun violence every day. In 2020, more than 45,000 people were
           killed by gun violence, the highest number in our history. The lives
           lost by homicide, suicide, and other gun-related injuries occur hour-
           ly, and the crushing impact of these losses expands exponentially
           to their loved ones and their communities.
              Given that gun violence is a public health problem, I am pre-
           paring to reintroduce my bill to create a dedicated funding stream
           for gun violence prevention. You know, an ounce of prevention, I
           was told, is worth much more than a pound of cure. No comparable
           developed nation near the number of gun deaths as we do. To re-
           duce gun violence, we need stable revenue to research it and com-
           bat it.
              When we talk of all the aspects of gun violence, I live in inner-
           city America with one of the largest populations of low income peo-
           ple that you find in a city in America. That is the city of Chicago.
           We call it the Windy City, and, of course, it is a city where local
           elected officials have been making every effort that they could to
           reduce gun violence. You cannot purchase legally a handgun in the
           city of Chicago, yet handguns are flowing into our city like water
           flows into a river, and that is because we know that no matter how
           hard we try, we can’t do the job that we need to do unless there
           is Federal action—Federal. You can walk across the street into an-
           other area and purchase all the weapons that you want and man-
           age to sneak them back into Chicago.
              When we talk about the trauma of gun violence, mine does not
           come from reading the papers or watching it. My grandson when
           he was 15 years old, was killed in a little scrap with a group of
           kids, and they didn’t even really dislike each other. They had a lit-
           tle group who would swap clothes. ‘‘Let me wear your gym shoes
           tomorrow and you wear my jacket.’’ ‘‘Let me wear your hair piece.’’
           But they got into a little scrap and one of the young people had
           a gun, and, of course, another one told him, ‘‘shoot,’’ and he shot.
           It was the most chilling telephone call I have ever gotten from a
           police commander who called in and said, I think I got some bad
           news. The trauma of that experience has wrecked his family. As a
           matter of fact, shortly after that, my son, his father, just kind of
           gave up, passed away. My granddaughter has been traumatized,
           and their whole family is disrupted.
              And so if we are going to be real in terms of what we need, we
           need Federal gun legislation that limits the number of guns that
           exist in our country. There is no reason we can’t do that. We can,
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           we should, and we must. And I thank you, Madam Chairman, and
           yield back the balance of my time.
              Chairwoman MALONEY. Thank you.
              The gentleman from California, Mr. DeSaulnier, is recognized for
           five minutes.
              Mr. DESAULNIER. Thank you, Madam Chair, and thank you so
           much for this hearing. Thank you, the panelists, and, in particular,
           thank you to the first panelists. For all of those who have lost fam-
           ily members to gun violence, how this can continue to happen in
           this country is extraordinary. It is just so depressing, and we hear
           the same arguments every time this happens, unfortunately.
              So now, we have some history. Coming from a state that coordi-
           nates efforts, we are going to have a difference, many of us are. A
           state California vote for years, we have worked at this on evidence-
           based research on policy that can save lives and stop these things
           from happening. So, let’s just look at the numbers. ‘‘If you are in
           California, we can’t stop these things from happening.’’ Again, it is
           not that we have some kind of unique wisdom to this, but we have
           relied on investments and evidence-based research. And what that
           shows is kids are almost 60 percent, statistically, less likely to be
           victims of gun violence in California. Adults, all people in Cali-
           fornia, are 35 percent less likely, statistically, not less likely 35
           percent, less likely to be victims of gun violence, 25 percent less
           likely to be involved in a mass murder.
              ‘‘We couldn’t do this.’’ The problem in California is that accepting
           the fact that these things are going to happen, but we are trying
           to do is prevent them as best we can, rather than just accepting
           that it is a fait accompli, that somehow this is going to happen, for
           whatever their reasons are. And of course, we have our own sus-
           picions about what motivates people to let this continue to happen.
           But one of our problems is 25 percent of the guns that are used
           in crime in California come from outside of California, so we need
           national standards. We will continue to do what we can do in juris-
           dictions that support evidence-based research that treats this as a
           public health epidemic that it is.
              So, Mr. Suplina, to this point in the work that you do in my area,
           in the Bay Area, we have a long history and we are doing this
           again, and we call it is not here. We are just examining the evi-
           dence-based research that you and others at Gifford CDC does so
           well at national comparisons and as a state, but we are trying to
           bring it to the local level. And if we have things that were pre-
           empted about, we will go to our elected officials at the Federal, and
           state, level and the Court if we have to. And by the way, all these
           laws have been in place and they are more stringent than the ones
           we are considering, and they are constitutional. The Courts have
           decided they are constitutional.
              So, in that context, Mr. Suplina, tell us a little bit about your ex-
           perience in evidence—based research and the causality and the
           outcomes. There are thousands of lives that have been saved by
           these policies. What does your work inform you to that point?
              Mr. SUPLINA. Well, Congressman, precisely that when you look
           at all 50 states based on their strength of gun laws and look at
           their rate of gun deaths, there is a direct correlation between
           strength of gun laws and lower rates of gun deaths. It is just, you
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           know, statistically correlated, and it is a fact. And California,
           which does have some of the best gun laws in the country, also has
           some of the lowest rates of gun violence. Not enough. There is al-
           ways more to do, but I actually really appreciate the way you have
           framed it because we are talking about a Nation that does have
           hundreds of millions of firearms in it. We are going to continue to
           have incidents of firearm violence in a Nation that has that many
           guns, but we can also do sensible things, as California has been a
           leader on, to reduce firearms deaths, and it just bears out in the
           data. You can look at it. You cited some of it, and there is more
           than we can be doing. I believe the programs that Mr. Jackson has
           been referencing throughout the afternoon are a place where, you
           know, California has also led, but more can be done.
              And I believe that the next level of our intervention here really
           has to be with the industry because in California, what has hap-
           pened, the industry has innovated around your laws. They have
           created ghost guns, which are turning up in crime scenes at record
           rates in California more than any other place in the country. And
           they are, you know, designing around other laws. So, it is time to
           take a look at the industry. I think California may be ready to do
           that and doing so will save lives.
              Mr. DESAULNIER. That is why we have to keep stay on it, but
           evidence-based research can save lives.
              Thank you, Madam Chair. I yield back.
              Chairwoman MALONEY. Thank you.
              The gentlelady from the District of Columbia, Ms. Norton, is now
           recognized.
              Ms. NORTON. Thank you, Madam Chair, for this valuable hear-
           ing. If you look at the statistics, gun violence turns out to be a
           woman’s issue, and what do these statistics show? Nearly 1 million
           women who are alive today have been shot or shot at by an inti-
           mate partner, and an average of 70 women are shot and killed each
           month by an intimate partner. Mr. Jackson, in your experience, is
           domestic violence a major factor in gun violence?
              Mr. JACKSON. Yes, it is a huge factor, and it is also a huge rea-
           son why we are fighting for people-centered strategies to research
           the root causes of such violence and incidents. Right now there is
           the Protect Black Women and Girls Act that were strong pro-
           ponents to address the 100,000 Black women and girls who go
           missing or murdered every single year.
              Ms. NORTON. Mr. Jackson, I know that you have advocated for
           both community violence intervention and supply side efforts to re-
           duce the number of guns in circulation. How would reducing the
           supply of guns reduce domestic violence deaths in particular?
              Mr. JACKSON. There have been multiple studies done which I can
           supply to the record that have shown the presence of a gun greatly
           increases the risk of violence against someone in the home. And
           when we think about gun violence and how it is terrorizing our
           community and it being the No. 2 cause of death for Black women,
           we need to do all we can to address this violence beyond simple po-
           licing strategy.
              Ms. NORTON. Thank you. Commissioner Gramaglia, in your expe-
           rience, do firearms in the home heighten the risk of injury or death
           in a domestic dispute?
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              Mr. GRAMAGLIA. Well, I will say that we don’t typically, on an
           annual basis, have very many domestic homicides in our commu-
           nity. But when you have an illegal gun in the home, it certainly
           does increase the risk of harm to everybody in the house.
              Ms. NORTON. Mr. Suplina, what effort did the coronavirus pan-
           demic have on gun related domestic violence?
              Mr. SUPLINA. Well, to step back for a second, the presence of a
           gun in the home increases the risk of homicide by two times, risk
           of suicide by three times, and the risk that a domestic violence inci-
           dent will become fatal by five times, just to lay that out for you.
           During the COVID–19 and the response in the lockdowns, we have,
           you know, real reason to be concerned that domestic violence in-
           creased even while being underreported. I don’t have statistics in
           front of me on how domestic gun violence increased during that
           time period, but we know that it is a, you know, tragic form of gun
           violence that we often really do not hear about. In fact, many mass
           shootings, both ones you have heard about and ones you haven’t
           heard about, start with an act of domestic violence either earlier
           in time or directly in relation to the incident as we have recently
           seen.
              Ms. NORTON. And, Mr. Suplina, currently Federal law prohibits
           spouses with a history of domestic abuse from possessing a gun,
           but the so-called boyfriend loophole allows abusive dating partners,
           like abusive boyfriends and girlfriends, to have access. Could you
           explain how this boyfriend loophole works and what we could do
           about it?
              Mr. SUPLINA. Well, what we have to do about it is close it. There
           is really no reason why in 2022 we shouldn’t give protection where
           there are incidents of domestic violence, that we shouldn’t also re-
           move firearms, where, you know, a couple is not in a married rela-
           tionship. So, there are efforts, as you know, in the House to close
           that loophole, and doing so would be very effective at reducing do-
           mestic violence deaths.
              Ms. NORTON. Thank you, Madam Chair. I yield back.
              Chairwoman MALONEY. The gentlelady yields back.
              I ask unanimous consent that Representative Sheila Jackson Lee
           be allowed to participate.
              Without objection, so ordered.
              The gentlelady from Texas, Ms. Jackson Lee, is now recognized.
              Ms. JACKSON LEE. Madam Chair, I thank you, and the chairman,
           and all members for their generosity in yielding to me at this time.
           I wanted to be very sure to be in this committee meeting today. I
           have just come off the floor of the House. We are now debating the
           Protect Our Kids Act. I want to acknowledge Zeneta Everhart, Dr.
           Guerrero, Miah, Felix and Kimberly Rubio, and the previous wit-
           ness, Ms. Hughes. To the witnesses that are here, I want to ac-
           knowledge you and as well, to acknowledge Mayor Adams for his
           presence here.
              My time is short. And so, I will be asking very pointed questions.
           To Mr. Suplina, I hope I pronounced it correctly, you said 2021 was
           the deadliest year. We are now close to that in 2022. ‘‘Yes’’ or ‘‘no?’’
              Mr. SUPLINA. We are on pace, correct.
              Ms. JACKSON LEE. The bill that I have introduced, the Kimberly
           Vaughan Safe Storage Act, among others that are in the Protect
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           Our Kids Act, which I will comment on specifically, deals with the
           requirement of point of sale for storage devices. In the instance of
           Kimberly Vaughan, the son stole a gun from an unlocked, unsafe
           area, which I think goes to suicides and other uses of homicide. Is
           a safe storage issue an important issue as it relates to bringing
           down gun violence?
              Mr. SUPLINA. It is such an important issue, Congresswoman. It
           is important for safety in the home. It is important to keep, you
           know, young kids away from firearms. It is important to reduce
           youth suicide. It is important to reduce school shootings because
           guns often start in the home and are accessed when they are not
           safely secured. There is just no overstating the importance of child
           access protection laws and other secure storage laws, as well as all
           programs that really encourage responsible gun store.
              Ms. JACKSON LEE. Thank you. Mr. Jackson, let me express my
           concern, but also your heroic recovery should be touted and recog-
           nized. You had very important statistics. The No. 1 killer of Afri-
           can-American men, premature death, is by guns, second for
           Latinos, and second for Black women. You also have already men-
           tioned the cycle of violence. How much of a disparity and impact
           in our minority communities is this gun usage, and gun victimiza-
           tion, and gun death? I have two other persons I want to raise a
           question with, so bear with me as you make a very brief answer
           to that, and I thank you and salute your recovery.
              Mr. JACKSON. No, thank you, and I will be very brief. But we
           have seen the largest increase in homicides since the start of the
           pandemic in the Black community, a 39-percent increase, as well
           as it already being 80 percent of homicides coming from Black and
           brown communities. And we are in a world now where a Black man
           is at a greater risk of being shot and killed than a police officer,
           and that shouldn’t be a reality for anyone.
              Ms. JACKSON LEE. So, protecting our kids, dealing with the pro-
           hibitive magazines, raising the age limit, getting rid of ghost guns,
           because I have seen some of the folk on the street with the ghost
           guns, stopping trafficking, which, you know, they want to tout a
           city like Chicago, gun violence, but all the states around them have
           no laws. Would all that be part of helping to bring down the car-
           nage?
              Mr. JACKSON. That will be a huge help, and we need that com-
           prehensive strategy to be applied everywhere. You know, we saw
           with every other health crisis that we didn’t just say, oh, let’s work
           on this one community. How do we make our entire country safer?
           And that is what we expect to see here.
              Ms. JACKSON LEE. Thank you. Commissioner, I believe in the
           Constitution, and in the Constitution is a Bill of Rights, and the
           Second Amendment is there. I, as a member of the Judiciary Com-
           mittee, have no reason, no intent to take away the Second Amend-
           ment rights. You have guns. You hunt. You are a responsible gun
           owner. Speak to me, and I have got one other person, so I guess
           I am going to be in trouble, about the fact on the assault weapons
           ban. There are more weapons in that potential bill that are al-
           lowed, automatic weapons, than those who are not. So, can you
           speak to the fairness of an assault weapons ban and a potential
           seven-day waiting period?
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              Mr. GRAMAGLIA. An assault weapon ban, to me, is a no brainer.
           Those weapons are made for one thing, and that is to kill people,
           and it is to kill a lot of people at one time. It is, you know, seeing
           the damage caused by them and I just can’t see any other purpose
           from it.
              Ms. JACKSON LEE. Would a seven-day waiting period help as well
           on automatic weapons?
              Mr. GRAMAGLIA. It is a start. If that weapon has not banned, it
           prevents someone from getting something right away.
              Ms. JACKSON LEE. May I, to Ms. Pringle, indicate in the state of
           Texas, we have been waving that the solution has been ‘‘arm teach-
           ers.’’ Can you give me a sense of arming the teachers, those pre-
           cious teachers that was shot and died, and then, the ones that was
           shot and lived, can you——
              Chairwoman MALONEY. The gentlelady’s time has expired, but
           Ms. Pringle can answer briefly.
              Ms. JACKSON LEE. I appreciate it. Thank you so very much.
              Ms. PRINGLE. Putting the responsibility on teachers to carry guns
           to protect our students is not only irrational. It is unfair, and we
           know what we need in this country, and you just described it. It
           is that comprehensive, commonsense gun laws, all of them working
           in collaboration, not arming teachers, and putting that responsi-
           bility on them and causing more harm and damage to the people
           who have dedicated their lives to educating American students.
           That is not OK. We know what we need to do. We need to do it
           now.
              Ms. JACKSON LEE. I thank the chairwoman and the ranking
           member. I yield back.
              Chairwoman MALONEY. Thank you.
              Ms. JACKSON LEE. I thank the witnesses.
              Chairwoman MALONEY. Before we close, I want to thank all of
           our panelists for incredible and meaningful testimony. It is tremen-
           dously important for Congress’s work. I want to thank each and
           every one of you for your time, your knowledge, your commitment.
           Before we close, I want to offer the ranking member an opportunity
           to offer any closing remarks he may have. Ranking member Comer,
           you are now recognized.
              Mr. COMER. Thank you, Madam Chair, and, again, I thank the
           witnesses for being here. This was a meaningful conversation, dis-
           cussion. That is what this committee is supposed to do, and I ap-
           preciate the opportunity, Madam Chair, and again, thank you for
           your time.
              When we look at this issue, like any issue in Congress, we need
           to focus on where we can have compromise because obviously the
           two parties have very differing ideologies, not just on the Second
           Amendment, but just about every major issue in America. But
           there is consensus to protect our school children. We all want that.
           I have three kids in the public schools. My mom was a public
           school teacher. I think when you look at the areas where there is
           consensus to act now, do something now, they are to harden our
           schools, to invest in better infrastructure.
              We had a school shooting in Marshall County, Kentucky a few
           years ago, and there was overwhelming support, bipartisan support
           to harden those schools. You have to go through two doors now in
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           just about every schools in the state—elementary, middle, and high
           school—to be buzzed in through those doors to go in. We need to
           invest in more school resource officers, and we need to better train
           those school resource officers. I think we saw that in Uvalde. The
           officer there obviously wasn’t trained very well in that situation.
              Another idea that I think is common sense where there is com-
           promise is something my friend, Ro Khanna, mentioned with re-
           spect to social media companies. We need to have some type of
           alert with the social media companies. Anytime a user posts any-
           thing about school violence, somehow that needs to get to the
           hands of the authority. Somehow we need to have some type of
           communication between the school resource officers, law enforce-
           ment, whomever, and the social media companies. That is a respon-
           sibility of the social media companies, in my opinion, that they
           could do better on.
              We need to stop the Defund the Police movement, and that has
           been an effort by some of our friends on the left. That has been an
           utter failure. Crime is on the increase in every year, all types of
           crime. We need to stop that. And last, we need to ensure that we
           have prosecutors who are tough on crime because that has been a
           problem in the name of COVID and everything else with so many
           criminals that have been let out early release. It is just not work-
           ing. We are seeing that in the data, especially in the inner city. So,
           I think there are areas where we can come together and com-
           promise, and I hope that we can work together in a bipartisan way
           to better protect our public school children.
              Madam Chair, thank you, and I yield back.
              Chairwoman MALONEY. Thank you. Today, we heard firsthand
           accounts of the devastation that gun violence epidemic inflicts on
           American communities and families. To our witnesses who shared
           their personal stories of pain and loss, thank you for your bravery.
           We also heard from a local government leader from a gun safety
           advocate, a community activist, from an educator, and from a law
           enforcement officer. They spoke with one voice calling on Congress
           to end this epidemic of gun violence.
              Let me emphasize that our Nation’s police, the men and women
           sworn to protect our communities, are pleading with Congress to
           pass meaningful gun safety laws. And I am proud to say that today
           the House of Representatives heard their call and is approving
           commonsense gun safety legislation supported by a strong majority
           of Americans. This is an important first step toward protecting our
           children, and I hope that the Senate will pass this legislation with-
           out delay. But the fight does not end here. The gun lobby still has
           a powerful hold over many of my Republican colleagues, and they
           are opposing simple steps to save lives, like banning assault weap-
           ons, simply because it might hurt the industry’s bottom line. It is
           time to hold this industry accountable for the suffering and death
           that it has caused, including the death of Lexi Rubio, her teachers,
           and classmates.
              Two weeks ago, I wrote to the Nation’s largest gun makers, in-
           cluding those who sold the assault rifles used in the massacres in
           Buffalo and Texas. We wanted to get to the bottom of how much
           these companies are profiting from selling weapons of war and how
           they are marketing these weapons to civilians. Over the last few
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           days, the committee has received information from these companies
           that is troubling. It is clear they are reaping enormous profits from
           assault weapons that are used in mass shootings of innocent peo-
           ple. This hearing is not the end of our investigation. In the coming
           days, we will continue to gather information and issue findings. I
           also intend to hold a second hearing to hear directly from the gun
           industry so they can explain to the American people why they con-
           tinue to sell the weapons of choice for mass murderers.
              The fight to protect our children from gun violence is far from
           over, but based on the bravery and determination our witnesses
           displayed today, I am confident it is a fight we can and will win.
              Again, I thank you all for your commitment, for your time, for
           your testimony today. I yield back.
              Oops. Before I close, I want to thank, again, everyone and I com-
           mend all my colleagues.
              And with that, without objection, all members will have five leg-
           islative days within which to submit extraneous materials and to
           submit additional written questions for the witnesses to the chair,
           which will be forwarded to the witnesses for their response. I ask
           our witnesses to please respond as promptly as you are able.
              Chairwoman MALONEY. And with that, this meeting is ad-
           journed, and we are going to the floor to vote for gun safety.
              [Whereupon, at 4:10 p.m., the committee was adjourned.]
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